          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 1 of 129




                         TJNITE,D STATBS DISTIìICT COURT
                            DISTTTICT ÛF COIYNITCTICTJT


NORDI]A INVES]'MEN'| MANAGEMENT
AB,                                       Civil Action No.
                      Plaintiff,
                                          COMI'LAINT
               VS
                                          JURY TIII,,\L DEMANDBD
.ftrVA
         PI-IARMACEU'1'ICAL INDUSTIìIES
L'fD,; IIREZ VIGODMAN; EYAL DESIIEI{;
YAACOV AI,TMAN; AI,LAN OBI]RMAN;
AND SIGIJIì.DIJR OI-AFSSON,

                           I)efendants
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 2 of 129




                                     TABLB OF CONTENTS
                                                                                                     Page

I     INTIìODUC]'ION                                                                                  ...,,,I
II.   .IURISDIC'IION AND VENI]I].                                                                     ......   I
III   PAIì]'ILJS AND RI]LEVANT TI IIIìD-PARTIES                                                       ...,,.9
      A.     Plaintiff   ,...                                                                         .,....9
      B.     Defenclants                                                                              ..., 1 5
      C,     Relevant l'hird Parties                                                                  ....t7
IV    IìAC'I-UAI.   ALLEGA'fIONS                                                       . .. ....,.,........17
      A.     The Regulation of Gcneric Drugs in the U.S. Is Structured to Create a
             Competitive Market for the Benefit of Consumers                                               17

      B.     In 2010-2014, a Backlog of ANDA Approvals at the FDA Created a V/indow
             of I{educed Competition in the Generic Drug Market ......,.......   ..........19
      C.     By 2013, feva Was Performing Poorly and Facing a Collapsing ADS Price.....,.20
      D.     By 2014,|)efendants Were Fully Aware that Price lfikes for Generic Drugs
             Could Not Be Maintained for an llxtended Period.....,.                   .....22
      E.     Vigodman Ilecomes CIIO and'feva Announces Its Strategy to lJse Its Stock
             as Currency for a Major Acquisition                                ...............26
      l'ì.   J'eva Substantially Increascs Prices on a Multitude of Drugs to Prop Up Its
             Dcclining Revenucs an<J Increase Its Share Price ...,..,..         ....................,.27
             1.      T'eva's Price Increases Wele Approved by the Company's Senior
                     [:ìxecutives                                                                 ........28
             2.      Teva lJnilaterally Increased Prices on l)ozens of     Drugs                 .........29
             3,      J'eva Increascd Prices in Parallel with Other Manufacturers for a
                     Number of Drugs                                                ....,...,...,..30
             4.      'Ieva Actively Colluded with Other Generic Drug Manulàcturers to
                     Fix Prices                                                      .........32
                     a)         Direct Evidence of Price-Fixing: Nystatin and
                                Theophylline EIì.......,......,                                            32
                     b)         Direot Evidenoe of Price-Fixing: Glipizide-Metformin,......., ......34
                     c)         Other Indicia of Price   Collusion..                         .......,...,.35
             5.      As a Result of the Price Increases, 'leva Increased Its Revenues and
                     Profits by Billions of Dollars.                                  ...,..........38
      G.     Ilecognizing that Its Price Increase Scheme Was Unsustainable for More
             than a Short Period, Teva Misleads Investors Regarding the Basis for Its
             Improved Financial Performance ,...,..,.,.,,.,                                          ....,39
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 3 of 129



    }I      Propelled by Price Increases, 'leva's ADS Price     Ascends               ........,.........40
            Defendants l-ay Plans fbr a Major Acquisition-lnflating the ADS Price to
            [Jse as "Cufrenoy"                                                                         41

    J       'fhe Company Announces a $40 llillion Acquisition of Actavis lrueled
            By Its inllated Share Prioe and a Proposed Ilond Offering          .................41
            1.      f'eva Issues $3.375 Billion in ADS and $3.375 Billion in Preferred
                    Shares While the ADS Trade at an Inflated Price             ...................42
            2.      Defenciants Iìush the Notes Offering and Conceal the Fact that Teva
                    I-lad Been Served Subpoenas by the DOJ and the Connecticut AG .........,42
    K       The lìraud Unravels, Causing the Prices of Teva Securities to FaII.,...........,........43
            1. Days After the Close of the Actavis 'fransaction, 'leva Belatedly
                    Announces It Is the Subject of Government Antitrust Investigations,.....,43
            2.      T'he Market Is Surprised When Teva Announces Dismal Iìesults       lor the
                    'fhird Quarter of 2016 and Olafsson Is Fired                          ........45
            3.      'I'eva's Prolìts from Its Price Increase Plan Further Dry lJp, and
                    Vigodman and Desheh Are Forced Out of the Company..,......,,...............45
            4.      Afler Vigodman, f)esheh and Olafsson Are Terminated, T'eva Lowers
                    Guidancc, Cuts Dividends, and 'fakes a $6,I Billion Charge Against
                    liarnings                                                                          46
V   DEIìENDANf'S' MATERIAL MISIìEPIìI]SL]N]'ATIONS AND OMISSIONS.                                      47
    A,      Del'endants' Materially lìalse and Misleacling Staterncnts and Omissions
            During the Relevant Period                                                                 48
            1.      February 6,2014.....                                                               4B

            2.      February 10,2014                                                                   49
            3,      May 1,2014                                                                         51

            4.      July 3 1,2014......                                                                52
            5.      October 30,2014                                                                    53

            6.      December      ll,2014                                                              54

            7.      February 5 and February 9,2015                                                     55

            U.      April 30,2015.........                                                             58

            9.      June I 0,2015 .,.,..,....,.,.                                                      60
            10.     JuIy 27 ,2015..........                                                            61

            11.     JuIy30,2015.....,..,.                                                              6r
            12.     Oclober29,2015...............                                                       62

            13.     November19,2015....,..,.......                                                      64

            14,     January 11,2016....                                                                 65



                                                    ll
            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 4 of 129



                15.     February11,2016..........
                16.     March8,2016.,...,..........
                17.     May 9,2016.........
                18.     May10,2016.................
                19.     Junc 3 and B, 2016.........
                20.     July 13,2016......
                21.     August4,2016..........,.,.,
                22.     September 7 and      9,2016
                23.     November 15,2016.....,.
                24.     January 6,2017 ..............
                25.     February 15,2017
       B.       Defendants Violated Item 303 of SEC Ilegulation S-K and Item 5 of
                Form 20-F                                                                 ...90
VI.    ADDITIONAI, ALI,EGATIONS OF SCIENTER .........                                     ...92
VII    'Illll TRlJlll EMIII{GES: AI,LHGATIONS                 OF LOSS CAUSATION........   .   108

       A. August 4-5,2016,......,....,.,                                                      108
       B.       November 3 and November 6, 2016.,.,....,.,.....                               109
       C.       November 15,2016                                                              I   t0
       D        I)ecember 5-6, 2016 .....                                                     111

       E.       Decernber 14, 2016.....                                                       t12
       F.       December 15-1t1, 2016                                                         I l3
       G        January 6-8, 2017 .,.....                                                     II4
       FI       Þ'ebruary 6-7, 2017 .....                                                     115
       I.       August 3-7, 2017 ........                                                     115

VIII, PLAIN]'IFF IS E,NTITLED TO A PIìESIJMPTION OF IìELIANCtr                                119
IX. TI{E STA'TIJTORY SAFE HARBOR AND BESPI]AKS CATJTION DOCTRINE
       ARE INAPPLICABI,E                                                                      120
X.     CAIJSES OIì ACTION..........,....                                                      t21
COIJNT I For Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
     Thereunder Against Teva and the Individual Defendants....,......                         r2l
COUNT II For Violations of Section 20(a) of the Exchange Act Against the Individual
       Defendants                                                                             t23
XI,    PRAYEII FOR IìELIEIì,.,....                                                            t24
XII.   JUIìY    ]]ìIAL DEMANDEI)                                                              r24




                                                        111
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 5 of 129



          Iìunds under the management of Plaintiff Nordea Investment Management AB              ("NIM" or

"Plaintill') purchased or otherwise acquired 'l'eva Pharmaceutioal Industries l.td. ("'I'cva" or the

"Company") securities on behalf of NIM's investors (including NIM's funds and institutional

clients) between lìebruary 6, 2014 ancl August 3, 2017, inclusive (the "Relevant Period") and

were damaged thereby,

          Plaintiff, by and through its counsel, alleges the following upon personal knowledge         as to

itself and its own acts, and upon information and belief as to all other matters. Plaintifls

information and belief is based upon, among other things, the investigation conductecl by               anel

through their attorneys which included, among other things, a review of Defendants' public

documents, conference calls and announcements, lJnited States ("U.S.") Securities ancl Exchange

Commissi<ln ("SEC") filings, wire and press releases published by and regarding 'l-eva, analysts'

reports about the Company, prioing data for various generic drugs obtained from a nationally

recognized database, various civil cornplaints alleging violations of federal and state antitrust and

unfair competition laws by 'Ieva and its subsidiaries, the amended consolidate<J class action

complaint filed in Ontario T'eachers' Pension PIan lloard v. Teva Pharmaceutical Industries

1,rrl., No,3:17-cv-00558 (SRU) (D. Conn, June22,201S)             ("Ontario Teschers Complaint"), and

information obtainable on the Internet. Plaintiff believes that substantial additional evidentiary

support   will exist for the allegations   set forth herein after a reasonable opportunity   for discovery,

I.        INTRODUCTION

          1.     Plaintilf brings this action to recover damages caused by Defendants' violations

of the fèderal securities laws and to pursue remedies under Sections 10(b) and 20(a) of                  the

Securities Exchange      Act of 1934 (the "Exchange Act") and SEC Rule 10b-5, 17 C.F.R,                       $


240 . I 0b- 5, promul gated thereunder,




                                                       I
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 6 of 129



          2.    'I'eva is a pharmaceutical company based in Israel that develops, produces, and

markets generic pharmaoeutical products worldwide, with a significant presence in the United

States, Iìurope, and other markets. 'feva is the leading generic drug company         in the lJnited

States,

          3.    'fhis action arises out of Teva's plan to engage in massive price increases for

many of its tJ.S. generic drugs to fuel an increase in short-term (2 to 3 year) profitability, Teva

believed that through this strategy, the short-terrn profitability fi'orn price increases would allow

the Company to use its stock as cuffency to make a major acquisition that (it hoped) would

secure its long-term   Iuture, I-lowever, such a price increase strategy is not sustainable over   the

long-term in the generic dlug business-due to relative low barriers to entry to the market and

other reasons explained below-and Teva knew it.

          4.    Given Teva's unsustainable business model, l)cfendants lied to investors for three

years--fiom February 2014 through February 2017-by falsely claiming that                 it   was not

increasing prices and that the Company's increased profitability was in fact due to other, more

sustainable factors including aggressive cost-cutting and improved operational efficiency.

'leva's liaudulent statements permitted the Company to mislead the market and to complete            a


$40 billion acquisition of the Actavis generic drug division from Allergan plc in 2015. I-Iowever,

Teva's price increases could not be sustained. By mid-2016, the Company succumbed to the

pricing pressures of the generics market, and its stock price declined, costing investors tens of

billions of dollars.

          5.    Prior to the Relevant Period, Teva faced major headwinds. In 2012, Teva

received a subpoena frorn the SEC for alleged violations of the Federal Corrupt Practices Act

("F'CPA"). The SEC alleged that Teva bribed Russian, Hastern European, and l,atin American




                                                  2
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 7 of 129



countries to gain market share of generic drugs and falsified its accounting. 'feva later paid a

Íi519 million fìne to the SIrC and DOJ and entered into a dcfcrred prosecution agroement. No

longer able to rcly on bribes to foreign officials, these pipelines dried up.

        6.        Teva's U,S. pipeline was eclually bleak. The Cornpany's tJ.S. generics business

reporled dramatically lower revenltes, year over year.         A May 3,2013     Deutsche Bank report

ooncluded that Teva's overall generics business had "signihcantly underperformed." By August

14, 2013, Teva's then-Chief llxecutive Officer ("CEO") and President Jeremy                  M. Levin
("l.evin") acknowledged that "Generic growlh in the lJnited States [wasl                       slowing

Jundamentøl.ly." Moreover, Teva would soon lose its patent protection on Copaxone, by far its

largest specialty drug, acoounting for as much as 50o/o of 'leva's profits at that time, On October

30,2013,1'eva's Iloarcl of Direotors forced Levin to step down, less than 18 months into the job,

        7,        In sum, J'cva   needed to reinvent     itself, In January 2014, Teva announced    the

appoir-rtrnent   of Defendant llrez Vigodman ("Vigodman") as its President and CEO, effective

lìebruary 11,2014. I-le replaced l)efendant Eyal Desheh ("Desheh"), feva's Chief Financial

Ofhcer ("CFO") from July 2008 through June 30,2017 (except from October 30,2013 to

February 71,2014, during which he served as Teva's Interim CEO and President). From the

time Vigodman took ovel in January 2014, it immediately became clear that J'eva's plan was to

accluire new businesses potentially using Teva's American Depositary Shares ("ADS")                   as


currency. As Desheh explained on       a   Q4 2013 earnings call (February 6,2014), to Teva was, on

potential "business opportunities," "open for business." During the March 4, 2014 Cowen

I-Iealthoare Conference, Desheh made plain Teva's intentions (and need          to boost its stock price

by any means) when he noted that, with "the [stock'] price under $40, ,.. we can't use fTeva

Securities asl currency" for the large acquisition he had touted two months earlier,




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            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 8 of 129



        fì.     To achieve its growth-through-acquisition strategy, Teva had to improve             its

profits arrd its share price. Although'l'eva was touting, as early as October 30,2013,               a

turnaround plan based upon an "acceleratefd,l" cost reduotion plan and "a much better, efficient

generic rnachine   l,l" in reality, 1leva was improving its profitability   through enormous price

increases for clrugs for which the Company had (i) some degree of independent market power,

(ii) the ability to engage in parallel price increases with other drug companies (because of limited

competition), or (iii) the ability to engage in outriglit price collusion in violation of the antitrust

laws. Pursuant to its price increase scheme, Teva increased the prices on     as many as 55 drugs by

as much as 1700o/o.    Whilc'I'eva had begun price increases in July and August 2013, such price

inoreases continued into 2014 and 2015, and involved at least 55 separate drugs, Many of these

prioe increases exceeded 500% and some exceedçd 1000% and even 1500%.

        9.      As a result of these huge price increases,'I'eva's U.S. generic segment revenues

increased by nearly l5% from $4.18 billion in 20l3,to$'4.79 billion in 2015, and then decreased

to $4.56 billion in 2016, as the inevitable pricing pressure took its toll on the price       increase

strategy,

        10.     Iìor a time, Teva's plan worked-its share price increased from just over fì37 per

share in September 2013 to more than $70 per share by July 2015, I-lowever, Teva well knew

that a strategy for increasing profitability based upon increasing drug prices could not            be

sustained because the U.S. Food       & Drug Administration ("FDA") was devoting            increasing

resources to approving Accelerated New Drug Applioations ("ANDA") through which generic

manufacturers could bring generio drugs to market on a fast-traoked basis. 'fhus, critical to

Teva's strategy was masquerading the true basis for its increased profits and revenues. Avoiding

the taint of price inoreases became parlicularly imporlant because of the public scrutiny afforded




                                                   4
             Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 9 of 129



price increases in I'ormerly inexpensive generic drugs. As a result of the initial Teva price

increases in .Tuly and August 201 3 ancl similar price increases by other generics manufacturers, in

.Tanuary 2014, the National Community Pharmacists Association          ("NCPA") wrote to the U.S.

Senatc   Ilealth Ilducation Labor and Pensions ("I-IELP") Committee and the U.S. Ifouse Iinergy

and Commerce Committee requesting hearings on the significant spike in generic pharmaceutical

pricing. On July 8, 2014, The New York Times addressed pricing issues in an article titled,

"Rapid Price Increases,for Some Generic Drugs Catch Users by Surprise," highlighting a 100%

price increase lor digoxin, a longtime generic drug.

         1   1.   As a result of the N.Y. 1'imes article, the Connecticut Attorney General ("CT

AG") began an investigation on pricing      issues   with a fiocus on digoxin. Other state attorneys

general ("AGs") followed      suit. On October 2, 2014, U.S. Senator Ilernie Sanders and U.S.
Ilepresentative    lìlijah ìi. Cummings sent letters to 'Ieva and thirteen other generic       drug

oompanies asking      for detailed information on various generic drug price hikes. 'l-eva never

responded to these lctters.

         12. In November 2014, the U,S, Department of Justice ("DOJ"), which had also
opened an investigation into price fixing     of generic drugs, convened a grand jury in the lJ,S,

District Court for the Eastern District of Pennsylvania, pursuant to which subpoenas were issued

to 'Isva and ten other generic drug makers.

         13.      In response to this increasing drum beat regarding ever-accelerating increases in

generic drug pricos, 'I'eva sought at all costs to avoid any suggestion that price increases were the

cause of its seemingly miraculous turnaround, Accordingly, al the beginning of the Relevant

Period (February 6,2014), 'l-eva touted its increase in revenues to higher sales volumes and

launches of new generic drugs. Nothing was said about the eighteen drug price incleases from




                                                     5
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 10 of 129



the summer of 2013. In May 2014, trumpeting its l'rrst quarter 2014 results, Teva again relied

upon "new product launches" and a changed oomposition of revenues to explain its increased

profitability. On October 30, 2014, during the third quarler 2014 earnings call, 'leva                     was

specifically asked about the impact of price increases, but Defbndant Sigurdur "Siggi" Olalìson

("Ola1ìson") deflected, suggesting that there were no signihcant increases since "the base

business itself is slowly   eroding            And at the end of 2014, Defendant Olafsson, President

and CIìO of 'feva's Global Generic Medicines Group (since.luly 1,2014), rejected the premise

of the question, stating: "{LJet nle coruect.        I       ltave to disagree tltøt tltey ltave experienced

tremen dous price íncrease[sJ,"l

          14.     'l'hroughout thc remainder of 2015 and into 2016, Defendants flatly denied that

Teva's improved performance was the result of price increases. For example, on February 11,

2016, Olafsson falsely insisted that Teva achieved $1 billion                in   increased profits   "fnlot by

pricing but by portfolio mix, new products and efficicncy measures." Vigodman made a similar

pronouncement on October 29,2015:

          [Alll the improvements you see in margins is not driven hy price. it is driven by
          quantities, and by mix, and by efficiency measurcs not hy price,2014,20l5. And
          tltøt's u very important nxessage,
'fhese statements were demonstrably false-by mid-July 2015, Teva had raised prices on more

than 61 drugs, including many by more than250Yo.

          15,     On July 27,2015, when Teva's stock was trading at an all-time high, Teva's

master plan came to lruition when        it   announced the purchase of Allergan's generics division,

Actavis. T'he deal, which was expected to olose in mid-2016, would cost Teva approximately

$40 billion, most of which was to be funded through a massive debt offering (as well as a smaller

ADS and preferred stock offering). While the debt offering initially was scheduled to take place

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    Unless otherwise stated, all emphasis is acldecl.


                                                         6
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 11 of 129



after the close of the transaction, in.Iuly 2016,recogni'zing that the price-increase scheme could

no longer be maintained, feva announced that the debt offering would be accelcrated to the end

of the month. l'hc deal closed on August 2,2016.

       16,     Just two days after the closing of the Actavis transaction, on August 4,2016, Teva

reported second quarter 2016 frnancial results that reflected a $434 million decline in revenues in

its tJ.S. generics segment oompared to the second quafier of        20i5.   Teva also revealed for the

first tirne that it was the subject of DOJ and state AG investigations into price collusion.

        17.    Shorlly thereafter, on September 12, 2016, the tJ.S. Government Accountability

Olfice ("GAO") issued an audit report ("GAO Report") that generic drug manufacturers had

engaged in hundreds of unexplained "extraordinary price increases," including price increases       of

more than 1,000o/o. 'leva owned the rights to many of the drugs identihed in the GAO Report as

having exhibited an extraordinary price increase between 2013 and 2015.

        18,    'I'hen, on Novcmber 3, 2016, mcdia outlets repofied that U.S, prosecutors might

file criminal charges against Teva and others for unlawfully colluding to fix generic drug prices.

On November 15, 2016, I'eva reported third quarter 2016 revenues below                      consensus

expectations, which Olafsson stated were a result of pricing pressures in Teva's U.S. generics

business.

        19.    On Decen'rber 15,2016, the CT AG and nineteen other AGs filed a civil

complaint in the tJ.S. District Courl for the District       of   Connecticut against various generic

pharmaceutical manufacturers, including Teva Pharmaceuticals IJSA, Inc. ("'l-eva USA"), for

alleged anticompetitive activity.

        20.          -leva's
                As             financial condition deteriorated and the scrutiny surrounding the AGs'

allegations and the GAO Report mounted             in the lattel half of 2016, f'eva's stock price



                                                    7
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 12 of 129



precipitously declined. In relatively shorl order, the key executives responsible for the U.S.

generics business      left the Company or were lired, including Olafsson who was ltred            on

December 5,2016; Vigodman who was terminated on Fcbruary 6,2017; and Desheh who left on

June 30,   2017. 'l'he "inauspicious timfingl" of these departures was not lost on market watchers

like Thestreet which reporled that Olafsson's departure "rais[ed] more questions for investors

amid continueci worries around drug pricing."

       21.      Or-r   August 3,2017, in the first hnancial report issued afler Desheh, Vigodman

and Olaßson departed the Company, T'eva announoed a $6.1         billion write down of its entirc U.S,

generics business, which had been artificially inflated as the result of its ultimately unsustainable

price increase scheme.

       22.       From July 2015 through the end of the Relevant Period, the price of 'feva's Al)S

collapsed lì'om an all-time high      of $72 per     share to just over $20, causing Teva's market

capitali'zation to declinc from more than $70 billion to just over $20       billion. As a result of

Defendants' acts and omissions, and the substantial decline         in the market value of 'leva's

securities, several of Plaintiff s funds and assignors suffered significant damages,

II.    .IURISDICTION AND VBNUE

        23,      The olaims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U,S,C, $$ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, l7 C.F'.Iì.. $ 240.10b-5.

        24.      This Court has jurisdiction over the subject matter of this action pursuant        to

Section 27 of the Exchange Aot, 15 IJ.S,C. $ 78aa, and under 28 U.S.C, $ 1331, because this is a

civil action arising under the laws of the lJnited   States,

        25.      Venue is proper in this l)istrict pursuant to Section 27 of the Exchange Aot and 28

rJ,s.c. $ 13e1(b).

                                                     8
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 13 of 129



       26.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defèndants, directly or indirectly, used the moans and instrumcntalities of interstate commeroe,

including but not limited to, the lJriited States mail, interstate telephone colnmunicaticlns, and the

facilities of the national securities exchange, namely the New York Stock Exchange ("NYSE").

III.   PAIITIES AND RBLEVANT THIRD-PARTIES

       A.      Plaintiff
       27.     Plaintiff Nordea Investmcnt Management AB ("NIM") is a Swedish limited

liability company and licensed investment hrm. NIM ultirnately is a fully-owne<l subsidiary of

Nordea Bank Abp, which is a publicly listed, full-service universal bank headquartered in

Finland, and the third largest corporation in the Nordic region and one of the top           l0   financial

services companies in lìurope based on market capitalization. NIM, as an active investment

manager, has a global business model and manages asset classes across the              full   investment

spectrum, NIM's client base is equally split between Nordea-branded TJCITS and AIIì funds and

Institutional Clients (such as pension funds, banks, governmental organizations, Iarge industrial

corporations, etc.), NIM and associated Nordea asset management entities have a total of close

to 100 employees, of which one-third are dedicated investment                specialists within three

investment centers   in Bergen,   Copenhagen and Stockholm. With more than             EUII 220bn in

assets under management,    NIM is the largest investment manager in the Nordic Region but             has

also developed a large global business servicing clients across continents (Europe, Americas and

Asia), NIM   asserts claims on behall'of its   NLP Stabile Aktier Fund, for which it         serves as the

management company, and for which it has authority, under Swedish law, to assert such claims.

1'he NLP Stabile Aktier Fund       is not a legal entity under Swedish law; has no Boards of
Directors, management, or employees and, thus, has no independent capacity to sue or take legal

or other action in its own right, or in connection with the assets within   it. The fund's    unit holders


                                                   9
             Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 14 of 129



cannot direct that investments be made on the fund's behalf, exercise voting rights for the

securities the fund holds, initiate legal action fur the fund, or assign clairns in conncction with

investments made on the fund's behalf. When          NIM acts on behalf of this fund, Swedish law

recluires    NIM to act in its own name.

            28.     NIM   also asserts claims on behalf of Nordea Investment Funds S.A.   ("NIF SA")

and on behalf of Nordca Funds         Ltd. ("NIì I-TD."), which have assigned their claims to NIM.

NIF SA is a Luxembourgish Sociétë Anonyme (limited liability company) management company

cstabiished and existing under the laws of the Grand Duchy of Luxembourg, having its registered

offìce at 562, rue de Neudorf, L-2220 Luxembourg, Grand Duchy of Luxembourg and registered

with the l,uxembourg Trade and Companies Register (RCS Luxembourg) under number                      B

3   1   619, As such, NIF SA is an independent legal entity under Luxembourgish law, with authority

to assert claims in its own narre. NF LTD. is a Finnish management company which also              has

authority to assert claims in its own name under Finnish law. NIF SA and NF- LTD. are       -   similar

to NIM       -   ultimately fully-owned by Nordea Bank Abp, and both have appointed NIM as the

investment manager of all the funcls managed by NIF SA and NIr Ll'D.

            29.     NII.' SA served as the management company for the Nordea Assct Allocation

Fund, a Luxembourgish Fond Commun de Placemenl ("FCP"), in connection with the Nordea

Asset Allocation Fund's purohases          of Teva ADS on the NYSE during the Relevant          Period,

through its liutura, Optima and Spara 'frean sub-funds. NIF SA is the legal owner of and has

authority to assert and assign claims on behalf of the Nordea Asset Allocation Þ-und because,

under Luxembourgish law, an F'CP does not have its own legal personality and, thus, cannot act

in its own name; instead, a designated management company-in this case, NIF SA-acts on

behalf of an I|CP.




                                                    10
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 15 of 129



          30.   NIIì SA is also the   assignee   of all claims in this action held by: (i) Nordea     l,
SICAV; (ii) Nordea 2, SICAV; (iii) hlordea tr)eclicated Invcstment Funtl, SICAV-FXS;                and

(iv) Nordca Institutional Investment Fund, SICAV-FIS, for which NIIì SA served as the

management company during the Relevant Period. 'I'hese SICAVs are                   all Luxembourgish

Sociélés d'lntteslissemenl   à Capital Variable or open-ended collective investment companies,

with their own legal personalities.

          31,   Nordea 1, SICAV       is an investment company with variable capital            (société

d'investissement à capital variable) established and existing under the laws of the Grand Duchy

of l-uxembourg, having its registered office at 562, rue de Neudorf, I.-2220 Luxembourg, Grand

Duchy of Luxembourg and registered with the Luxembourg 'I'rade and Companies Register

(RCS l-uxembourg) under number        I) 31442. Nordea     1, SICAV consisted of the following sub-

funds in connection with thcir purohases of Teva ADS on the NYSE, during the Relevant Period:

(i) Alpha l0 MA lìund; (ii) Alpha     15   MA lìund; (iii) GIIP Diversif,red Iìeturn Fund; (iv) Global

Stable Equity F'und;     (v) Global Stable Equity Fund - Iiuro          I-ledged;   (vi)   Stable Equity

Long/Short Iìund   * Euro Fledged; (vii) Stable Return Fund; and (viii) US Bond Opportunities
Fund. These sub-funds are not separate legal entities under Luxembourgish law, have no offiicers

or employees and camot act in their own name; instead, they are investment compartments, or

pools of assets, and Nordea 1, SICAV is the legal entity empowered to take action on their

bchalf,

          32.   Nordea   2, SICAV is an investment          company with variable capital (société

d'investissement à capital variable) established and existing under the laws of the Grand Duchy

of Luxembourg, having its registered office at 562, rue de Neudorf, L-2220 Luxembourg, Grand

Duchy of Luxembourg and register:ed with the L.uxembourg Trade and Companies Iìegister




                                                    l1
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 16 of 129



(RCS Luxembourg) under number B 205880. Nordea 2, SICAV consisted of the Balanced

Growth'l'argct Date Iìund and thc IJS Constraincd Corporate llond lìund in connection with their

purchases   of 'Ieva ADS on the NYSE during the Relevant Period. These sub-funds are not

separate legal entities under Luxembourgish law, have no officers or employees and cannot act

in their own name; instead, they are investment compartments, or separate pools of assets, and

Nordea 2, SICAV is the legal entity empowered to take action on their behalf.

       33.     Nordea Dedicated Investment Fund, SICAV-FIS is an investment company with

variable capital (sociéré d'investissement à capital variable) established and existing under the

laws of the Grand Duchy of Luxembourg, having its registered ofÍice at 562, rue de Neudorf, I--

2220 L,uxembourg, Grand Duohy of Luxembourg and registered with the l-uxembourg 'frade and

Companies Register (RCS Luxcmbourg) under number B 150516. Nordea Dedioated Investment

Iìund, SICAV-IìIS consisted of the Diversified Growth Fund in connection witl'r its purchases of

'fcva ADS on tl're NYSII during the Relevant Period. 'fhis sub-fund is not a separate legal entity

under Luxembourgish law, has no officers or employees and cannot act in its own name; instead,

it is an investment compartment, or separate pool of assets, and Noldea Dedicated Investment

Fund, SICAV-IìIS is the legal entity empowered to take action on its behalf.

       34.     Nordea Institutional Investment lìund, SICAV-IìIS is an investment company with

variable capital (sociélé d'investissement à ca¡tital variable) cstablished and existing under the

laws of the Grand Duchy of Luxembourg, having its registered office af 562, rue de Neudorf, L-

2220 Luxembourg, Grand l)uchy of I-uxembourg and registered with the Luxembourg T'rade and

Companies Register (RCS Luxembourg) under number              B 143334. Nordea Institutional
Investment Fund, SICAV-lìlS consisted of the Corporate Bond Fund and tlie Global Equity Fund

in oonnection with their   purchases   of 'fcva ADS on the NYSII during the Relevant       Period.




                                                12
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 17 of 129



fhese sub-funds are not separate legal entities under Luxembourgish law, have no officers or

employees and cannot act     in their own name; instead, they are investment compartments, or

separate pools of assets, and Nordea Institutional Investment lìund, SICAV-FIS is the legal entity

empowered to take action on their behalf.

        35, Nlì     L1'D, served as the management company for the following F'innish

contractual funds, in connection with their purchases of Teva ADS on the NYSE, during the

Relevant Period: (i) Nordea World Fund; (ii) Nordea Emcrging Market Equitics Fund; (iii)

Nordea Stable Ilcturn Fund; (iv) Nordea Pro Stable lleturn Fund; (v) Nordca Global

Fronticr Markets Fund; (vi) Nordea Stablc Bquities UCITS ETF; (vii) Nordea Global

Bmerging Markets Bquities UCITS ETF; (viii) Nordea Equity Corc Fund; and (ix) Nordea

Discretionary Global Ðquify Fund. NF I-TD. is the legal owner of and has authority to asserl

arrd assign claitns on behalf   of these funds because, under Irinnish law, a fund does not have its

own legal personality and, thus, cannot act in its own name; instead, a designated management

company, in this case, NF'[,'i'D., acts on behalf of a fund.

        36. NF LTD. served as the management oompany for the following Norwegian
contractual funds, in connection with their purchases of Teva ADS on the NYSE during the

Iìelevant Period: (i) Nordca Global Fund; (ii) Nordea Internasjonale Aksjer        III; (iii) Nordea
Stabilc Aksier Global Iltisk; and (iv) Nordea Stabile Aksier Global. NIr LTD, is the legal

owner of ancl has authority to assert and assign claims on behalf of these funds because, under

Norwegian law, a funcl does not have its own legal personality and, thus, cannot aot in its own

name; instead, a designated management company, in this case, NF LTD., acts on behalf of a

fund.




                                                  13
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 18 of 129




       37. NIr L'I'D, served as the management company for the following Swedish
oontractual funcls, in oonnection with their purchases of 'fcva ADS on the NYSII during the

Itelevant Period: (i) Nordca Avtalspcnsionsfond Midi; (ii) Nordea f)onationsmedelsfond; (iii)

Institutionella Aktiefonden Varlden; (iv) Institutionalla Aktiefonden Stabil; (v) Nordea

Gcnerationsfond 40-tal; (vi) Nordea Generationsfond 50-tal; (vii) Nordea Gcnerationsfond

60-tal; (viii) Nordea Generationsfond 70-tal; (ix) Nordea Generationsfbnd 80-tal (x) Nordea

Stabil; (xi) Nordea Stratega 100; (xii) Nordca Stratcga 10; (xiii) Nordea Stratega 30; (xiv)

Nnrdoq Sfrnf¡rr¡e 5lì' anrì lxvl  -
                            \'_ / Nordca '-------ð' 70. Nlr L'l'D. is thc lcqal owncr of and
                                         Sfrafcç¡a                                                 has


authority to assert and assign claims on behalf of these funds because, under Swedish law, a fund

does not have       its own legal personality and, thus, cannot act in its own name; instead,        a


clesignated management company, in this case, NF LTD., aots on behalf of a fund.

        38.     NIr Ll'D. is also the assignee of all claims in this action held by the following

r"rmbrella funcls   in connection with their transactions in Teva securities, on behalf of the    sub-

lunds describecl below: (i) Investeringsforeningen Nordea Invcst; (ii) Investcringsfbrcningen

Nordea Invest Engros; and (iii) Investeringsforeningen Nordea Invest Portefølje, each of

which has assigned its respective claims in this action to NF L'l'D,

        39.     Investeringsfbreningen Nordea Invest is a Danish umbrella fund that operated

the following sub-funds during the Relevant Period, in connection with their transactions in Teva

securities: Akticr; Aktier        II;   Basis   1; Iìasis 2;   Basis   3; Bmcrging Markets;      Stabil

Balanceret; Stabile Aktier; and Stabile Aktier Akkumulercnde. These sub-funds are not

separate legal entities under Danish             law, have no officers or employees, and           only

Investeringsf<lreningen Nordea Invest       is   authorized   to   assert and assign claims relating to

securities held in these sub-funds.




                                                    T4
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 19 of 129



       40.       Investeringsforeningen Nordea Invest Bngros is a Danish umbrella fund that

operatcd the fÌlllowing sub-lunds during the llelcvant Pcriod,           in   connectiotr   with    their

transactions in 'feva securities:   (i) Absolute lleturn Equitics; (ii) Absolutc Return flquitics

II; (iii) Absolute lleturn Bquitics II -      Etisk tilvalg; (iv) Internationale aktier; and (v)

Internationale aktier    -   Etisk tilvalg. These sub-funds are not separate legal entities under

Danish law, have no officers or employees, and only Investeringsforeningen Nordea Invest

IJngros is authorized to assert and assign claims lelating to securities held in these sub-funds.

       41   .    Investeringsforeningen Nordea Invcst Portcføljc is a Danish umbrella fund that

operated the    Aktier and Aktier Strategi sub-funds during the Iìelevant Period, in connection

with their transactions in Teva securities, 'fhese sub-funds are not separate legal entities under

Danish law, have no officers or employees, and only Investeringsloreningen Nordea Invest

Portefølje is authorized to assert or assign claims relating to securities held in these sub-funds,

       42.       The funds under NIM's management discussed above purchased or acquired Teva

securitios during the Relevant Period at prices that were artilÌcially inflated by the materially

false and misleading statements and omissions of material fact complained of herein, in violation

of federal securities laws, and suffered damages as a result.

        B.       Dcfendants

        43.      Defendant f'eva is incorporated in Israel with its principal executive offices at      5


Basel Street, P.O. Box 3190, Petach'fikva,4951033, Israel. Teva's U.S. wholly-owned

subsidiary 'l'eva IJSA has       its principal offìces at    1090 Ilorsham Road, North Wales,

Pennsylvania, 19454. Teva engages in interstate commerce within this l)istrict and regularly

transacts business within the State of Connecticut. Teva ADS are listed and traded on the NYSE

uncler the symbol    "TI3VA." Teva ADS are traded in the United States, 'Ieva ordinary             shares

trade on the Tel Aviv Stock Exchange ("TASE") under the symbol "TEVA."


                                                  15
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 20 of 129



          44.   Defendant Vigodman was feva's President and CIIO from February          11   ,   2014

tl-rrough lrebruary   6, 2017   and   a Director liom June 22, 2009 through lìebruary 6, 2017.

Vigodman signed and certificd cerlain of Teva's reports on lìorms 20-Iì and 6-K filed with the

S[ìC during the Iìelevant Period, as set forth heroin.

          45.   Defendant Desheh was Teva's CF'O from July 2008 through June 30,2017,

except liom October 30,2013 lo l"'ebluary      II,2014, during which he served as Teva's Interirn

CllO and President, Desheh also was Teva's Group Executive Vice President ("EVP") from

2012to June 30, 2017. Desheh signed and certifîed cerlain of Teva's repofts on lrorms 20-[ì and

6-l( filed with the SEC during the Relevant Period,      as set forth herein,

          46.   Defendant Yaacov "Kobi" Altman ("Altman") was Teva's Acting CFO from

October 31,2013 through February          1I,2014. Altman signed and cerlihed   certain of Teva's

reports on Iìorms 20-F and 6-K filed with the SEC during the Relevant Period, as set fotth

herein.

          47.   Defendant   Allan Oberman ("Oberman") was President and CIIO of 'feva
Americas Generios from November 5, 2012 until I)ecember 31,2014. As President atrd CIIO of

Teva's Americas Generics business, Oberman possessed the power and authority to control the

contents of the Company's reports to the SEC concerning'feva's lJ.S. generics business and was

provided with copies of the Company's reports and press releases alleged herein to be misleading

before, or shortly after, their issuance and had the ability and opportunity to prevent their

issuance or cause them to be corrected.

          48.   Defendant Olafsson was President and CIIO of Teva's Global Generic Medicines

Group from July 1,2014 until Deoember 5,2016. Prior to joining Teva, Olafsson held senior

leadership and other positions, within Actavis between 2003 and 2014. As President and CEO of




                                                  t6
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 21 of 129



'leva's Global Generics Medicines Group, Olafsson possessed the power and authority to control

thc contents of the Company's reports to the SIIC concerning'I'cva's lJ.S. gcnerics business and

was provided with copies of the Company's reports and press releases allegecl herein to bc

misleading before, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected.

        49.    Defendants Vigodman, Desheh, Altman, Oberman, and Olafsson are sometimes

referred to herein oollectively as the "Individual I)efendants."

       C.      lìelevant Third Parties

       50.     lìormer Employee No,      I   ("1ìE-1") served in the Trade relations group at 1'eva

during the Relevant Period,

       51,     Iìormer Ernployee    No,2 ("FE-2") served in various positions in supply chain
managclnent, inoluding at the associate director level, during the Relevant Period.

IV.    FACTUAL ALLEGA'TIONS

       A.      'Ihe lìcgulation of Generic Drugs in the U.S. Is Structured to Create      a
               Compctitive Market for the Ilenefit of Consumers

        52.    Since the implementation         of the Drug Price Competition and Patent Term
Ilestoration Aot (known as the "I-latch-Waxman Act")          in   1984, genelic drugs have had   a


signilicant impact on healthcare in the U.S., resulting in tens of billions of dollars in annual

savings for consumers ancl the overall healthcare system. The Ilatch-Waxman Act was initially

enacted to simpli$, the regulatory hurdles for bringing generic drugs to market and eliminated

the prior requirement that generic drug companies frle costly New Drug Applications ("NI)A")

to obtain IìDA approval. The Ilatch-V/axman Act is designed to get less expensive generic drugs

into the hands of consumers expeditiously. lJnder the revised process, generic drug companies

can instead file an   ANDA, A     generic drug company that submits an ANDA generally is not



                                                   t7
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 22 of 129



required to include clinical trial data to establish the safety and efficacy of the drug. Insteacl, the

company can "piggy-back" on the safety and eflìcacy data supplied by the original NDA holdcr

l'or a givcn dnrg.

         53.    Generic drugs must meet certain bioequivalence and pharmaceutical equivalence

standards set by the FDA to ensure that the generic drug is essentially an exact substitute for the

brand-name drug. 'l'o receive IìDA approval through an ANDA, a generic drug must contain the

same active ingredient, in the same dosage form, in the same strength, to be bioequivalent to the

original brand-name version approved by the FDA through an NDA. The IìDA uses a review

process to ensure that brand-name and generic drugs that are rated "therapeutically equivalent"

have the same clinical effect and safety profile. According to the FDA: "fp]roducts classified as

therapeutically equivalent can be substituted with the full expeotation that the substituted product

will   procluoe the same   clinical effect and safety profile as the prescribeci product."2 The FDA

assigns generics that are deemed           to be therapeutically       equivalent    to their    brand-name

counterparts an "AB" rating,

         54.     'l'he llatcli-Waxman Act also provides a 180-day exclusivity period for the first

generic drug company that files an ANDA and simultaneously challenges the validity of the

patent for a brand-name drug. 'fhis exclusivity period, which allows the generic drug company

to market its generic version fìee from competition, is intended to spur generic drug companies

to provide alternatives to brand-name drugs. V/hen generic drugs enter the market, they                    are


often priced well below the brand-name drugs and quickly take a large market share from the

brand-name drug company. The fìrst generic drug             will genelally   be priced \5o/o lo 20o/o below

the brand-name drug. Once the exclusivity period ends and more generic versions enter the

t       See Approved Drug Products with 'Iherapeutic Equivalence Evaluations ("Orange Book"), 37tt'iEd.,201J,
U.S. Deparlment of l-lealth and Human Services - Food and Drug Administration, at vii.



                                                      18
            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 23 of 129



market, the price of the generic drugs continues to fall and their combined share of the market for

that drug, rclative to the brand-name equivalent, continucs to grow. 'I'he price of the generic

versions of a given drug can fall to as little as l}Yo to 20o/o of the original price for the brand-

name drug. This competition allows purchasers to buy the generic equivalent of a brand-name

drug at substantially lower prices. As Stephen W. Schondelmeyer, Professor of Management &

Ilconomics at the lJniversity of Minnesota, College of Pharmacy, explained in his testirnony

before the Senate IIELP Committee:

        The Congressional Budget Oflìce has credited the Flatch-Waxman Act and,
        imporlantly, the process for easy and routine A-rated generic substitution by
        pharrnacists with providing rneaningful economic competition fi'om generic
        drugs, and with achieving billions of dollars of savings for drug purchasers
            such as consuûìers and employers.

            55.   The Maximum Allowable Cost ("MAC") pricing regime also serves to control

drug prices, lJndel this regirne, individual States or pharmacy benelìts managers                     ("PBMs")-

third party adrninistrators of prescription drug programs-establish an MAC for drug products

using a variety of inputs. If the oost for a pharmacy to dispense a given drug exceeds the MAC,

the pharmacy      will either opt to substitute   a less expensive version,   if   available, or sell the drug at

a loss to service the patient. 'this MAC framework incentivizes pharmacies to                  fill   prescriptions

with the least expensive, therapeutically equivalent version of a drug to maximize theil potential

profits. IJetween 2005 and 2014, generic drugs          saved the IJ.S, hcalthcare system more than $1,6

trillion,

            B.     In 2010-2014,a llacklog of ANDA Approvals at the FDA Created a Window
                   of Rcduced Competition in thc Gcneric Drug Market

            56.    One of the keys to reducing drug prices is ensuring that there is substantial

competition in generic drug markets. Given that generic drug makers bear none of the large

research and development expenses borne                  by   brand-name manufacturers,               the   primary



                                                        t9
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 24 of 129



impediment to entry into the generic market is obtaining ANDA approval fiom the FDA.

Accordingly, the ovcrall cost of prescription drugs for the public is reduced by faster generic

drug approval times. Flistorically, the average time between generic drug application submission

and approval ranges from six months to several years, depending on the complexity of the drug.

That approval time had varied over time, however, based upon the number of generic drugs

seeking approval and the review resources available to the FDA.

       57   .   By 2012, FDA resource problems similar to those plaguing the new drug market

in the late 19fì0s had beoome a signil.rcant limitation on the approval of ANDA for generic drugs.

In2012, the FDA was facing abacklog of over 2,800 unexamined ANDA. 'I'his overload was

driven by the relative ease with which manufacturcrs could obtain generic dlug approvals as      a


result of Ilatch-V/axman, and the lack of a respective increase in FDA reviewers to process the

applications. By 2012, the average waiting period lor an ANDA approval had increased to         31


months.

       58.       The backlog of unapproved drugs, which limited generic competition, createcl a

winclow     in which generic companies had the ability to increase prices. For       example, the

September 2016 GAO Reporl found that more than 300 of the 1,441 established generic drugs

examined by the study had one       or more instances of "extraordinaly price increases"-i.e.,

"periods of prices at least doubling" between the first quarter of 2010 and the first quarter of

2015. In 2014 alone, more than 100 generic drugs experienced these extraordinary             price

increases. For 48 of these 100 drugs, the price increases were 500% or higher.

          C.     By 2013, Teva Was Performing Poorly antl Facing a Collapsing ADS Price

          59.    Fleading into 2013, Teva faced a number of significant issues. Iìirst, by 2012,

Teva's ADS price had fallen from a high of over $60 in 2010, to the upper-$3Os.




                                                20
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 25 of 129




        60.    Second,   in 2012, Teva received subpoenas from the SEC relating to a lroreign

Cormpt Praotices Aot investigation into 'l'eva's bribery scheme to gcncrate sales and gain market

share of generic drugs in Russia, lJkraine and Mcxico (.5'Z'C v.T'eva Pharm. Indus.,         No. 1:16-cv-

25298 (KMM) (S.D, Fla. Dec. 22,2016) (ECF No.             I   (Complaint) at ll 2)). The SEC also alleged

that 'l'eva deliberately falsified its accounting. 'I'eva's generics revenues ftom "Rest of World"

markets ("ROV/") (including those subject to the FCPA investigation) fell approximately $280

million in 2013, Ultimately, Teva paid a $519 million fine and entered into a deferred

prosecution agreement. 'Ihe investigation put pressure on the rcvenue pipelines from these

countries.

        61.     'l-hird, 'l'eva's [J.S. generics business reported dramatically lower I'evenues, year

ovcl year, In fact, 'feva was the worst performing generic drug company compared to its peers,

despite being the largest. As a Deutsche Ilank analyst concluded in a May 3,2013 report, Teva's

overall generics business had "signilìcantly underperformed."

        62.     Irourth, 'I-eva would soon lose its patent protection on Copaxone, which was far

and away its most important drug, accounting for as much as 40Yo of Teva's operating profits at

that   time.   Due   to this   impending loss   of   exclusivity, Teva knew        it   could face generic

competition to Copaxone as early as rnid-2O14,

        63.     On October 30,2073, Teva's Iloal'd of Directors forced CEO Levin to step down

less than 18 months afler he had taken the   job.    Given the sudden nature of Levin's termination,

the Iloard named Defendant Desheh, 'Ieva's Executive Vice President and CFO, to                fill   the role

of President and CEO on an interim basis, effective immediately, and formed a committee to

search for a permanent successor.




                                                     21
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 26 of 129



        64. In an October 30, 2013 investor               call relating to Levin's fltring, then-Chairman

Phillip lìrost and Desheh assured invcstors that thcy were fooused on turning the Company

around, Desheh informed the market that Teva "hafdl deoided to aocelerate" the cost reduction

plan and promised "to create a much better, elÏcient generic machine." Chairman Frost

disclosed that "fi"iends of fhisl . . , have bought hundreds of millions of dollars of stock during

thc last couple of weeks. . . ."

        65.      In reality, just months earlier, recognizing that the backlog in ANDA approvals at

the I;DA discussed above had, at least temporarily. restricted competition lor some generic

drugs, Teva hacl undertaken a risky gamble to improve its results            -   substantial price increases for

certain of its drugs. In July and August2013, Teva increased prices on a number of drugs:

        Oxybutynin Chloride Tablets; Nadolol Tablets; Fluconazole Tablets;
        Methotrexate Sodium Tablets; Cimetidine Tablets; Prazosin Capsules; Ranitidine
        HCl, l'ablets; lìnalapril Maleate'I'ablets;

        I)oxazosin Mesylate Tablets; Etodolac Tablets; Pravastatin Sodium Tablets;
        I(etoprofen Capsules; Iltodolac SIì Tablets; Tolmetin Sodium-Capsules;
        Clemastine Fumarate; Diltiazem HCL 'Iablets; Ketorolao Trometh Tablets;
        Diclofenac Potassium T'ablets3

        66.      By October 2013, this desperate gamble had not yet fully borne fruit                   -   costing

CliO Levin his job.

        D        lly2014, Defendants Werc Fully Aware that Price Hikcs for Generic Drugs
                 Coulcl Not Be Maintained for an Bxtended Pcriod

        67.      Reoognizing the enormous backlog the FDA was experiencing                         in its ANDA

approval process, and the attendant negative impaots on competition in the provision of generic

drugs, Congress enacted the Generic Drug User Fee Amendments ("GDUFA") to provide the

FDA with a supplemental revenue source to spur the approval process, GDIJFA went into effect


3       The specific tirning and price increases for these drugs are set forlh in charts in Sections IV.F.2-4 and in
Appendix A hereto.


                                                        22
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 27 of 129



in October of 2012, and instituted user fees on ANDA and other facility fees to generate                $1.5

billion over the lif'e of the lìvc-year program, 'I'he goal of GDUIìA was to climinate the ANDA

backlog ancl recluce the average review time to ten months or less.
                                                                    'fhe expectation was that,

once the fees flowed into the system and new FDA reviewers were hired and trained, backlogs

would decrease and competition would increase, severely curtailing generic drug makers' ability

to increase prioes. Thus, by late Z}I2learly 2013, generic manufaoturers knew that within the

next I -2 years, ANDA approvals would be          <ln the rise and any    ability tliey had to raise prices

woulcl be severely curtailed.

        68.     With the additional funds provided by GDUFA came an FDA cornmitment to

reach a variety of goals, including accelerating the review process and elirninating the mounting

backlog of   ANDA.     One sucl'r oommitment the FDA took was to act on 90Yo of all backlogged

ANDA by the end of hscal year ("FY") 2017. Iu a keynote address at the Generic

Plrarmaceutical Association annual rneeting         in the spring of early 2015, the Director of          the

FI)A's Ofhce of Generic l)rugs, Kathleen LJhl, M,D,, pledged accelerated action. 'fhe IìDA

delivered on Director [Jhl's promise, hiring nearly 1,200 new employees in 201S-more than the

preceding two years combined.

        69.     As the graph below depictsa, the number of full approvals and tentative approvals

of generio drugs began to reach recold heights in or around April 2015:




o      Implementation of the Generic Drug lJser Fee Amendments of 2012 (GDUFA), Testimony of Janet
Wooclcock, M.D., Director, Center for Dlug llvaluation and Research, U.S. Food and Drug Admirlistration, Before
the Committee on Oversight and Government Refortn, U.S. I-louse of Representatives, Feb. 4, 2016, all .




                                                      23
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 28 of 129




                                         Chart 7. Approvals and Tentative Approvals

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                               Ient¿t¡ve Approvals
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                             Ë Full ApÞrovâls
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       70,         On November 9, 2015,lnsiderflealthPolicy reported in an article enlilled, FDA,

Pressed to Clear Generic Drug Backlog, Says                          It Is Ahead of'schedule,lhal the FDA had taken

action on 82% of the backlog "as a rising chorus of voices, including Democratic presidential

oandidate I'Iillary Clinton, press                   the agency to clear the backlog to help counter rising

pharmaceutioal          prices." All told, in 2015, more than 700 generic drugs were approved or

tentatively approved by the FDA-the lríghestJigure in tlte FDA's history.

       71. In addition                   to the increase in generic competition that would result lrom                       the

acloption of GDUIìA and subsequent increase in the lìDA's ANDA review capabilities, Teva had

other reasons to believe that its ability to increase prices would be a short term phenomenon that

would not extend beyond 2015 or 2016-atthe latest.

       72.         As a result of the initial price increases by Teva and others in 2013, in January

2014, the NCPA wrote to the U.S. Senate FIELP Committee and the U.S. I{ouse Energy and

Commerce Committee regarding generic pharmaceutical pricing, The letter stated that "many of

our members across the U.S. ... have seen huge upswings in generic drug prices that are hurting


                                                                     24
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 29 of 129



patients and pharmacies ability to operate."       It further noted that "77Yo of pharmacists   reported

26 or mclre instanoes over the past six months of a large upswing in a generio drug's acquisition

price," It   askecl that   tlie   Senate "schedule an oversight hearing   to examine what factors may

have led to these unmanageable spikes in generic drugs"

        73.      On July 8,2014, The New York Times addressed pricing issues with generic cL'ugs

in an article titled, "Rapid Price Increases for Some Generic Drugs Catch Users by Surprise,"

highlighting a nearly I00% price increase for digoxin, a longtirne genedc drug that Teva did not

procluoe, Tho article stated:

        T'hough generic medicines are far cheaper to bring to market than brand-name
        drugs because they involve little research and development, they also are priced
        lower because generics typically face intense competition, But Dr. Aaron
        I(esselheirn, a professor of health economics at the l-larvard School of Public
        Ilealth, noted, "studies show it is not until you have four or five generics in the
        market that thc prices really are down,"

        74.        As a result of the Times article, the C1' AG began an investigation on pricing

issues with a IÌrcus on    digoxin. Other AGs quickly followcd suit.

        75.        On October 2,2014, [J,S. Senator Bernie Sanders and U.S. I{epresentative Elijah

E. Cummings sent letters to 'feva and thirteen other generic drug companies asking for detailed

infolmation on various generic drug price hikes. 'I-he letter stated: "Vy'e are conducting an

investigation into the recent staggering price increases for generic drugs used to treat everything

lrom common medical conditions to life-threatening illuesses," It specifically noted that

        Vy'e arewriting to your company to request information about the escalating prices
        it has been charging for two drugs: Divalproex Sodium ER, which is used to
        prevent migraines and treat certain types of seizures, and Pravastatin Sodium,
        which is used to treat high cholesterol, According to data provided by the
        Ilealthcare Supply Chain Association (I-ISCA), the average prices charged for
        these drugs have increased by as much as 736 percent for Divalproex Sodium and
        573 percent lor Pravastatin Sodium from October'2013 to April2014.

 'leva never responded to this letter



                                                      25
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 30 of 129



         76.    On November 10, 2014, The lløtt Streel ,Iournal reported that the DOJ was

invcstigating gcncric drug manufacturers for violations of the antitrust laws. Later that month,

the DOJ convened a grand jury in the Ilastern District of Pennsylvania, pursuant to which

subpoenas were issuecl to Teva and least ten other gencrio drug manufacturers.

         77,    On November 20, 2014, the Senate Subcommittee on Primary Flealth and Aging

hel6 a hearing entitle¿ "Why Are Some Generic Drugs Skyrocketing In Prioe?" In his opening

remarks, Senator Sanders noted that

         Accor<ling to Meciicare ancl Meclicaid data, between July 2013 and July 2014, half
         of all generic drugs went up in price. During this same time period, over 1,200
         ge,rerið drugs, n.uily 10 percent of all generic drugs, more than doubled in price.
         More than doublecl in priòe. in fact, these drugs went up in price by an average of
         448 percent, Dozens of drugs went up by 500, 600, 1,000 percent'

Other Senators noted the need to rcduce the FDA backlog in ANDA approvals to spur
                                                                                  generic


oompetition-a process that was then ongoing.

         7g.     As a result of the adoption of GDUIìA in 2012, and the intense scrutiny by

Congress, regulators and the press          in   generic drug prioing (spurred largely   by dlug   price

                                  -feva
 increases   in 2013 and z0I4),           knew that its ability to obtain additional revcnues by r:aising

                                                                                            (1-2
 prices was a shoft term phenomenon that would not persist for more than a relatively shoÏt

 year) period of   time, Investors were also aware that the flood of new         generics to the market

                                                       'feva therefore knew that acknowledging
 would lead to increased competition and lower prices.

 prioe increases could alert investors that any success the Company was experiencing would be

 shoft term.

          E.      Vigodman Becomes CBO and Teva Announces Its Strategy to Use Its Stock
                  as Currency for a Major Acquisition

          79.     In January 2014, i¡eva announced the appointment of Vigodman as its President

 ancl   CllO, effective February    lI,2Ol4.      From the time Vigodman was hired,       it irnmediately


                                                       26
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 31 of 129




became clear that Teva's plan was to solve its long-term issues through a major acquisition by

                                                                              'l'eva's planning fior the
using its stock to facilitate a deal. 'fhis strategy was the direct result of

en<J   of its patent for Copaxone in 2017, Copaxone is used to tïcat rnultiplc sclerosis and was         a


lruge suocess for Teva, providing as muoh as 40o/o of Teva's operating profit iu some years.

Teva's management anticipated the patent and pricing issues well in advance, and decided that

the company should buy its way out of the problem through major acquisitions.s

          80.        Thus, at a January 14, 2014 J.P. Morgan I'Iealthcare Conference, Defendant

Desheh explaineci that Teva was         in a position to make "more than a small acquisition or in-

licensing transaction," I-le specifically noted that this "major commitment" was supported by the

recent reoruitment of Vigodman who would "emphasize (potentially large) acquisitions more

readily than his predccessor," ideally using Teva's ADS as "currency,"

          tl I   ,   On March 4, 2Ol4, at a Cowen Flealth Care Conferenco, Desheh noted that, with

"the stock price under $40, ... we can't use fTeva Sccurities asl currency" f'or the                  large


acquisition he had touted two months earlier.

          F.         Teva Substantially Increases Prices on a Multitude of I)rugs to Prop Up Its
                     Declining Revenues and Increasc Its Share Pricc

          82.        'l'he arrival of Vigodman caused Teva to substantially intensify its undisclosed

plan to increase the prices it charged for an array of its generic drug offerings. Inoluding the

multiple drugs where it had raised prices in 2013, beginning iri April 2014 and extending through

July 2015, Teva raised prices on adclitional drugs and, in total, raised prices on at least 55 drugs'

These undisclosed price increases       fit into one of three categories: (l) 28 drugs where Tevawas

the only (or only major manufacturer) increasing the price of the generic drug; (2) 24 drugs



 5         David Segal and Isabel l(ershner, New York 'Ilnøs, "Nobody Thought   It Would Come To This': Drug
 Mal<er 'l'eva lìaces A Crisis," Dec, 27 ,201"1 .



                                                     27
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 32 of 129




where 'leva's price increase occurred in parallel with increases by other manufacturers; and (3)

three drugs where governmental investigations have indicated therc may havc been active

collusion bctwcen 'feva and other manufacturers. In total, the price increases swclled Teva's

revenue by billions of dollars.

                  l.       Teva's Price Increases Were Approvcd by the Company's Scnior
                           Bxecutives

         83.      'leva's decisions to increase prices came from the top down. FE-1 explained that

Teva had an internal Pricing Group that was tasked with providing detailed leviews                                  and


documentation of price reductions, Fll-1 further explained that the head of Teva USA's Pricing

Group, Kevin Galownia, was "the gatekeeper" for generic pricing. V/hile Galownia was often

the conduit for price increase orders, he did not make such decisions, which came from

exeoutives more senior than him.6

         84,      Teva established review and approval procedures, pursuant                         to which price
increases recluired the Chief Accounting Officer             of 'I'eva and feva IJSA ClìO, Deborah Grilltn

("Griffin"), ancl'I'eva LJSA COO, Maureen Cavanaugh ("Cavanaugh"), to determine whether to

make a price increase and to personally approve the increases. Grifflin and Cavanaugh would

then decide when the increases would become effective.

         85.      According to llE-2,'Ieva stored drug-by-drug pricing, sales, and revenue data on

the Cornpany's Oracle ERI' System. FE-2 states that the Cornpany stored pricing and revenue

data "down to the        Nl)C code" on the Oraole System and executives, including Cavanaugh,

Oberman, and Olafsson, had access to the Oracle ERP System, and were routinely filled in on




u          Allegations in this subsection not specilìcally attributed to an "FE" are taken from the allegations set forth
in the amended complaint liled on June22,20lS,OntarioTeachers'Pension Plan ßd.v.T'eva Pharm. Indus. LÍd,,
N<r. 3:17-cv-00558 (SfìU) (D. Conn.) at 1J1[ 36-38. Before relying on the inforrnation set forth in the Ontqrio
'l-eqcher,s Complaint, counse I lbr PlaintilT helein independently confirmed that information.




                                                           28
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 33 of 129




sales numbers. 'fhe database was used             to generate daily or weekly "Scorecards" that senior

executives would receive that reported generic drug revenues and pro{ìts.

         86,     Iì'll-2 explains that the Company annually, on a prcdetermined sohedule, prepared

a long-range "Work Plan" that forecasts 3-5 years of revenue on a granular level. IrE-2 lurther

states that the V/ork Plan was reviewed and approved by 'leva's U.S. and Israeli executives.

Vigodman ancl Desheh were exeoutives in Israel who reviewed the Work Plan. Further, during

each quarter, a document called a Latest Best Estimate              ("LBE") was prepared, detailing whether

forecasts lvere met. The LBE, reports were sent to Teva's executive eommittee in Israel, which

included Vigodman and l)esheh,

                 2.        Teva Unilaterally Incrcascd Priccs on I)ozcns of Drugs

         87.      Beginning in 2013 and extending through early 2016,'leva recognized that the

lìDA's ANDA backlog had bestowed it with significant market power with respect to                           a number

ol' clrugs, In response, Teva unilaterally increased prices on at least 2tl generic drugs by

significant amounts, The drugs and the dates and amounts of increases are set forth below:

                                                                       Percentage                 Increased
     Generic Drus                  Period of n reaseT                   Increase8                 Revenuee
     Anaerelide IICt.                   3lr4-r2ll5                          243%                  $i   7,134,558
        Cimetidine                          6l13-6118                       869%                  s12,797,442
    Ciprofloxacin I-lCl,                   t2lt4-U17                        Ir11%                $102,373,807

7            nationally recognized database was used to calculate prices per unit. The data reflect prices at wholesale,
but do not^ reflect off-invoice discounts and rebates. l'he data show sales prices reflecting the inventory in any given
month. Iìven though price increase may be set at a particular point in time, because the data tracks actual tnarket
pricing, these prices increases can take time to work through the system as older stoclcs with lower prices are sold
and replaced by newer stocks with higher prices. The period of increase is calculated with respect beginning of the
price incroase and the month of the peak price after the price increase.
I        This represents the percentage increase for the most commonly prescribe dosage level for the period in the
prior column. All dosages and relevant periods are set forth in Appendix A hereto.

'         To determine increased revenue, the month prior to the price increase was identified. Then it was assumed
                                                                                                                   'fhe
that this "but-f'or" price would have continued from that point onward had the price increase not occurred.
increasecl revenue is the clifference between the actual monthly prices and the pre-increase price, multiplied by total
quantity. Increased revenue is only calculated for montlrs where the actual price is greater than the pre-increase
prioe. This calculation is pelformed separately for each formulation of a given product.



                                                          29
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 34 of 129




                                                           Percentage            Increased
  Generic Drug               Period oflncreaseT             rncreases            Revenuee
   Clemastin Fum                  7lt3-r2lt6                   223%                  $3,410,833
     Clotrimazole                 8lt4-r2lt7                   s00%                  $3,193,621
 Cromolyn Sodium                    7lr4-61r8                  392%                  $6.029,s03
Cyrpoheptadine FICI-                3lt4-r1l17                  Ã0%                  st,460,2s9
      Diclofenac                     Ut3-8lts                   3r0%                 $21 .783,41 0
Dicloxacillin Sodium                3l14-8117                    98%                 $   1   3,3 26,04   1


   Diltiazem FICL                   7l13-Ut6                    205Yo                $3 8,020,901
     Iltodolac SR                   7lt3-vr4                    200%                 $49,403,608
   Fluoxetine I'lCL                  vts-6118                   769%                 s29,043,960
       Iìlutamide                   rvts-71t6                    55%                         $88,1 70
 Iìosinipril Sodium                 2lts-9lts                    60%                 $3,928,02s
     Griseofulvin                   2lts-3116                   Ltv/oÍo,/                16,148,3 s7
                                                                ^,-,                 $
 IJydroxyzine Pam                   3lr4-11r8                   173Yo                $1r,019,351
      Ketoprofen                     1l13-slt8                  746%                 $6,1 3 1 ,456
 Ketorolac Trometh                   7lr3-sl16                  409%                 s3 6,73 2,068
 Loperamide I-lCi,                   8lr4-21r6                  119%                 $15,651,417
    Megestrol Ace                    2115-61t5                   35%                     $762,8s6
Methotrexate Sodium                  6l13-Urs                   st9%             $ 13         8,3 14,084
      Methydolpa                     Ur5-2117                   216%                     $645,886
   Mexiletine FICL                   8lt4-4117                  124%                 $23,345,258
 Nefazodonc IICL                    8t14-1Ur6                   r20%                 s23,419,496
 Norlriptyline FICL                  U15-9116                   158%                 s20p61,422
    Prazosin FICL                   rUr2-1Ur5                   243%                 $43,212.877
   Ranitidine I-ICL                  6lt3-U17                   6rt%                 $41,03 8,333
  '1-olmetin Sodium                  7113-6117                  265%                     s2,6s2,049
       88,     In total, comparing the year prior to the price increase to the year after the

increase, 'leva's revenues for these drugs increased by a total of $688.1 million.

               3.      Teva Increased Prices in Parallel with Other Manufacturers for a
                       Number of f)rugs

       89,     Beginning in2013 and extending through early 2016, Teva, acting in response to

or in parallel with other manufäcturers, increased prices on at least 24 generic drugs. The drugs

and the dates and amounts of increases are set forth below:




                                                 30
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 35 of 129




                                                                                                      Average
                                  Period of               Percenta ge           Increased           Increase of
  Generic Dr ug                   Increase                Increase 10            Revenue           Comrretitorsl l
        Baclofen                   3114-2115                   306%            $   143,490,678            7I6Y"
     IJurnetanide                  3lt4-7116                   652%                s86,977,165            25\Yo
 Cabiclopa-l.cvodopa              6116-t2lt6                   st%                      s94,699            79Y.
   Carpamazepine                  8lt4-r2lt6                    909%               $81,660,368            792o/o
      Cephalexin                   3lr4-7114                    171%               $52,800,891            320o/"
        Danazol                    vls-3116                     r69%                $3,588,5 52            76Yo
    Dipyridamole                  6lts-r2lt7                    413%                $ 1,486"507          245V"
 Divalproex Sodium                 3113-6118                    444%                s8,765,463           I66Yo
  I)oxazosin Mesy                 7lt3-t0lr5                    666%               s45,742,r4r           908Y"
        Enalapril                 6l13-r2116                   t728%             $55,084,975             1222%
      Ilstazolam                   3lt4-6118                    r32%             s20.790.429              277Yo
        Estradiol                 7ltz-v16                      r98%               6r,704,439             273o/o
        Etotolac                  3lt3-r2lrs                   s0t%              $49,403,608              333o/o
     Iìluconazole                  sl13-8113                   487%              $98,589,022              643%
    Iìluocinonide                 sl14-t2lr4                   r82%             $110,899,192              358o/"
     Glimepiride                   l/rs-8/15                   199%              $ 19,091 ,825            214Yo
    Ketoconazole                  3lt4-9116                    590%               954.02sJ29              945V,
  Meperdine LICL                  7lt4-5116                    4390Á               s9,463,723             389%
        Nadolol                   6113-t0lt6                   It43%             $70,875,535              13lV"
   Oxybutynin Cl,                  5l13-vr6                    869%               s97,355,732             s35%
Penicillin V Potassium            r0lr6-3117                   440%               s27,574,780             41z%o
   Pravastatin Sod                7l13-1U13                    437Yo            s373,633,425              3940Á
  Propranolol IICL                 5l13-5114                   298%             s256,345,498              900%
   Trazodone I-ICL                 6lr5-21r6                   ll2o/o           $ 100,168,909             l3j%o

          90, In total, comparing the year prior to the price increase to the year after the
 increase, 'leva's revenues for these drugs increased by a total of $1.83 billion,




  l0      This reprcsents the percentage increase for the most colnrronly presclibe dosage level for the period in the
 prior column. All dosages and relevant periods are set forth in Appendix A hereto.
  I'      Competitor price increases are included here if the data showed a price increase generally within a month
 or two of 'l"eva's plice increase for the same drug and formulation. The data in this charl represent the average
 percentage increase for all competitors that increased the plice on at least one dosage of the drug. All competitors,
 dosages and relevant periods are set forth in Appendix A hereto,




                                                          31
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 36 of 129




                   4.     Teva Actively Colludcd rvith Other Gcncric Drug Manufacturers to
                          Fix Prices

        91   .     With respect to three drugs as to which Teva made significant price increases-

Nystatin, 'fheophylline     lllì,   and Glipizide-Metforrnin-there is direct evidence that the price

increases were the result      of collusion with other manufacturers, Teva increased prices for               and

revenues from these drugs as follows:


                                                                    Percentage               Increased
   Generic Drug                     Period of Increase              Increasel2                Revenue
  Glipizide Metform                       2l13-21r6                      142Yo               sr4.683.227
        Nystatin                         3lt4-lvrs                        52%                 s4,334,575
     I'heophylline                        3lr4-7114                      172Vo               925,624,945


                          a)        Direct Evidcnce of Price-Fixing: Nystatin and Theophylline ER

        92.        Nystatin is a medication used to fight fungal infections, The generic Nystatin sold

by Teva is AB-ratecl to the brand name drug Mycostatin@. During the Relevant Period, Teva's

two main competitors for Nystatin were lleritage Pharmaceuticals Inc. ("1-lcritage") and                      Sun

Pharmaceuticals (through its division Mutual Pharmaceuticals ("Mutual")).

        93.        Theophylline EI{ is a medication used to treat asthma and airway narrowing

associated       with long-term asthma or other lung problems, such as chronic bronohitis                     and

emphysema. The generic Theophylline [iR sold by 'feva is AB-rated to the brand name drug

Theodur@. Theophylline EIì is an extended release medication, which means that                     it is released

into the body throughout the day, During the Relevant Period, Teva's primary competitor for

Theophylline ER was Heritage,

         94. As evidenced by facts and documents                     detailed    in the CT AG's        Amended

Cornplaint against Teva and others dated June 18,2018, Teva, Ileritage and Mutual exchanged


''       This represents the percentage increase for the most commonly prescribe dosage level for the period in the
prior colurnn. All dosages and relevant periods are set forth in Appendix A hereto.


                                                        32
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 37 of 129



numerous e-mails ancl text messages regarding the prices of generic Nystatin and 'Iheophylline

ììll   during the ILelevant Poriod. Many of these communications wete, on information and belicf,

between Nisha Patel ("PatÇI"), Teva's former Director                of Strategic Customer Marketing fiom

April 2013 to August 2014 and its l)irector of National Accounts from September 2014 to

December 2016, and Jason Malek ("Malek"), the lbrmer President of Fleritage who pled guilty to

Sherman Act antitrust violations for price-fixing in January            20Il.t3   For example,

          a) In July     2013, Patel had a series of phone calls with Malek. The thlee calls
               spanned 43 minutes, including an        initial call on July 7 that lasted for 2l minutes.

          b)   On July 30,2013 Patel and Malek spoke twice, with the second of those two calls
               lasting more than twelve minutes, In between these two calls, another Ileritage
               representative spoke with a Mutual representative for nearly eleven minutes.

          c) Aller these calls, Nystatin        was identified on an internal 'l'eva document listing
               "potential" price inoreases, notwithstanding that Teva management had declined
               to raise priccs a month earlier, Patel then left fol rnaternity leave in August 2013

   ,           until the end of 2013.

          d)   On February 5,2014, Patel and Malek spoke for more than one hour. 'fwo days
               later, on February 7, Nystatin was again identified on an internal 'feva document
               listing drugs for potential price increases. Patel and Malek had several additional
               calls in February and March 2014.

          e)   On April 4, 2014, Teva increased the weighted average cost ("WAC") prioe for
               Nystatin and Theophylline liR.

          Ð    On April 15, 2014, Patel and Malek spoke for 17 minutes and discussed price
               increases for Nystatin, Theophylline, and several other generic drugs.

          g) On June 23, 2014, Ileritage ernployees internally                     discussed strategies to
               implement its own price increases of Nystatin, which                it   had slated for a    95Yo

               increase, and Theophylline       lllì, which it has slated     for a     150olo   increase. In her

13         Bascd on publicly available social meclia sitcs, Patel's tenure at Teva aligns with thc tenure of Malcl<'s
contact at T'eva.



                                                          -t -1
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 38 of 129



            notes about the call, a lJeritage representalive indicated that I'leritage had to
            increase its V/AC pricing for Nystatin, bceause Teva had. On June 25,2014,the
            Irleritage representative exchanged text messages with her contact at Sun/Mutual
            to let   l-rer   know the details of Llelitage's anticipated price increase for Nystatin.

       h) On June 25, 2014,              Malek also spoke with Patel for nearly fourteen minutes,
            during which Malek reported that Heritage would increase its prices for
            Theophylline shorlly,

       i)   On June 30, 2014, Patel emailed her colleagues, acknowledging the agreement
            with l'leritage.

       j)   Iìy July 9,2014,IIeritage had increased Nystatin prices for least fourteen of its
            customers nationwide, and by at least August of 2014, Sun began increasing its
            price for Nystatin as well, In addition to leading the price increases for Nystatin,
            'feva also refìrsed to bid or challenge Ileritage's price increases when requested

            by I'leritage customers. Indeed, on July 8,2014, a large retail customer emailed a
            'Ieva representative requesting a quote for Nystatin, but 'feva refused to bid or

            challenge the Heritage price increase for this customer.

       k)   Also by July 9, 2014,lleritage had increased prices for Theophylline ER for at
            least twenty different customers nationwide, much as Teva had done three months

            earlier,

       95.       The agreements between Teva and these other drug companies to increase prices

for 'fheophylline and Nystatin were part of a scheme to manipulate prices for these drugs.

                               b)      Dircct Evidence of Pricc-Fixing: Glipizide-Metformin

       96.       Glipizide-Metformin is a medicine indicated for the treatment of high blood sugar

levels caused by T'ype-2 diabetes. T'he generic Glipizide-Metformin manufactuled by Teva is

Al]-rated to the brand nAme drug Metaglip@, Prior to and during the Relevant Period, Teva's

only two competitors for Glipizide-Metformin were Fleritage and Mylan. In 2016, Zydus

entered the market with less than2%o market share.




                                                         34
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 39 of 129




       97.     Beginning in April 2014, representatives from Teva, Ileritage, Zydus, Mylan,

Aurobindo, and/or Citron participated in numerous phone calls, and exchanged numerous e-

mails and text messages regarding the prices of generic Glipizide-Mctformin.

       9u,     On April 15, 2014,lleritage's Malek spoke with Patel for more than seventeen

minutes, during which they discussed lleritage's intention       to raise the price of Glipizide-

Metformin ancl other drugs, and'Ieva agreed that if Ileritage raised the price of these drugs, 'feva

would follow with its own price increase or, at least, would not challenge lleritage's price

increases by seeking to underbicl l-leritage and take its aceounts. Malek and Patel spoke several

more times over the next several months, <luring which Malek and his contact confirrned the

agreement   to raise Glipizide-Metformin, prices, and Malek updated Patel on the progress of

Ileritage's price increases.

        99.     Iìy May 9,2014, a'feva representative had spoken with a Mylan representative

rnultiple tirnes regarding Glipizide-Metformin, including one call that lasted more than seven

minutes, and the two continued to stay in close contact throughout the rest of 2014.

                        c)     Othcr Indicia of Price Collusion

        100. In addition to the direct evidence of price collusion between       Teva and its rival

drug r,raker in the form of inter-company communications, there are other indicia of oollusion.

ìÌor examplc, there was no reasonable justification for the price hikes discussed above. While     a


supply shortage can explain an abrupt rise in prices, here-notwithstanding drug manufacturers'

obligation to report shortages to the   IrDA-no   such shorlages were reported during the Relevant

Period. In addition, there was no significant increase in the demand for these drugs or in the

drugs' production costs that would explain the enormous price increase. In addition, price

increases of this magnitude would have been contrary to Teva's and each of the co'conspirators'

economio interest absent the price-lixing scheme. Without the certainty that           all of the co-

                                                  35
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 40 of 129




conspirators would raise and maintain the prices lor the relevant drugs, each co-conspirator

risked getting undercut by thc others, leading to a loss of market sharo and a loss of rcvenue.

'l'his risk was alleviated by the co-conspirators' agreement to raise and maintain their prices for

the relevant drugs.

        101. In addition, T'eva and the Individual Defendants had a palpable            motive   to fix

prices with Teva's competitors which derives fi'om the nature of the lJ.S, generic drug market

itself. As discussed above    (1T11   52-55), because federal law requires each generic pharmaceutioal

to be readily substitutable for anothor generio of the same brancl drug, competition will        cause


prioes to fàll until they near generic drug makers' marginal production costs, This stabilizalion

of prices in turn caused Teva's profits and revenues to level old thus giving 'I'eva and its         co-

conspirators a common motive to conspire to raise prices.

        102. With the backdrop of this common              motive in mind, the markets for Nystatin,

Theophylline ER, and Glipizide-Metformin were all susceptible to anti-competitive conduct for

the following economic reasons:

        a) 'I'he market for each of the three drugs refbrenced above was highly concentrated
             and oontrolled by a handful of companies.        A more concentrated market is more
             susceptible   to anti-competitive behavior, due in part to the relative     ease with

             which co-conspirators can monitor each other's pricing behavior to ensure
             adherence to the price-hxing agreement. Moreovet, in a highly ooncentrated
             market, there is a lower probability that each company has different production
             costs, which facilitates the maintenance of a price-fixing scheme.

        b)   Barriers to cntry into a market can delay, diminish or even prevent the attraction
             and arrival    of new market participants, which is the usual mechanism for
             checking the market power-i.e., the ability to set prices above market       costs-of
             existing participants. lìntry barriers include things like: trade secrets, patents,
             licenses, capital outlays required to starl a new business, pricing elasticity, and



                                                      36
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 41 of 129




            diffioulties buyers may have in changing suppliers, If there is no signihcant threat
            that new firrns will enter a market, a single firm with a clomjnant market sþ¿1e-
            or a combination of firms with a significant percentage of the market-is able to
            engage in anticompetitive conduct, such as restricting output and raising prioes to

            the detriment of consumers. Barriers to entry in the markets for generic drugs
            include, among other things, high manufacturing costs and regulatory and
            intellectual property requirements. For example, the requirement that companies
            file an ANDA and receive FDA approval oan delay entry into the market by an
            average of thirty-six months.

       c)   T'he presence   of alternative products that can easily be substituted for a given
            product serves to undermine anti-competitive behavior. Conversely, the abscnce
            of   available substitutes increases the susceptibility      of a   market   to   anti-
            competitive behavior because consumers have no alternative but to purchase the
            product, notwithstanding any price increases. In the context of presoription drugs,

            a pharmacist presented with a prescription for a given drug can only substitute
                                              (cAB"
            another drug if that drug has an         rating. Only generic and brand-name
            versions of a drug are AlI-rated to one another, Therefore, a pharmacist can only
            fìll a prescription for a given drug with the brand-name version or one of the AB-
            rated generic versions and cannot substitute another drug.

       d) A       standardized, commodity-like product            with a high degrec of
            interchangeabilify between the goods of the participants in an anti-competitive
            conspiracy also increases the susceptibility of a given market to anti-competitive
            conduct.   By their very naturc, all      generic versions    of a given drug are
            interchangeable, as every generic version of a drug must be bioequivalent to the
            original, brand-name drug.

       103. In addition to the economic         characteristics   of these markets which indicate     a


susceptibility to anti-competitive conduct, representatives lrom Teva and its co-conspirators had

substantial opportunities to meet up, socialize and engage in collusive conduct. Teva and its co-

conspirators routinely attended conlèrences, meetings, and trade shows sponsored by various



                                                 37
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 42 of 129




pharmaceutical trade associations, interacted       with each other and        discuss their respective

businesses ancl customers, and    to discuss, devise, and irnplement the price'fixing sohemes set

ft>rth herein. Sooial events and other recreational activities*-including golf outings, lunches,

cocktail parties, and dinners-were also organized in conjunction with the trade association

events and provided furlher opportunities for these representatives             to meet outside of     the

traditional business setting and engage in the collusive activities alleged herein. Teva even

reservecl a "strategic exchange" bungalow at the 2013 and 2014 annual meetings of the National

Association of Chain Drug Stores ("NACDS") rvhich NACDS marketed as an "opportunit[y] to

meet and disonss strategic issues with key trading partners," Such bungalows provided Teva and

its competitors with a seoluded place to privately conduct busincss. A list of these industly

events and the attendees   fromlleva and its co-conspirators is attached     as Appendix B hereto.

                5.     As a Result of the Price Increascs, Teva Increased Its lìevenues and
                       Profits by Billions of Dollars

         1,04. As a result of the price increases described          above, between 2014 and 2016, the

total additional revenues obtained from these price increases was $2.5 billion, Further, because

price increases impose minimal additional costs on Teva, these revenue increases were,

effectively, increases in'l'eva's profitability resulting from the price increase strategy.

         105,   On an annual basis, the inoreased revenues began to impact Teva's bottom line

beginning in 2013, peaked in2015, and by 2017, had substantially declined as increased price

competition negatively impacted Teva's ability           to suocessfully implement its price    increase

strategy. The additional revenues earned by Teva from its price increase strategy for                 2013

tlrrougli November 2014 is set forth in the charl below:

Total Additional Revenues llarned From Price Increases

  2013          2014           2015          2016             2011           201 8            Total




                                                    38
                Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 43 of 129



$222,1 l5,fl3   I       $6s6,024,837     s741,045,795    s541,172,141   $273,8 I 2,03   3   $74,887,541   s2,515,686,178




            G"                 Recognizing that Its Price Increasç Schcme Was Unsustainable for More
                               than a Short Period, feva Mislcads Invcstors Rcgarding the Basis for Its
                               Improved Financial Pcrfbrmance

                106,           In connection with its price increase strategy, Teva sought at all costs to avoid any

   suggestion that price increases were                     the cause of its seemingly miraculous                 turnaround.

   Accordingly, at the beginning of the Relevant Period of February 6, 2014,'l'eva attributed its

   increase in revenues lor the end of 2014 lo higher sales volumes and launches of new generic

   drugs. Nothing was said about the multiple drug price increases from the summer of 2013.

                107. In May 2014, touting               its first quarter results, 'Ieva again relied upon "new product

   launches" ancl a changecl cornposition of revenues to explain its increasect profitability.

                108.           On October 30,2014, during the third quarter earnings call, Teva was specifically

   asked about the impact                 of price increases, but l)efendant Olalìsson deflected, suggesting that

   there were no significant increases since "the base business itself is slowly eroding . . . ."

                109.           And during a conference call in December 2014, Defendant Olafsson was asked                   a


   cluestion that was based upon an assumption that wholesalers                         of generic drugs were experiencing

   "extraordinary price increases," Defendant Olafsson rejected the premise                                 of the   question,

   stating:         "let me correct. I have to            disagree that they have experienced tremendous price

   increasef        s   l.""
                110.           'fhroughout 2015 and early 2016, Vigodman, Desheh and Olafsson flatly denied

   that'feva's improved performance was the result of price increases:

                o       October 29,2015 (Vigodman): "[A]ll the improvements you see in margins is not
                        driven by price. It is driven by quantities, and by mix, and by efficiency measures, not
                        by price, 2014,2015. And that's a very important message."




                                                                   39
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 44 of 129



         e        November 19,2015 (Desheh): "There is a lot of noise around pricing issues, Some of
                  it is coming from politicians lwho are] driving agendafs] . . , . Our exposure to all
                  thesc things is very minimal , . . . I believe there are many examples for compctitive
                  environment, real competition, like we see in the generic market in the lJnited States .


                  . . . Tevø wøs not associøted witlr øny of tltat."

         .        February 11,2016 (Olafsson): "So how did we do this [increase oul proht margin by
                  $l billion over24 months]? Not hy pricing but by portþlio mix, new products, and
                  efficiency meflsuFes."

All of the above statements were false because by July           2015, Teva had raised prices on more

than 61 drugs, including many by more than250Yo.

         H"           Propelled by Price Increases, Tcva's ADS Pricc Asccnds

          I   1   1. In   2014, despite the storm olouds raised        by press stories, government
investigations and the increasing pace          of the lìl)A's ANDA approval process, Teva's price

increases fueled a turn-around success story for 'leva's U.S. genelios business, which reported

approximately a $250 million (or 60/o) increase in revenues over the prior year. Teva's ADS

prioe soared as a result, jumping more than 50% lrom around $37 in late October 2013, to

approximately $56 by the end            of 2014. 'Ihese astonishing   year-over-year increases   in   U.S.

generics revenues were accomplished in the face of 23 million fewer prescriptions than in 2013.

          ll2.        The price increases also led to a banner yeat in 2015 for'feva's U.S. generics

division, which spearheaded the Cornpany's growth story, fueling an unprecedented increase in

the price of 'l'eva ADS, 'I'eva reported the 2015 gross prof,rt lrom its overall generic medioines

segmcnt as fì4.5 billion, an increase of $246 million, or 6Yo, compared to $4.3 billion in 2014,

ancl   aprofìt (with      expenses removed) of'$2,7   billion in 2015, comparedloS2.2 billion in2014,

or a difference of almost 24Yo. Most of these glowing results stemmed from 'feva's                    U.S,

generics division, which reported revenues of $4,8 billion, an increase of $375 million, or \Yo,

over 2014, which itself had been a flagship year for U.S. generics. Teva's inflated ADS price




                                                       40
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 45 of 129




rocketed from approximately $55 at the beginning of the year to more than $70 by late July

201 5.


         I.        Dcfbndants Lay Plans for a Major Acquisition-Inflating the ADS Pricc to
                   [Jse as toCurrcncytt

         113.      Undeterred by the publio outory regarding the price increases and the government

investigations into generic price-fixing, as well as 'leva's knowledge that price increases could

not be maintained over the long-term as generic competition increased, Defendants continued to

pursue plans-contemplated from the time Vigodman was hired as CEO in January               2014-to

engage in large acquisitions to position the company for the end of its Copoxone patent rights,

         ll4.      On April 21,2015, with the ADS shares trading at an artificially inflated price   of

approximately $66 per share, Defendants announced an offer to acquire all of the outstanding

shares   of Mylan in a transaction valued at $82.00 per Mylan share, with the consideration to       be


comprised     of   approximately 50% cash and 50o/o stock. The acquisition         fell through; yet

Dcfendants oontinued        to   pursue other acquisition options,    all the while   continuing to

misreprcsent and omit material facts regarding the 'I'eva's ongoing price-fixing conspiracy and

source of its financial success.

         J"        The Company Announccs a $40 Billion Acquisition of Actavis Fucled By Its
                   Inflatecl Share Price and a Proposed Bond Offering

         115.      lìueled by Defendants' misleading statements, Teva's ADS price reached a then

all-time high of $72 on July 27,2015. On that day, Teva announoed              it had entered into a
definitive agreement with Allergan plc to acquire its worldwide generio pharmaceutioals

business, Actavis, for $40.5     billion in cash and equity.

          116. As would       later be revealed during a call with investors on October 29,2015,

Defendants planned to raise approximately $6.75 billion from a secondary publio offering of




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        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 46 of 129



ADS and an initial public offering of Preferred Shares, and approximately $27 billion from            a


dobt issuance and term loans, to financc the accluisition.

        ll7.   On the same day, Tcva issued its third quarter 2015 results, which were ahead of

the street's expectations, and again raised its full year guidance, As summarized by the analysts

at LJBS in their October 29,2015 report, "Our takeaway: Another good quat1er."

               1.      Tcva Issues $3.375 llillion in ADS and $3.375 Ilillion in Preferred
                       Sharcs While the ADS Trade at an Inflatcd Pricc

        118. On l)ecember 8,2015, 'fevaclosed          its Secondary Offering of ADS and its Initial

Offering of Preferred Shares. Teva issued 54 million ADS at $62,50 per ADS in the secondary

offering, raising approximately $3.375 billion from investors. These shares were olfered

publicly pursuant to a registration statement and prospectus, Teva also issued 3,375,000

Prelerred Shares at $1,000,00 per share, raising another $3.375 billion from investors. Each

Preferred Share was to be convertecJ into a number of ADS eclual to the oonversion rate set forth

in the Preferred Prospectus, between 13,3333 and 16,0000,

        119.    On January 6,2016, Teva sold an additional 5.4 million ADS and an additional

337,500 Preferred Shares pursuant to the exercise of the ADS/Preferred lJnderwriters' over-

allotment option. In total, Teva generated net proceeds from the ADS Offeling and the Preferred

Offering of approxirnalely $7.24 billion,

                2.      Defendants llush the Notes Offcring and Conceal thc Fact that Teva
                        FIad Becn Servcd Subpocnas by the DO.I and thc Connecticut AG

        120. On July 13,2016,       Vigodman announced that 'feva would accelerate the timing of

the bond offering related to the Actavis deal, despite the fact that it "lacked full visibility into the

Actavis Generics nllmber." According to Vigodman:

        fWle are closely monitoring the corporate bond markets and given the various
        attractive terms currently prevailing there, we are considering accelerating our
        planned debt offering. With this in mind, and despite the fact that we will not yet


                                                  42
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 47 of 129




       have full visibility into the Actavis Generics number, and in particular, certain
       pipeline information, we have decided to provide you today with our best estimate
       of the financial outlo<lk for 'feva in 201 6 to 2019, following the olose of'the deal.

       121. This was surprising       because jr"rst   a few   weeks earlier, on    a May 9,2016

conference oall, l)esheh had told investors that the offering would not happen untrl after the

Actavis deal closed.

        122.    As of July 3 1,2016, Teva had raised $20.3 billion from the Senior Notes Offering

to complete the Aotavis acquisition. The Actavis deal closed on August 2,2016. In the related

August 2, 2016 press release, Vigodman falsely declared that the "acquisition of Actavis

(ienerics comes at a tirne when Teva is stronger than ever-in both our generics and specialty

businesses."

        123. In sum, of the $33.4 billion owed Allergan         beyond the transfer of Teva stock

(priocd as of July 2015), $5 billion was funded by Teva borrowing from its loan facility, and $8,1

billion fiom cash on hand that was previously raised in         tl-re   ADS and Prefcrred Offerings,

including from its l)ecember 2015 equity offerings and borrowings uncler its syndicated

revolving credit. The remaining $20,3 billion came from the proceeds of the Senior Notes

Offering. If Defendants had been unable to secure financing for that debt, according to the terms

of the deal's   structure, Teva's agreement with Allergan would have required 'l'eva            to pay

Allergan $2.5 billion.

        K.      The Fraud Unravels, Causing the Prices of Teva Securities to Fall

                1.       Days After the Closc of the Actavis Transaction, Teva Belatedly
                         Announces It Is the Subject of Government Antitrust Investigations

        124. On August 4,2016,        three days afler the Notes OfTering, and two days after the

Actavis transaction closed,'feva reported second cluafler 2016 finanoial results that reflected      a


$434 rnillion decline in revenues in its U.S. generics segment compared to the second quarter       of



                                                 43
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 48 of 129




2015. T'he end of its ability to maintain growth through price increases was due to the massive

increase in cornpetition as the result of the IìDA's vastly accelerated pace of ANDA approvals.

Dcfenilants also revealed for the first time to investors that Teva was now the subject of DOJ and

State AG investigations into generic drug prioe collusion, In fact, the DOJ had served Teva with

a subpoena on June 27,2016, and the CT AG on July 12,2016---just before Teva announced the

$20 billion Notes Offering on July 73,2016, although Defèndants did not disclose the subpoenas

at the   time. lJpon this news, the prioe of Teva's securities fell.

          125.    Despite the revelation of government inquiries and the continued unraveling of

'I'eva's ability to maintain elevated drug prices, Defendants doubled <lown, expressly denying the

irnpact of prioe hikes and reaffirming their inflated outlook fot 2016.

           126.   l)efendants' denials were deeply undermined when, on September 12,2016, the

GAO lìeport was issued. This report, based upon a review of Medicare dala, concluded that

generic clrug manufacturcrs including 'feva had macle hundreds of unexplained "extraordinary

price incre¿css"-dsfined as a palticular drug's price increasing over 100% within a 12-month

periocl-including numerous price increases of more than 1,000% in some cases, Teva owned

the rights to at least 40% of the drugs identified in the GAO Report as having exhibited an

extraordinary price increase between 2013 and 20I5.

           127.   F'urther,   a   er Bloomberg and other media outlets reported betwecn November   3



and November 10, 2016, that U.S. prosecutors could hand down criminal charges related to its

price-fixing investigation by year-end, resulting in sizeable liabilities for'Ieva and other generic

drug manufacturers, Defendants denied any wrongdoing, stating, "'feva is not aware of any facts

that would give rise to an exposure to the company with t'espect to these subpoenas."




                                                     44
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 49 of 129




        128. This denial was false. Only a month later, the CT AG would file its complaint
alleging clireot evidence that"I'eva had engaged in a conspiraoy to fix prices on multiple drugs,

               2,      Thc Markct Is Surprised Whcn Tcva Announccs Dismal Results for
                       the Third Quarfer of 2016 and C)lafsson Is Firecl

        129, On November 15,2016,            Teva reported thircl cluarler 2016 revenues below

oonsensus expectations, which Defendant Olafsson stated werc a result       of pricing pressures in
'leva's lJ.S, generics business. This news was a shock and a disappointment, given Defendants'

bullish comments on Teva's generics business and statements concerning price trends. On this

news, thc price of 'leva's securities dropped,

        130.   Less than three weeks later, on December 5, 2016, amid Teva's deteriorating

fìnancial condition, the Cornpany unexpectedly announced the "retirement" of Olafsson, the 48-

year-olcl head   of generics. IIis   replacement, Dipankar Bhattacharjee, took over effective

irnrnediately. In reality, Olafsson did not "retire." IIe was fired. The price of Teva's securities

dropped in response.

               3.      Teva's Profïts from Its Pricc trncrease PIan Further Dry [Jp, and
                       Vigodman and Deshch Arc Forced Out of thc Company

        131. On January 6,2017, Teva reduced its 2017 guidance, far below                    market

expectations, which Vigodman attributed      "to not being able to realize new launches in          .



'feva['s] legacy business," rather than pricing pressure as generic competition increased, V/ith

this reporl of reduced revenues, the price of Teva securities declined precipitously.

        I32.     Shorlly thereafter, on February 6, 2017, Teva announced the termination of

Vigodman, effective immediately and without a permanent replacement. The press release

further noted that Vigodman's service on Teva's Board had also ended. As with Olafsson,

investors questioned the timing and abruptness of Vigodman's departure, espeoially given that

no replacement was named, or, apparently, was under consideration at the        time, For example,

                                                 45
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 50 of 129




J.P Morgan, in a report dated February 6,2017, titled "CEO Transition Adds Further Uncerlainty

to Story," wrote that "we view today's update as a disappointment, with arguably the two most

important executives at T'cva stepping down (Erez and Siggi Olafsson, CllO of generics) within

the last several months at a tirne of signihcant fundamental challenges."

         133. On April 25, 2017, numerous media reports surfaced that Desheh would be
pushed out as CFO at Teva. These repofls were confirmed the next day when, in an            April   26,

2017 6-K,'leva announoed that Desheh would be stepping down as CFO in "the cclming

months" so that he ooulcl move on to "thc next phaso of [his] Çareet."

                4.      After Vigodman, Desheh and Olafsson Are Terminated, Teva Lowers
                        ()uidance, Cuts Dividcnds, and Takes a $6.1 Billion Charge Against
                        Earnings

         134, On June 8,2017 , Teva announced four new directors         to its Board in an attempt to

regain lost crcdibility. By June 21,2017, l)esheh hacl also left Teva. 'l-wo months later, with

Defendants l)esheh, Vigodman and Olafsson f.rnally gone and new board members in place,

'feva revised guidance down again, reduced its dividend, and took a $ì6,1 billion             charge.

Management admitted that these actions were triggered largely             by the same pricing       and

competitive market pressures that the Company-and especially former executives Vigodman,

Olafsson and Desheh-had previously denied would have any impact on Teva.

         135.    On August 3,2017, Teva announced lower-than-expected second quarter 2017

rcsults, including a net EPS loss for the quartel of $5,94, reduced guidance, and a $6.1 billion

goodwill impairment charge. As Dr. Yitzhak Peterburg, Vigodman's temporary replacement,

revealed during the Company's earnings call that day, the IIPS loss was primarily the result of

the $6.1 billion impairment charge, which was taken to reduce goodwill associated with Teva's

U.S. generics business, Fitch downgraded Teva's Issuer Default Rating to BBB- as a result, with

a   Negative Outlook, reasoning that, "Pricing pressure in the U.S. will weigh on operations in the


                                                 46
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 51 of 129



near term, requiring the company      to reduce debt both through FCF generation and          asset

divcstitures." As reported by 'l'he Strcet that day, "Teva Sharcs Are Getting Obliterated Again

Afler Vicious Investment Ilank I)owngrades."

       136. 'Ieva's August 3,2077 disclosure           was the direct result of Defendants' fraud.

Defendants had concealed from investors that Teva had generated revenues from price increases

that simply coulcl not be maintained over the long-term. As those sources of revenue began to

dry up, and competition seeped back into the generic drugs market, revenue substantially

declined, necessitating the massive write-down.

V.     DBFN,NDANTS'MATERIALMISIìEPRESBNTATIONSANDOMISSIONS

       137. During the Relevant Period, Defendants made a series of materially false or
misleading statements and omissions of material fact. These statements can be summarized         as


lollows:

       First, Defendants made materially fàlse and misleading statements and omissions
       regarding the reasons for the Company's sucoess in the generic <lrug market
       (including improved revenues, growth, profitability, costs, and margins).
       Specifically, Delendants falsely attribute the year-over-year ("YOY") changes in
       Teva's generio segment profit and U.S. generic revenues to sources other than
       'leva's price increases. Once Defendants spoke on these subjects, they had a duty
       to fully and accurately disclose the true source of Teva's revenues and prof,rts.

       Second, Defendants flatly and falsely denied that 'feva had engaged in price
       increases or received material benefit from price increases. Instead, Defendants
       falsely claimed that Teva only raised prices on a select few generic drugs due to
       market shoftages.

       Third, l)efendants falsely stated that the Company was immune to pricing
       pressuÍes when, in Iàct, it was unable to sustain its undisclosed strategy of taking
       substantial price increases,

       Fourth, Defendants falsely represented the level of completion that the Company
       faced in the generic drug market. In truth, Teva's undisclosed and inherently
       unsustainable strategy to take massive short term price increases depended in
       large parl on a lack of competition.




                                                  47
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 52 of 129




       Fifttt, Defendants failed to disclose their receipt of   subpoenas from the U,S.
       Department of Justice and the Connecticut Attorney General in oonnection with
       those agencies' irÌvestigations into price collusion in the generic pharmaceutical
       markets and the impact of such investigations on the Company.

        138.       l)efenclants also violafed Item 303 o1'SììC Regulation S-K and Item 5 of Form 20-

Iì by l'ailing to disclose the true reasons and factors contributing to the increases and decreases in

the Cornpany's revenues, i.e., the Company's undisclosed strategy and implementation of

massive price increases for generic drugs. 'Ihese increases were unsustainable given, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the IrDA, which would have the effect

of introducing new competitors in the market.

        A.         Defondants' Materially Falsc and Misleading Statcments and Omissions
                   During the lìelevant Pcriod

                   1.     February 6,2014

        139.       On Irebruary 6,2014, in a press release filed with the SEC on lìorm 6-K that was

signed by Defendant Altman, Teva reported the Company's 4Q13 and FY 2013 financial results.

In the same press release,'feva disclosed 4Q13 U,S, Generic Me<licine "revenues of $1.2 billion,

an increase   of   14Yo compared   to the fourth quarter of 2012." 'l'he press release reported that:

        The increase resulted mainly from the exclusive launches of niacin IlR, the generic
        vcrsion of Niaspan@, and temozolomide, the generic version of Temodar€Ð, in the
        third quafier of 2013, and launches of duloxetine, the generic version of
        Cymbalta@, and tobramycin, the generio version of Tobi@, in the fourth quafter of
        2013, as well as higher sales of budesonide inhalation, the generic version of
        Puhnicort@.

        140,        The statements set forth in T 139 above were materially false and misleading

and/or omitted material facts because they had the effect of concealing, and/or failed to disclose,

that, in truth, the Company's reported financial results and success in the generic drug market,

including improved revenues, were driven primarily by its undisclosed strategy to take massive



                                                     48
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 53 of 129



price increases, either on its own or in tandem with other manufacturers whom it purportedly

competcd with.    In fàct, during IrYl3'l'eva       generated more than $t222 rnillion through price

increases   alone. 'I'his strategy was inherently unsustainable in light of, arnong other    things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market. Llaving put into play the issue of the source of 'leva's revenue

growth and the subject of competition in the generic drug rnarkets, Defendants had a duty to

clisclose Teva's price inorease stratcgy ancl thc true source ol'its revenues.

                2.      February   l0,2lll4
        141.    On February 10, 2014, 'I'cva filed its 2013 Annual l{eport with the SEC on Form

20-Iì, which was signed by Defendant Desheh. The 2013 20-F disclosed a YOY decline in

generic profit of $400 million, or 20Yo, "primarily" attributed to "lower revenues and lower gross

profit, which were partially offset by a reduction in selling and marketing expenses," and "by

sales of higher profitability products in the tJnited States."

        142. 'Ihe statements     set forth in   I   141 above were matelially false and misleading

and/or omitted material facts because they had the effect of concealing, and/or failed to disclose,

that, in truth, the Company's reporled financial results in the generic drug market were driven

prirnarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufactulers whom it purportedly competed with. In fact, during FY13 Teva

generated more than 5222 mlllion through price increases alone. Without this inflated revenue,

Teva would have experienced a YOY decline in generic profit oî $622 million, or 550lo more

than what    it reported. This strategy was inherently unsustainable in light of, among         other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the IìDA, which would have the effect of


                                                     49
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 54 of 129




introducing new competitors in the market, Ilaving put into play the issue of the source of

'l'eva's revenue growth and the subject of oompetition in the generic drug markets, Defendants

had a duty to disclose J'eva's price increasc strategy and the true souroe of its revenues.

        143. The Company's         February 10, 2014 Form 20-F also described the "intense

competition," Teva faced in the U,S. generic market and its i'competitive pricing strategy," and

again toutecl its "competitive advantages":

       Competitive Landscape. In the United States, we are subject to intense
       competition in the generic drug market from other domestic and foreign generic
       drug manufacturers, brand-name pharmaceutioal companies through lifecycle
       management initiatives, authorized generics, existing brand equivalents and
       manufacturers of therapeutically similar drugs. Prioe competition fiom additional
       generic versions o1'the same product typically results in margin pressures. We
       believe that our primary competitive advantages are our ability to continually
       introduce new and complex generic ecluivalents for brand-name drug products on
       a timely basis, our quality and cost-effective production, our customer service and
       the bteadth of our product line. We believe we have a focused and competitive
       pricing strategy.

        144.   In the same Form 20-F, Teva discussed the primary factors driving growth in the

Company's Generic Medicines segment, and reported "intense oompetition                in the generic
market":

        Sales of generic pharmaceuticals have benefitted from increasing awareness and
        acceptance on the part of healthcare insurers and institutions, consumers,
        physicians ancl pharmacists globally. . . , 'fhese conditions also result in intense
        competition in the generic market, with generic companies competing for
        advantage based on pricing, time to market, reputation, custorner service and
        breadth of product line,

        145.   The statements set forth in    fl\ 143-44 above were materially false and misleading
and/or omitted material facts because Teva was not facing "intense competition" or operating in

a oompetitive environment, Nor was 'feva working to combat the purporled effects of
competition, which resulted in "margin pressures," through a "competitive pricing stlategy." In

truth, 'l-eva's undisclosed and inherently unsustainable strategy to take massive shod term price



                                                  50
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 55 of 129




increases depended in large part on a lack of competition, In fäct, during the Iìelevant Period,

'I'eva inoreased the prices       of multiple    drugs, many o1'which were done                in tandem with    its

purported oompetitors.     ,See   IlT 82-110.

                  3.      May 1,2014

       146. On May 1,2014, Teva filed a press release on a Iìorm 6-I( with the SEC, signed
by Defendant Desheh, reporting the Company's 1Q14 financial results. The Q1 2014 6-K

disclosed a YOY increase in generic profit of          $   I 17   million, or   37o/o,   which was "primarily" due

to: "fllligher revenues, higher gross profit and a reduction in selling and marketing expenses,"

with higher gross proht attributed to "the change in the composition of revenues in the United

States and Europe, mainly products launched during the                 first quarter of 2014 and in the United

States in the second half of 2013."

        147   .   'l'hat sarne day, 'f eva held its   IQ   l4   earrrings conferenoe call, in which Defendants

Vigodman and Desheh participated, During that call, Desheh stated:

       In generics, we experienoed signihcant growth in the Unites States market, with
       17o/o year-over-year growth, to a total of Íì1 billion with a number of new product
       launohes,

                                                       {<x{<


       The profîtability of our major business segrnent was driven by global generic,
       with 3lolo improvement resulting from the strong performance in the US market
       and higher prof,rtability in Europe, 31% improvement in the profit of the
       global gencric business, driven by the performance of the US market, improved
       the total generic share to 30% of total profit.

        148.      The statements set forth in      fl\ 146-47 above were materially            false and misleading

and/or omitted material facts. Defendants' statements touting the purported success of their

generics busincss had the efTect           of   concealing, and/or failed         to disclose, thal, in truth,   the

Company's reported financial results and success in the generic drug market, including improved

revenues? were driven      primarily by its undisclosed strategy to take massive price increases, either


                                                           51
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 56 of 129



on its own or in tandem with other manufacturers whom it purportedly competed witlt.          In   fact,

during FY13'l'eva generated more lhan8222 million through price increases alone and in FYl4,

generated more than $656    million from price increases, much of which had been reali'zed by May

2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing             of   generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market. Llaving put into play the issue of the source of Teva's rcvenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose l'eva's price increase strategy and the true source of its revenues.

                4,      .Iuly 31, 2014

        149. On July 31,2014, Teva filed its 2Q14 Form 6-K with the SEC, which was signed
by Desheh. The 2Ql4 Form 6-K reported that YOY increase in generic scgment profit of $156

million, or 4Io/o, "primarily" attributed to:

        lA] significant reduction in selling and marketing expenses, higher revenues and
        higher gross profit, fwhich was attributed to] , . . . higher revenues in the lJnited
        States, specifioally of products launohed during the first half of 2014 and in the
        second half of 2013, and higher revenues in Canada as well as ... the change in
        the composition of revenues in Europe.

        150, On July 31,2014,'ìleva held its 2Ql4 earnings conference call, on which
Vigodman, Desheh, and Olafsson participated, During the call, Desheh stated

        ['flhe improvement of operating profit and profrtability was driven by      strong
        results of our global generic business, with profit improvemenl of 4lo/o compared
        to last year. Launch of generic Xeloda in March and generic Lovaza this quarter
        in the US market . . . led to the better results,

        151.    'Ihe statements set forth in tlll 149-50 above were materially false and misleading

and/or omitted material facts. Defendants' statements touting the purported success of their

generics business had the effect      of   concealing, and/or failed   to disclose, that, in truth,   the




                                                   52
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 57 of 129




Company's reporled finanoial results and success in the generic drug market, inoluding improved

revenues, werc driven primarily by its undisclosed strategy to take massive price increases, either

on its owl ot' in tandem with other manufacturers whom it purportedly competed with, In fact,

during IìYl3 '['eva generated more than8222 million through prioe increases alone and in FY14,

generated more than $656    million from price increases, much of which had been realized by July

2014. T'his strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing                    of   generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which woulcl havc the effeet of introducir-rg

new competitors in the market. I.laving put into play the issue of the source of Teva's revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

<lisclose 'l'eva's price increase strategy and the true source of its revenues.

                5.      C)ctober 30,2014

        152. On Ootober        30, 2014, in a press release filed with the SEC on Form 6-K and

signed by Desheh,'leva reported its 3Q14 financial results,'fhe Q3 2014 6-K disclosecl a YOY

increase in generic profît of $160   million, or   40o/o,   "primarily" from:

        fFlligher gross profit and a signihcant reduction in selling and marketing
        expenses, [with higher gross profit attributed to,ì . , . lower expenses related to
        production, higher revenues lrom our API business as well as higher gross profit
        due to the change in thc composition of revenues.

        153.    On October 30,2014, 'leva held its 3Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated, During the call, Olafsson stated:

        I think overall, we have a good revenue off the new launches this year, fCapasida]
        the generic Lovaza omega 3 landl Entecavir. Entecavir was a new launch for us in
        the quarter, I thinl( all these three products have been very significant contributors
        to the year,

        (First alteration in original.)




                                                      53
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 58 of 129




          154.   On the same call, a UBS Securities analyst asked whether price increases in

"somc of fTeva'sl base business" irnpacted'l-eva's 3Q14 fînancial rcsults, Olafsson responcled:

"there's nevcr a price increase on the base business as whole. Like any other business, if there's

a   pricing opportunity that comes in the market, we look for that. But the base business itself has

been eroding overall because of the consolidation of the customers."

          155.   '['he statements set forth in lll] 152-54 above were materially false and misleading

ancl/or omitted material facts. l)efenclants' statements touting the purpolted success           of their

generics business hacl the effect      of concealing,   ancl/or failed   to disclose, that, in truth,   the


Cornpany's reporte<l hnancial results and success in the generic drug market, including imploved

revcnues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other rnanufacturers whom it purportedly competed with' In fact,

during FY13 'feva generated more than$222 rnillion through price increases alone and in FYl4,

generatecl more than $656      million from price increases, much of which had been realized by

October 2014. This strategy was inherently unsustainable            in light of, among other      things,

inclustry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effeot of introducing

new competitors i1 the market. Ilaving put into play the issue of the source of Teva's revenue

 growth and the subject of competition in the generio drug markets, Defendants had a duty to

 disclose Teva's price increase strategy and the true soutce of its revenues.

                  6,     I)ecember    ll,20l4
           156. On December         11,2014, Vigodman, Desheh, and Olafìsson participated in the

    Company's 2015 Business Outlook Meeting conference call, During the call, a Morgan Stanley

    analyst asked "with respect to Generic inventory in the channel, both for Teva an<l for other

    generic manufacturers,   I'm   assuming that wholesalers have been seeing extraordinary price


                                                   54
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 59 of 129




increases in recent years and has been buying inventory ahead of tremendous price increases."

Defendant OIafsson "disagree[ed]" stating

       So first let me correct, I have to disagrce that they have experienced tremendous
       price inerease. I thir-rk, overall, the pricing in the IJS of generies has been flat to a
       slight down, 'l'here has been a lot of press about price increases on individual
       molecules and this has been a hot political issue selecting a lèw products,


               -fhe
       157.           statements set forth in T1l 156 above were materially false and misleading

and/or omitted material facts. Defendants' statements that "overall, the pricing in the US of

generics has been flat to a slight down" had the effect <lf concealing, ancl/or failed to eliselosc,

that, in truth, the Company's reported financial results and success in the generic drug market,

including improved revenues, were driven primarily by its undisclosed strategy to take massive

price increases, either on its own or in tandem with other manufacturers whom it purportedly

competed with, In fact, during   lìY   13 and FY14 Teva generatecl more than $878      million through

prioe increases alone. 'Ihis strategy was inherently unsustainable iri light of, among other things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the IiDA, which would have the effect of introducing

new competitors in the market. Llaving put into play the issue of the source of Teva's revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva's price increase strategy and the true souroe of its revenues.

               7.       February 5 and February 9,2015

        158.   On February 5,2015, 'I'eva filed a press release with the SEC on Form 6-K,

signed by Defendant l)esheh, reporting the Company's 4Q14 and FY20l4 hnancial results.'fhe

Q4 2014 Press Release disclosed a YOY increase in generic profit of $47 million, or                9o/o,


attributed "primarily" to: "[O]ur Iower S&M expensc:s and lower R&D expenses."




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            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 60 of 129




       159.             On lìebruary 9,2015, Teva filed its 2014 Annual Iìeport with the SIIC on Iìorm

20-F, signccl by Desheh. 'fhe 2014 20-lì disclosecl a YOY incrcaso in generic prolìt ol $480

million,   <>r   29o/o, attributed   "mainly" to:

       "lower S&M expenses and higher gross profit . . . . fwhich was] mainly a result of
       higher revenues in the tJnitecl States, specifically of produots launched during 2014
       and in the second half of 2013, and higher revenues in Canada, which led to higher
       gross prohts, as well as higher gross profit from API sales to third palties.

           160.         'Il"re Company's 2014 20-F also reported that F'Y2014 LJ.S. Generic Medicine


revenues "amounted to $4.4            billion, up 6Yo compared to $4.2 billion in 2013," explaining that:

           The increase resulted mainly from the 2014 exclusive launch of capecitabine (the
           generic ecluivalent of Xeloda@), the launch <lf omega-3-acid ethyl esters (the
           generic equivalent of [,ovaza@) for which we were first to market, and the launch
           of raloxifene (the generic equivalent of Evista(Ð), as well as products that were
           sold in 2014that were not sold in 2013. These increases were partially offset by
           lower sales of the generic versions of Adderall IR (amphetamine salts IR),
           Pulmicort (budesonide inhalation) and Niaspan@ (niacin IìR).

           1   61   .   'fhe table below reflccts Teva's irnproved profits as reporled in 2014:




    Iìeported YOY Change in                                                  $ 160        s47          $480
                                              $117              $1 s6
    Generios Proht


           162,         The statements set forth in   ll1J   158-61 above were materially false and misleading

and/or omitted material facts. Defendants' statements touting the purported success of their

 generics business had the efïect             of concealing, and/or failed to disclose, that, in truth,     the


 Company's reported financial results and success in the generic drug market, including improved

 revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

 on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

 during Iìy14 Teva generated more than $656 million through price increases alone, representing

 a YOY increase in inflated revenues of more than $434 million, or nearly all of the reported




                                                               56
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 61 of 129



yOy   change in generics   profit. This   strategy was inherently unsustainable in light of, among

other things, industry, regulatory and govcrnmental scrutiny surrounding the pricing of
                                                                                        generic

                                                                                   have the effect
¿rugs, ancl the inevitable clearing of the A,NDA backlog at tl're FDA, which would

of intro¿ucing new competitors in the market. Flaving put into play the issue of the source     o1'



Teva's revenue growth and the subject of competition in the generic drug markets, Defenclants

had a duty to disclose Teva's price increase strategy and the true source   ofits   revenues.


        163. The Company's        February    9,   2015 Form 20-F also described the "intense

competition" 'f'eva faced in the lJ,S. generic drug market and its "competitive pricing sttategy,"

and again touted its "competitive advantages":

        In the United States, we are subject to intense competition in the generic drug
        market from jomestic and international generic drug manufacturers, brand-name
        pharmaceutical companies through lifecycle management initiatives, authorized
        generics, existing brànd equivalents ancl manufacturers of therapeutically similar
        ãrugr. price coirpetition from adclitional   generic versions of the same product
                                                 'We
        typically results in margin pressures.       believe that our primary competitive
        adìantages are our abiiity to continually introduce new and complex generic
        cquivalents for brand-name <lrug products on a timely basis, our quality, our
        customer service and the breadth of our product portfolio. We believe we have a
        focused ancl competitive pricing strategy.

         164. ln the 2014     Iìorm 20-F, Teva also described the "intense competition in the

 generic market," and the primary factors dliving growth in its Generic Medicines segment:

        Sales of generio rneclioines have benefittecl from increasing awareness and
        aoceptance on the part of healthcare insurers and institutions, consumels,
        physicians and pharmacists globally. These oonditions also result in intense
        competition in the generic market, with generic companies oompeting for
        advantage based on prioing, time to market, reputation, customet service and
        breadth of product line, We believe that these factors, together with an aging
        population, an increase in global spending on healthcare, economic pressure on
        govel'nments to provide léss expensive healthcare solutions, legislative and
        iegulatory reformi and a shift of clecision-making power to payors, will lead to
        ,o-ntinu"á expansion in the global generic market, as well as increased
        cornpetition in this market'

         165.    In the sarne Forrn 20-F, the Company also described the following Risk lìactor



                                                    57
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 62 of 129




       Our generic drugs face intense competition, Prices of genelic <lrugs typically
       <ler:line, often dramatically, especially as additional generic pharmaceutical
       companies (including low-cost generic producers based in China and india)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given procluet over time is affected by the number of new companies selling such
       product and the timing of their approvals.

        166. 'fhe statements           set forth in TT 163-65 above were materially false and misleading

ancl/or omittecl material facts because Teva was not facing "intense competition" or operating in

a competitive environment. Nor was Teva working to combat the purported effects of
competition, which resulted in "margin pressures," through a "competitive pricing strategy." In

truth, Teva's unclisclosecl    anc'l   inherently unsustainable strategy to take massive short term price

increases <lepenclecl in large part on a lack of competition,        in làct, during the Relevant Period,

Teva increasccl the prices of multiple drugs, many of which were done in tandem with its

purportecl competitors, See 1TI 82-110,

                8.       April30,2015

        167.    On April 30,2015, Teva filed its 1Q15 Form 6-K with the SEC, also signed by

Defendant Desheh.'fhe Company's 1Q15 Form 6-K reporled a YOY increase in generic profit

of $296 million, or   59o/o,   attributed "primarily" to:

        IFligherl gross profit and lower selling and marketing expenses as well as lower
        research ancl development expenses, . . . fwith] higher gross profit . . .mainly a
        result of the launch of esomeprazole in the United States during the clttarter and
        improved profitability of our European business.

        168. On April 30,2015,                Teva held its 1Q15 earnings conference call, on which

Vigodman, Desheh, ancl Olafsson participated. During the call, a Bank of America Merrill

Lynch analyst asked "how much more potential exists to increase generic segment margins

purely from organio gains in operational efficiency?" In response, Olafsson stated:

        I think therc is room for moro, but it takes a little longer time. V/hat plays into the
        operating profit in generics are probably three or four things.


                                                        58
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 63 of 129




      First of all, we have a significant improvement in our cost of goods' I think
                                                                                    the
      operation team in Teva hás done an outstanding job in lowering the cost
                                                                              of goods,
      irnproving the quality of the supply'

                                                         from that because a big portion of
      IAln¿ really, it's my business that has benefitecl
      our volume comes ,straight to the generic business' And really, we will
                                                                                  continue
      that over time, . . .

      I think the next thing is the portfolio offering, I think the more we have of
      exclusive oomplex gãnerics on offering, we have a higher margin on these
      pro¿ucts. it,s sirnple]So when we have more of the launches, it will drive
                                                                                 up the
      margin.
                                                                              good job in
      The third thing is the cost infrastructure. I think we have done a very
      the cost infrastructure. You can see that from our gross margin versus our
       operatingProlht'...
                                                   points we have taken over the last24
       fOlbviously, the big jumps of 1,000 basis
       months, you wouldñ'i t." that skill of improvement in the generics' ' ' '

       When you look at the top line glowth, you see that already in first-quarter,
                                                                                    we
       have improved our top line g.o*th. That mainly comes from our
                                                                         new launches
       but also our emphasis on the branded generic markets'

          l6().   The statements set forth in   T'11   167-68 above were materially false and misleacling

ancl/or omittecl material faots, l)efendants' statements touting the
                                                                     purported sucoess of their

                                                                                          profit' had
generics business, inclucling the "thrce or l'our things" that play into Teva's operating

                                                                                    reported hnancial
the effect of concealing, and/or failed to clisclose, that, in truth, the company's

                        in the generic drug market, including improved            revenues' were driven
results and success
                                                                                     own or in
primarily by its undisclosed strategy to take massive price increases, either on its

tanciem     with other manufacturers whom         it purportedly    competed   with' In fact, from þ-Yi3

                   T'eva generated more than $878 million through price increases
                                                                                  alone, and in
through     Fyl4
                                                                           which had been
Fy15 generated an additional Sl47 million through price increases, much of

 realízed   by April 2015. This strategy was inherently unsustainable in light of' among other
                                                                       pricing of generic drugs'
things, industry, regulatory and governmental scrutiny surrounding the
                                                                               the effect of
a'd the inevitabre creari'g of the ANDA backlog at the I.'DA, which would have


                                                         59
            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 64 of 129



                                                                      issue of the source of
introclucing new competitors in the market. Ilaving put into play the

'leva,s revenue growth ancl the subject of cornpetition in the generic drug rnarkets, Defcndants

ha<J a   ciuty to clisclose'Ieva's prìce increase strategy and the true source
                                                                               of its revenues'

                   9.     .Iune 10, 2015

           170. During a June 10, 2015 Goldman Sachs conference,              Vigodman spoke of "the

profound change in the generic business" sinoe 2014, stating:

           These "are things fthat] are not confined to numbers, but maybe [numbers
                                                                                          tell the
           story:l 16.7% ãpeìuting profit in 2013;21.9% operating         proht  in  2014,"   and
                                                                                      program[:'l
           attributing this suocess solely to "ft]he execution of the cost reduction
                                                                             2015," and a "[f]ull
           $600 million dollars of net savings,"2014; $500 million dollar,
           transformation of our operational network," claiming that "[w]e
                                                                                       closed or
           divested l1 plants during the last 12 months, we centralized
                                                                             procurement".' So
           everything túat was done clurin g2014 was basecl on organic moves
                                                                                 only' ' ' '"

           IyL      'fhe statements sct forlh in T 170 above were materially false and misleading

 ancllor omitted rnaterial facts, Vigodman's statements         touting the purported success of their

 generics business, including the "cost reduction program" ancl             "full   transl'ormation   of   our

                                                                      disclose, that, in truth' the
 operational network," had the effect of concealing, and/or failed to

                                                                      market, including imploved
 company,s reported financial results and success in the generic drug

                                                                     massive price increases' either
 revenues, were driven primarily by its undisclosed strategy to take

                                                                      competed with. in fact,
 on its own or in tandem with other manufacturers whom it purportedly
                                                                          price increases alone,
 lrom Iìyi 3 through Iìy14, Teva gencrated more than $878 million through

                   generated an additionalsT4T rnillion through price increases, much
                                                                                      of which had
 and in     Fyl5
 been realizecl by June     2015. 'I'his strategy was inherently unsustainable in light of, among other
                                                                      the pricing of generic drugs'
  things, industry, regulatory an<l governmental scrutiny surrounding

  ancl the inevitable clearing    of the ANDA backlog at the FDA, which would have the effect of

  introducing new competitors in the market' I{aving put into
                                                              play the issue of the source of




                                                       60
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 65 of 129



'l'eva's revenue growth and the subject of competition in the generic drug markets, Defendants

had a duty to disolose Teva's price inorcase strategy and the truc source of its revenues'

                10.     .Iuly 27, 2015

        172.    On July 27,2015, Teva hel<i a call to discuss the Company's Actavis acquisition.

On the July 27,2015 call, a BMO Capital analyst asked Olafsson and Vigodman about the

competitive landscape in the generic market, In response, Olafsson stated, "the U.S' generic

market is very competitive. . .      .   fThere's] a fielce competition on most of the portfolio, if not all

of the portfolio." Vigoilman added, "we promise to do everything in our power to take                    the


Company to be able        to continue the improvement that we have been witnessing here.                We

believe in competition, and we'll do what is needed in order to win all the markets we operate."

        173.    Tl're statemcnts set forth        in ]t I72 above were materially false and misleading

anci/or omitted material faots because Teva was not facing "fìerce competition" or operating in a

oompetitive environment. Nor was "the lJ.S, generic market                 [l   very competitive." In truth,

'l'eva's undisolosed ancl inherently unsustainable strategy to take massive short term price

increases depen<lecl   in large parl on a lack of competition. In fact, during the Relevant Period,
'l'eva increased the prices       of multiple     drugs, many   of which were done in tandem with         its

 purported competitors.    ,See   llT tl2-110,

                 11.      .Iuly 30' 2015

         114.    On July 30,2015, Teva filecl its 2Ql5 lrorm 6-K, which was signed by Defendant

 Desheh. l['eva's 2Ql5 6-K reported a YOY increase in generic profit of $193 million, ot               36Yo,


 attributed "primarily" to :

         "fFl]igher gross profit as well as lower selling and marketing expenses," while
         ciaiming that higher gross profit was "mainly a result of higher gross profit in the
         t;niterl Stut.r, due to the launches of aripiprazole in the second quarter of 2015
         and of esomeprazole cluring the first quarter of 2015, and lower production
         expenses."


                                                         61
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 66 of 129




         175.    The statements set fotth in    \   174 above were materially false and misleading

and/or omitted material facts. Defcndants' statements touting the purported success           of their

gcnerics business had the effect     of   concealing, and/or failecl   to disclose, that, in truth, the

Company's reported financial results and success in the generic drug market, including impr<lved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufaeturers whom it purportedly competed with. In fact,

liom IrYl3 through FYl4 Teva generated more than $878 million through price            increases alone,

ancl   in IìY15 generated an additionalsT4T rnillion through price increases, mueh of which        had

been realized by July 2015. T'his strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic dlugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect               of

introducing new colltpetitors in the market. Having put into play the issue of the source of

'leva's revenue growth    ancl the subject   of cornpetition in the generio drug markets, l)efendants

had a duty to disclose Teva's price increase strategy and the true source of its revenues.

                 12.     October 29,2015

          176.   On October 29,2015, 'feva filed its 3Q15 Form 6-K with the SEC, signed by
                                   -I'eva
Desheh, In the 3Q15 lrorm 6-K,              reported YOY increase in generic profit of $20 million, or

4Yo,   attibuted "primarily" to:

          "fl-]ower selling and marketing expenses, partially offset by lower gross profit,"
          which in turn was partially offset "by higher gross profit of our API business."

          177. On October 29,2015,           Vigodman, Desheh, and Olafsson participated         in   the

Company's 3Q15 ealnings conference call. During call, Vigodman denied that any of Teva's

margin improvements were attributable to price increases:

          We are very responsible , . . in everything that pertains to prices on the generic
          side and on the specialty side. And I would even put it another way, øll the


                                                     62
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 67 of 129




       ímprovements you see in our               ís not driven by price. It is driven hy
                                       - in margins
       qiuntities onri hy mix und by efficiency meusures. Not by price, 2014, 2015.
       And tltttt's ü very important message,

       178.      In light of recent legislative proposals that would penalize generic manufacturers

for raising prices abovc the rate of inflation, an analyst asked for managcment's thoughts on "the

potential limit to generic drug price increases." Olafsson minimized the extent and effect of
                                                        'feva was not dependent on such profit:
f'eva's practice of increasing prices ancl implied that

       In terms of the proposed legislation on pricing control on generios, first of all, we
       don't really knôw what it's going to be. Ilut let me give you examples. So Teva
       lras the laryest portfolio on the lJ.S. market. V/e are offering approximalely 275
       proclucts. Ãnd we have tolcl you that ovcrall on our whole portfolio, we have a
       decline in price.

        The tatk ubout the inflation in generics when you have a hig portþlio is reølly
        not there. 95Yo of our portfolio is declining due to the consolidation of the
        customers I talked about. There might be 5Yo of the portfolio that is either flat or
        increasing in pricing due to some abnormalities in the market.

        I7g.     'fhe statements set forth in 1I1l176-19 above were materially false and misleading

and/or omitted material facts, Defendants' statements hacl the eff'eot of concealing, and/or failed

to clisclose, that, in truth, the Company's reported lirnancial results and   success   in the generic

                                                                                              to
¿rug market, inclucling improvecl revenues, were driven primarily by its undisclosed strategy

 take massive price increases, either on its own or in tandem with other manufacturers
                                                                                       whom it

 purporteclly competed with. In fact, from FY13 through FY14,'feva generated more than $878

 million through price increases alone, and in FYl5 gcnerated an additional 5747 million through
                                                                   'l'his strategy was inherently
 price increases, much of which had been realized,by October 2015.

 unsustainable    in light of, among other things, industry, regulatory and governmental scrutiny

 surrounding the pricing of generic drugs, ancl the inevitable clearing of the ANDA
                                                                                    backlog at the

 FDA, which would have the effect of introducing new competitors in the market' Flaving
                                                                                        put

                                                                                           in the
 into play the issue of the source of Teva's revenue growth and the subject of competition



                                                   63
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 68 of 129




generic drug markcts, f)efendants hacl a duty to disclose TevA's price increase strategy and the

true source clf its revcnues.

        lB0,        On the same October29,20l5 call, Olafison was asked if he could "follow up . .   .




on what your pricing trencls are here in the US for the generio business." Olafsson responded:

        So on the pricing, I think pricing is obviously based on the competition. We have
        talked about thãt the ovèrall pricing tlend is down. What will change that
        obviously, there is different things. I think the consolidation of the customers
        affect pricing. i think the backlog, when the FDA releases the backlog of 3,000
        NDA        alTect pricing,

         lB1,       The statements set forth in 1l 1tì0 abovc were materially false and n'risleading

ancl/or omitted material facts because Teva's pricing was not "obviously based               on   the


cornpetition" and the Company was not operating in a oompetitive environment. In truth, Teva's

undisclose¿ an<l inherently unsustainable strategy to take massive shorl term
                                                                              price increases
                                                                                              'I'eva
 clependecl   i¡   large part on a lack of competition. In faot, during the Iìolevaut Period,

 increased the prices of multiple clrugs, many of which wete done in tandem with
                                                                                 its purporled

 competitors. S¿e TT 82-110.

                     13.     November 79,2015

          IgZ.       On November 19, 2015, during a Global I-lealthcare Conference call hosted by

 Jefferies [,]-c, in response to a question asking Desheh to "give us youf 20,000 foot view
                                                                                            on


 pricing" ancl askecl "ii]s it an issue. , . . wherc do you go on price," he stated:

         There is a lot of noise around pricing issues. Some of it's coming from politicians
         who are driving agencla, which is very, very legitimaLe' Our exposure to all tltese
         things is verY minimuL . , ,

          Generic prices? There are no - I believe that there are many examples for
          competitive environment, real competition, like we see in the generic market in
          the United States. . . .

          So it's a highly competitive environment with players coming from all over the
          worlcl, withã v.ry fiér"" price competition, The price of generic went down 5070
          over the past 10 Years, , , .


                                                     64
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 69 of 129




       And Tevø was not associated witlt any of tlrat. So we're playing a competitrve
       game, We're playing it fairly. Vy'e, of course, play by the book and by the rule.
       And we believe thut our exposure to any initintive on price reductíon in tlte
        United States ìs as ø small as anyhody can have, , .      .


       But we also saw that there is a floor to this. And the floor is a common economic
       and business model. And wherever prioes have come down to a level that it
       doesn't make sense, companies like us just pull out. We refuse to participate in
       tenders that generate no profrt. And we just pull out . , . . prices Bo up, because
       there is less supply over the demand.

        183, fhe statements           set forth in 1ì 182 above werc materially false and misleading

and/or omitted material facts because 'feva was not facing "fierce price competition" or

operating in a "highly competitive environment." In truth, Teva's undisclosed and inherently

unsustainable strategy to take massive short term price increases depended in large part on a lack

of competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of whioh were clone in tandem with its purported competitors. S¿¿ TT 82-110.

        184.      Similarly, I)esheh's statements set f'olth in   fl   182 above   -   including that Teva's

"exposule to all these things is very minimal," "we believe that our exposure to any initiativc on

price reduotion in thc Unitcd States is as a small as anybody can have," and o"l'eva was not

associatecl   with any of that"   -   were false and misleading because 'leva was highly dependent on

its strategy to implement massive shorl term price hikes. In fact, from F'Y13 through FYl5 Teva

generated more than $1,6 billion through price increases alone. Thus, any political initiative,

such as permitting Medicare to negotiate drug prices, could lead to drastic price decreases.

                  14.    January ll,2016

        185. At a January 11,2016 J,P. Morgan               Conference, a J.P, Morgan analyst asked

Olafsson, "McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see




                                                     65
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 70 of 129



generic pricing as we look out not just this year but in the future and how Teva is able to

navigate thc currcnt environment?" In answer to this question, Olafìson responded

       'fhc generic pricing we need to keep in rnind there's a lot of talk about inflations
                            -
       in generic pricing. Ilut what we see is there's - overall on our total portftllio of
       270 products, there is a slight decrease in pricing. It's low single digit, but year on
       year we see a low single-digit decrease because on 95% of our portþlio, we
       experience príce decline. And tlten on 5%o, we míglrl he flat or ø slight íncreuse,
       So, overall, we see that in the business.

       f'here's a lot of headlines of examples of big price increases in generics, But when
       you are a company of the size of Teva and you have the portfolio that we have
       today - as I said,270 products for the whole of the portfolio - there is a decline.

        1tì6.   The statements set forth in T 185 above were materially false and misleading

and/or omitted material fäcts. Olaffson's statement that "on95o/o of our portfolio, we experience

price decline" had the effect     of   concealing, and/or failed     to    disclose, that,   in truth,   the

Company's reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fuct,

from Iì'Y13 through lìY15 T'eva generated more than $1.6 billion through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory

and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing

o1'the ANDA backlog at the IìDA, which would have the effect of introducing new competitors

in the market, Iìaving put into play the issue of the source of Teva's revenue growth and                the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva's

prioe increase strategy and the true source of its revenues.

                15.    February ll,2016

        187.    On February 11,2016, Teva filed with the SEC a press release reporting the

Company's l'ourth quarler 2015 ("Q4 2015") and          full   year 2015   ("FY 2015-) hnancial results



                                                   66
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 71 of 129



("Q4 2015 Press Release"). The Q4 2015 Press Iìelease disclosed a YOY increase in generic

prolit of $7 million, or lo/o, attributed "primarily" to: "['f]he reduction in S&M          expenses,

partially offset" by, in part, "lower sales of budesonide (Pulmicort@) in tho United States."

        188. Also on February 1l,2016,Teva filed its Annual           l{eport with the SEC on Iìorm

20-lì, signed by Desheh, Vigodman and Desheh also signed the consolidated balance sheet. The

2015 lrorm 20-lì a YOY increase in generic profit of $500 million, or24o/o, attributed "primarily"

to "lower S&M expenses and higher gross prof,rt," which was "mainly a result of higher revenues

1ì'om new products launched in the United States during 2015,lower other production expenses

and higher gross    profit lrom API   sales to   third parties."

        1   89.   The table below reflects 'feva's improved profits as reported in 201 5:




   Iìeported YOY Change in
   (ienerics Profit                      s296             $ 193     $20           $z            $s 16


        190.      On February 11,2016, Vigodman, Desheh, and Olafsson participated in Teva's

4Q15 and IìY2015 earnings call. On the same call, Olafsson stated:

        2015 was a very good year for Teva (ienerics. Thanks to our strong performanoe
        of the base business and good new products launches, we delivered great results
        in the US and in major markets globally. We continued improving the operating
        proht of the generic business, coming from $1.68 billion operating proht in 2013,
        or 17o/o of revenue, to $2,68 billion operating profit in 2015, or 28o/o of revenue.
        This is fi I billion improvement in operating profit over 24 months period.

        So how did we do this? Not by pricing but by portfolio mix, new products, and
        efhciency measures.

        191. During the February 11,2016 earnings conference call, Olafsson made the
following statements regarding pricing in the generic segment:

        Briefly, on pricing. As I've previously stated, we and the generic industry overall
        don't see price inflation of generics as it sometimes is portrayed in the media, On




                                                        67
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 72 of 129



          the contrary, for 2015, we saw mid-single-digit price decline for the overall
          business.

          In the U.S., our lalgest market, we saw approximately 4% price erosion. . .   ,




          Looking forward, the conjunction of price erosion with the mix changes, focus on
          cost structure, and the new product launches, we continue to drive our business
          growtlr, both top line and bottom line. We expect to see the same in 2016.
          Nothing today points to a significant change in the generic pricing environment.

           192.   On the same call, a Guggenheim Securities, LLC analyst asked Olafsson about

pricing pressures discussed by Teva's competitors during the quarter, In response, Olafsson

denied that there was any pricing pressure:

          As I rnentioned in the beginning, we didn't see anything change in I'ourth quarler.
          We saw approximately 4o/o pricing pressure or price decline in the US business
          over 2015 flat over the year. Some of our competitors have seen more pressure. I
          think overall, it might have to do with some dosage form differences. But also I
          think we have been right ir"r adjusting thc business,

           193. 'I'he Investor   Slides presented during the February 11,2016 eanings conference

call contained the followir-rg statements attributed to Olafsson: "Do not see the inflationary

pricing discussed in the rnedia[..] Also do not see the sharp drop in plices other competitors have

seen     recentlyf.] Mid-single digit increases in 2015[.] Expect 2016 to maintain the current

trend."

           194. The statements     set forth in   TI 187-93 above were materially false and misleading
and/or omitted material facts. Defendants' statements (i) touting the purported success of their

gencrics business and (ii) denying any knowledge of price inflation, had the effect of concealing,

and/or failed to disolose, that, in truth, the Company's reported financial results and success in

the generio drug market, including improved revenues, were driven primarily by its undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom it purportedly competed with. In fact, from FYl3 through FYl5 Teva generated more than

$iì1,6   billion through price increases alone, Moreover, during FY15 Teva generated more than


                                                      68
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 73 of 129




$747 rnillion through price increases alone, representing a YOY increase in inflated revenues of

nore than   $ì91   million, or nearly 20% ol'the reported YOY change in generics      prolit.    'I'his

strategy was inherently unsustainable in light of, among othcr things, industry, regulatory and

govemmental scrutiny surrounding the pricing of generic drugs, and the inevitable   ole   aring of the

ANDA backlog at the FDA, which would havc the effect of introducing new competitors in the

market. I-laving put into play the issue of the source of Teva's revenue growth and the subject of

competition in the generic drug markets, l)efendants had a duty to disolose Teva's price increase

stratcgy and the true souroe ofits rovenues.

       195, In the 2015 20-F filed on Iìebruary 11,2016,'feva             described the "intense

competition" the Cornpany faced       in the U,S. generic market and its "competitive pricing
strategy," as well as its "competitive advantagos":

       In the United States, we are subject to intense competition in the generic drug
       market f¡om domestic and international generic drug manufacturers, brand-name
       pharmaceutical companies through lifccycle management initiatives, authorized
       generics, existing brand equivalcnts and manufacturers of therapeutically similar
       drugs. Price competition from additional generic versions of the same product
       typically results in margin pressures. V/e believe that our prirnary competitive
       advantages are our ability to continually introduce new and complex generic
       equivalents for brand-name drug products on a timely basis, our quality, our
                                                                  'We
       customer service and the breadth of our product portfolio,     believe we have a
       focused and competitive pricing strategy.

        196.   The 2015 Form 20-lì also clescribed the "intense c<lmpetition        in the generic
market" and the primary factors driving growth in Teva's Generio Medicines segment

       Sales of generic medicines have benehtted lrom increasing awareness and
       acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. , , . These conditions also result in intense
       competition in the generic market, with generic companies competing for
       advantage based on plicing, time to market, reputation, customet service and
       breadth of product line. We believe that these factors, together with an aging
       population, an increase in global spending on healthcare, economic pressure on
       governments to provide less expensive healthcare solutions, legislative and
       r"egulatory reforms and a shift of decision-making power to payors, will lea<l to



                                                 69
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 74 of 129



        continucd expansion       in the global      generic market, as    well as     increased
        competition in this market.

        197.      1'he same Form 20-lì also described the following   Iìisk lìactor:

        Our generio drugs làce intense competition, Prices of generic drugs typically
        decline, ol1en dramatically, espeoially as additional generic pharmaceutical
        companies (including low-cost generic producers bascd in China and India)
        receive approvals and enter the market for a given product and competition
        intensifìes. Consequently, our ability to sustain our sales and profitability on any
        given product over time is aflected by the number of new companies selling such
        product and the timing of their approvals.

        19tì.     During the lì'ebruary   ll,20l6   earnings conference call, a Susquehanna Financial

Group analyst also asked Olafsson about the Company's relationships with customers and what

impact the Actavis deal was having on pricing, Olafsson responded

        We will pride ourselves of the service level of the high quality of the product.
        But at the end of the day, there is a fierce competition in the market. Over 200
        generic companies, and really there is no bundling or anything like that, that can
        go on in the market. So overall, same as without the deal. Ilut we see the
        opportunity going forward based on the huge pipeline that we have.

         I99.     During the same call, Olafsson also stated that the lJ.S. generics business had

been "stable over the year" and "ftlhere is a lot of competition in the [JS, there is no question

about   it.    As you well know, there are over 200 generic competitors in the market and          the

competition is fìerce," Olafsson claimed Teva's competitive advantage was having "the largest

fdrug] pipeline" and "an extremely good supply chain."

         200.     The statements set forth in TT 195-99 above were materially false and misleading

and/or omitted material facts because Teva was not facing "intense competitioyt," "à lot of

competition in the lJS," or operating in a competitive environment. Nor was Teva working to

combat the purported effects of competition, whioh resulted in "margin pressures," through a

"competitive prioing strategy."       In truth, 'I'eva's   undisclosed and inherently unsustainable

strategy      to take massive short term price increases depended in large parl on a lack of


                                                     70
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 75 of 129



competition. In fact, during the Relevant Period, Teva increased the prices of multiple drugs,

many of which were done in tandem with its purported competitors, 5'¿e IT 82-110.

               16.       March 8,2016

       201.    On March 8,2016, cluring a Cowen & Company Ilealthcare Conlèrence call,

0lafsson stated:

       So we came out in our fourth quarter results, ancl told the market that we had seen
       approximately 4Yo price decline in the IJS market in 2015. , . ,




       I think overøll the pricing hasn't cltanged tltøt muclt There was a lot of talk
       about inflation in generic prioing. IJut we never saw that, That was an individual
       molecule basis, they used example of products that really were not generic
       proclucts, even though they were off-patent, and in an environment where there
       was an inflation never really happened in the generic business. And there has
       been a decline there. . .
                               .




       So as of today, I came out with 4Yo lprice erosion] in 2015. As of today, I don't
       see any big changes in the pricing environment. It's relatively stable, 4Yoís worse
       than maybe two years ago. But it's similar to what we saw in 2014. But overall,
       these are the three things that affect the price. And there's nothing on the horizon
       that should affect the pricing as of today.

       202.    During the same conference, Olafsson also discussed Teva's profitability in its

generic segment:

       In terms of growing the profitability, from 2013 to 2015, we grew the operating
       profit of the generic business from 17o/oin2013, and we exited forthe full year of
       2015 wc were at 28J%. So it's about 1,100 basis points we improved the
       profitability on approximately $10 billion in revenue, So it was a significant
       improvement over a 24-month period. Part of that was due to the improvement in
       our cost of goods sold, very important in consolidation of plants and looking for
       the rnoney there. But also part of it was due to portfolio selection and the cost
       infrastructure,

       203.    The statements set forth in TT 201-02 above were materially false and misleading

and/or omitted material facts, Olafsson's statements had the effect of concealing, and/or failed to

disclose, that, in truth, the Company's reported financial results and success in the generic drug

market, including improved revenues> were driven primarily by its undisclosed strategy to take




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           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 76 of 129



massive price increases, either on its own or        in tandem with other manufacturers whom it
purportcdly competed with. In Iàct, fiom     lìYl3    through FYl5'I'eva generated more tlian $i1.6

billion through price increases alone. 'fhis strategy was inherently unsustainable in light of,

among other things, industry, regulatory ancl governmental scrutiny surrounding the prioing of

generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have

the effect of introducing new competitors in the market, Fiaving put into play the issue of the

source    of Teva's revenue growth and the subject of competition in the generic drug markets,

I)efendants had a duty      to disclose Teva's price increase strategy and the true source of     its

revenues.

                  17.    May 9,2016

          204.    On May 9,2016, 'Ieva filcd its 1Q16 Form 6-K with the SEC, which was signed

by Desheh. Vigodman and Desheh both signed the consolidated balance sheet in the 1Q16 Folm

6-K. In the 1Q16 Form 6-K, Teva reported a YOY decline in generic profìt of $215 million, or

27o/o,   attibuted "primarily" to:

          [Llower gross prof,rt, as well as higher R&D expenses," while lower gross profit
          was "mainly a result of lower sales of high gross profit products in the United
          States, higher prociuction expenses and lower gross profit in our European
          markets.

          205.    On May 9,2016, Vigodrnan, Desheh, and Olafsson participated in Teva's 1Q16

earnings conference     call. During the call, Olafsson explained away the decline in generic profit

margin by blarning it on issues other than pricing:

          When compared to first quarter 2015, the operating profrt declined by 360 basis
          points, fully explained by the exclusive launch of generic Nexium, esomeprazole,
          in the first quarter 201[5]. Excluding the exclusivity period of esomepraz,ole ín
          first quarter, the profit margin of the generic segment was24.4o/o.

          206,    During the call, Olafsson also discussed pricing on the May 9, 2016 earnings call:




                                                  72
 Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 77 of 129



'the global generic drug market has no shortage of manufacturels supplying vital
medicines to patients in the US and around the world. . . . As you know, in
lìebruary, during tho fourth-quarter reporling season, several industry participants
referenced a tougher pricing environment than what they have experienced in
previous years, as a reason for the softness in their respective generic businesscs.
Now, we fast-forward to April and May, to a new reporting season, and we find
the number of companies citing a tougher pricing environment or price deflation
seems to have grown at an almost incredible rate. The referencing of generic drug
price deflation has not been limited to the manufacturers, but is also being cited
by those on the purchasing and distribution side, leaving many to wonder about
what is the real opporlunity in generics,

As always, I will do my best to provide you with as much color as possible on
what 'lleva is experiencing, in regards to pricing and volume; and more
importantly, where we are headed. 'fhroughout the ongoing debate this year
about the level of generic price erosion in the United States, 'feva has been very
consistent and clear with investors. Teva has not seen any fundamental change or
worsening in the pricing environment - something we have been consistent about
telling investors all year. 'I'eva experienced approximately 4o/o price erosion in
the United States last year, and our guidance for this year is that it will remain the
same. In fact, Allelgan, and Mylan, two other companies with broad and
diversified porlfolios and high quality products, have also reported similar trends.
From where I sit today, there is nothing that changes my mind about that,
Nothing has happened in the last two quarters that has changed the pricing
environment. What this boils down to is each individual company's business
model. . ,   .




207.    During the same call, Olafsson stated

l.Wlhy is Teva different? Why is our performance better than most generic
companies? Why are other companies continuing to say, there is pricing pressure
greater than what we at Teva are seeing?

I see three reasons: first, the companies with older porlfolio seemed to complain
much more loudly. What I mean by that is, that if you look carefully at some
companies with older portfolios, they will tell you that the pricing environment is
worsening, But this is not an environment. This is purely a reflection of their
portfolios, some of which are concentrated in one, or very few, therapeutic classes
that are experiencing normal competition. This takes me to the second factor,
new product launches. When companies don't have new product launches, and
the business is declining, they tend to talk about the market more than anything
else. This is not a reflection of the environment, but rather again, a reflection on a
company's portfolio,

The third factor is companies that are trying to grow their market share. Some
companies are aggressive in going after market share for a variety of reasons,
including to utilize excess capacity with relatively cheap volume. But in order to


                                           IJ
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 78 of 129



       do that, you'll have to drive down price. ISuying new market share in price will
       cost you on the bottom line, We, on the other hand, are seeing our volumes go
       clown, deliberately, net-net approximately lYo à year, because we think that is
       better for our business, and we would rather reduce capacity, than fill it with less
       profitable products. So if you look at this slide, you'll see that over the past lew
       years, we discontinued 70 products. At the same time, we introduoed 68 new
       ones in the US.

       208.    Duling the May 9,2076 earnings call, Olafsson also offered the supposed reasons

why Teva's generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure

       Vy'e have taken a significant slep to transform ouÍ generic business, solidify our
       foundation, increase our profitability, and to better position us to generate
       sustainable Iong-term growth. f'hese many steps have included portfolio
       optimization, strengthening our capabilities in R&D, and manufacturing of
       complex products, regaining a leacling position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much,
       much more. These are the very capabilities that companies must possess in order
       to thrive at the global level. We have created a unique and differentiated platform,
       positioned to extract significant value in the global growing generic space.

       209.    'l-he Investor Slides that the Company presented during the May   9,2016 earnings

conference call contained the following statement, attributed to Olafsson: "What has changed in

the tJS pricing environment since Q4 2015? The short answer is..,nothing. We still expect4Yo

price erosion on our podfolio." The Investor Slides also contained the statement: "There is no

ohange in the pricing environment   [.,] It all comes down to each company's business model , .       ,




V/hy is Teva generics performance better than most Gx companies? Portfolio optimization         ,.   ,.


[and] [n]ew productf]."

       210.    The statements set forth in T11204-09 above were materially false and misleading

and/or omitted material fäcts, Defendants' statements had the effect of conoealing, and/or failed

to disclose, that, in truth, the Company's reported financial results, including the YOY decline in

generic prolìts, were driven primarily by the unsustainability of 'I'eva's undisclosed stlategy to

take massive price increases, either on its own or in tandcm with other manufacturers whom it


                                                74
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 79 of 129



purportedly competecl with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governrnental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the    lìl)4, which would   have the effect of

introducing new competitors in the market. In fact, by this time, the risk from l)efendants'

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that ligure represented a decline of more than $200 million,

or nearly 3070, from FY15. Much of this decline would have been known to Teva by May 2016.

Ilaving put into play the issue of the source of Teva's revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva's price increase

strategy and the source ofits revenue.

               18.     May 10,2016

       2IL     On May I0,2016, on a Bank of America Merrill Lynch Ilealthcare Confcrence

call, Olafsson discussed the Company's 1Q16 financial results and the pricing environment in

the generics market:

       I mentioned on that call, and want to reemphasize     here, there's nothing   I   have
        seen which shows a worsening pricing environment. We saw a price erosion in
       the US last year of approxirnately 4o/o. We guided the market that we would see
       the same pricing of approximately deflation of 4Yo in 2016. And where I sit
       today, there is no change to that.

        I know many of the competitors in the generic    space, and in the specialty space,
        are talking about a lot of pricing pressure, but it shouldn't be. There is nothing
        that has happened over the last two quarters which has changed fundamental the
        market, And I feel that we are blaming the environment on individual company's
        business model more than anything else because as long as you have the right
        portfolio, you have had the right investment in R&D, you really have a strong
        opportunity.

        212.   During the call, Olafsson also stated:

        You have to keep in mind that in the US generic space there's approximately 230
        oompetitors. Two hundred and thilty generic companies in the US that are
        ofïering products. So the competition is heavy, So if you show that you grow


                                                 l5
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 80 of 129



       3Yo,let's say 3Yo volume year-on-year,thal will cost you on pricing. 'fhere's no
       question about it. So that's why I'm highlighting that, in'1-eva world, we assume
       approximalcly lo/o dccline in the volume to maintain the prioing. So it's not tl-rat
       we are the only good house in the neighborhood, and I don't think this is a bad
       neighborhood, I think it's a good neighborhood. It's unique. To maintain your
       business you need to think about the future. And I think that's at the end of the
       day what differentiates us.

       213.     'l'he statements set forth in
                                              TT 211-12 above were materially false and misleading

and/or ornitted material facts. Olaffson's staternent that nothing had changed in the pricing

environment in which Teva operated had the effect of concealing, and/or failed to disclose, that,

in truth, the Company's reported financial results were driven primarily by its           undisclosed

strategy to take massive prioe incleases, either on its own or in tandem with other manufacturers

whom   it   purportedly competed   with. 'fhis strategy was inherently unsustainable in light     of,

among other things, industry, regulatory and governmental scrutiny surrounding the pricing of

generio drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have

the effect of introducing new competitors in the market. In fäct, by this time, the risk from

Delèndants' undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY I 6, that hgure represented a decline of more than

$200 million, or nearly 30o/o, from lìY   1   5. Much of this decline would have   been known to Teva

by May 2016. Having put into play the issue of the source of Teva's revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva's

price increase strategy and the true source ofits revenues.

                19.    Junc 3 and 8,2016

       214.     On June 3,2016, during a Sanford C. Bernstein Strategic Decisions Conference

call, Vigodman made the following statement regalding pricing:

       fW]e are very consistent. Our message was conveyed, and we will continue to
       convey. What we see is a 4o/o to 5o/o erosion, That's what we see, That's not
       something which is different from what we said during 2015. By the way, we


                                                     76
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 81 of 129



       continue saying it in 2016. I think our results in Ql demonstrated that. And with
       basically our operating profits towards one of the (inaudible) in our history on
       kind of a naked basis, so generic business in the US without launches. So, in this
       respect, we are very continuing with our messages, and that's what we continue
       seeing.

       215.      During a June 8, 2016 Goldman Sachs Ilealthcare Conference call, Olafìsson

again discussed pricing:

       When we signed that fActavis.l deal in July, we talked about 4o/o price erosion in
       the US generic business, And we are still talking about the same number, what
       we see in the base business. And we can talk about that later, how we look at it
       versus others. lìut really the fundamental -- so what has changed in the market is
       that currently the rnultiples lbr generic companies, Mylan and us, has been
       dragged down, I think, due to other companies in the market partly, due to
       Valeant, due to llndo, due to comments that were made in Perrigo and
       Mallinckrodt about the generic business, which has affected the whole industry.

       216.      The statements set forth in TT 214-15 above were materially false and misleading

and/or omitted material facts, Defendants' statements that nothing had changed in the pricing

environment in which Teva operated had the effect of concealing, audlor failed to disclose , thaL,

in truth, the Company's reported financial results were driven primarily by its       undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom   it   purportedly competed   with. 'Ihis strategy was inherently unsustainable in light of,
among other things, industry, regulatory and governmental scrutiny surrounding the pricing of

generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have

the effect of introducing new competitors in the market. In fact, by this time, the risk fiom

Defendants' undisclosed strategy had begun to materialize. While T'eva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30ol0, from FY15. Much of this decline would have been known to'feva

by June 2016. IJaving put into play the issue of the source of Teva's revenue growth and the




                                                 77
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 82 of 129



subject of competition in the generic drug rnarkets, Defendants had a duty to disclose 'leva's

price incrcase strategy and the true source of its revenues.

               20.     .Iuly 13, 2016

       217. In a July 13,2016 call to announoe                 the acceleration of 'l'eva's dcbt olfbring,

including the Notes Offering, to the end of July, a Citigroup analyst asked: "fC]an you comment

on the generics pricing assumptions that you have baked into your forecast? Following on that,

Siggi, maybe you could just comment on the generics pricing environment, more broadly, that

you are currently seeing in the marketplace." In response, Olafsson indicated that Tcva had still

not seen any change in the pricing environment, and that this stable pricing was baked into the

assumptions underlying Teva's guidance and projections:

       Our assumption and what we assume is basically approximately 5Yo organic
       growth that we see year on year,.   .   .




       In terms of generic pricing in the second quarter, we saw no change in the pricing.
       We saw a stable environment, as we talked about, from hrst quarter into second
       c¡uafter. Obviously, in second quarter, as we have highlighted to investors, there
       was no significant new launches that we saw in 'leva, which obviously impacts
       the overall generic numbers. The pricing has remained stable.. .       ,




                                                   t(,t(   t

       Our assumption for the rest of the year is basically assuming the same pricing
       erosion. It is difhcult to say; but as I'm sitting here today, with the information I
       have in hand, we are assuming and now forecasting for the guidance fol the
       remainder of the year same pricing assumption as wc have had for the hrst half of
       the year.

        218.   'l'he statements set forth in n 217 above were materially false and misleading

and/or omitted material far:ts. Olafsson's statement that nothing had changed in the pricing

environment in which 'feva operated had the effect of concealing, and/or failed to disclose, that,

in truth, the Company's reported financial results were driven primarily by its               undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers




                                                    78
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 83 of 129




whom     it   purportedly competed   with. 'fhis strategy was inherently unsustainable in light      of,

atnong other things, industry, regulatory and governmental sorutiny surrouncling the pricing of

generic drugs, and the inevitable clearing of the A.NDA backlog at thc     lìI)4, which would have

the effect of introducing new competitors in the market. In fact, by this time, the risk from

Defendants' undisolosed strategy had begun to materialize. 'ù/hile Teva generated more than

fù541   million through price increases during FY16, that figure represented   a decline   of more than

$200 rnillion, or nearly 30olo, from FYl5. Much of this decline would have been known to Teva

by July 2016. Llaving put into play the issue of the source of Teva's revenlre growth ancl the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva's

ptice increase strategy and the true source of its revenues.

                  21.    August 4,2016

          219.    On August 4,2016, in a press release filed with the SEC on F-orm 6-K and signed

by Desheh, Tcva announced its 2Q16 hnancial results. 'l'hat same day, 'feva also filed with the

SEC its 2Ql6 Form 6-K, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 2Ql6 Form 6-K. The Company's 2Q16 6-K reportecl a YOY decline in

generic profit of $115 million, or 160/o, attributed "primarily" to:

          "fL]ower gross profit," which in turn was "mainly a result of loss of exclusivity
          on certain products as well as increased competition on other products in the
          United States ... and liigher production expenses..."

          220, On August 4, 2016, Vigodman,             Desheh, and Olafsson participated     in   Teva's

2Q16 earnings conference call. On the call, Desheh attributed the poor performance of the

Company's generic segment to factors other than its inability to maintain its long undisclosed

price increases:

          Revenues of our US generics business was impacteci by competition to our
          Aripiprazole, Iisomeprazole, and Budesonide which werethe major drivers of our
          generic business in the US in the second quarter last year.


                                                   79
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 84 of 129



       221.    On the same oall, in response to a question about "pricing stability" in light of

Tcva's lJ.S. gcncric rcvenucs coming in "a littlc lower than expectations," Olafìsson stated

       I think, hrst of all, it's the old story in the generic business, and we have talked
       about it many times. It's the shorl-term volatility, but a long-term profitability that
       we are seeing in the generic business. I think on the US side, clearly the impact
       we highlighted, the impact of having a competition on Aripiprazole,
       Esomeprazole, and tsudesonide was very, very significant. I think overall, the
       underlying business did well. . . .

       In terms of the pricing, the pricing is stable to the same degree as before. We saw
       approximately in the US, 4Yo pÅce erosion in the business, in a way very stable
       fiom the f,rrst quarter.

       222.    Later in the call, Olafsson reiterated that "overail the business itself is fairly

stable. As I mentioncd in the beginning, we are seeing exactly the 4o/o prioe erosion....4Yo price

erosion in the US,"

       223.    On the same call, a J.P. Morgan analyst asked about "price opporlunities" on the

combined Teva-Actavisl generic portfolio. In response, Olafsson stated:

        On the prioing, as you know, and we know that, the size really doesn't affect the
        pricing, And I have a strong feeling when you have over 200 competitors, size
        has nothing to do about pricing. I think the pricing oomes with shortages in the
        market. If you have an exclusive product, if there's some kind of dysfunction in
        the market, there might be a small pricing opportunity that usually comes in and
        comes out. But overall, the size, and being a cornbined company doesn't play into
        that. I feel quite strongly about that.

        224.   f'he statements set forth in flf|219-23 above were materially false and misleading

and/or omitted material facts. Defendants' statements (i) citing non-price factors for the decline

in generic revenue, and (ii) that nothing had changed in the pricing environment in which Teva

operated had the effect   of concealing, and/or failed to disclose, that, in truth, the Company's

reporled financial results, including the YOY decline in generic profits, were driven primarily by

its undisolosed strategy to take massive price increases, either on its own or in tandem with other

manufaoturers whom     it purportedly competed with. 'fhis strategy was inherently unsustainable



                                                  80
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 85 of 129




in light of, arnong other things, industry, regulatory and governmental scrutiny surrounding     the

pricing of generic drugs, and the inevitable clearing of'the ANDA backlog at the IIDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the

risk frorn Defendants' undisclosed strategy had begun to materialize. While Teva generated more

than $541 million through price increases during FYl6, thatfigure represented adecline of more

than $200 million, or nearly 300/o, lrom FY15, Much of this decline would have been known to

Teva by August   2016. I{aving put into play the issue of the source of Teva's      revenue growth

and the subject of oompetition in the generic drug markets, Defendants hacl a cluty to clisclosc

'leva's price increase strategy and the true source of its revenues. Moreover, Olaffson's

suggestion that pricing decisions were driven by organic market factors   -   including that "pricing

oomes   with shortages in the market"    -   was false and misleading in light of the Company's

undisclosed practice of implementing massive short term price increases to boost revenue.

        225.   During the August 4,2016 earnings conference call, Olafsson also stated that

"competiti<ln is fierce" in the U.S. generics market and "[t]here's no question about it,"

        226.   'I'he statements set lorlh in 225 above were materially false and misleading
                                            n

and/or omitted material facts because Teva was not lacing "flerce" competition, or operating in a

con'rpetitive environment. In truth, 'feva's undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on alack of competition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were

done in tandem with its purporled competitors. See     I'll 82-1i0.

               22.     Septcmber 7 and 9,2016

        227.   On September 7, 2016, during a Wells Fargo Securities Llealthoare Conference

call, Dcsheh stated:




                                                  81
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 86 of 129




       Now, with talking about prices of the base business, produot that we've been
       selling more than two years already, the prices are very stable there. Might even
       go up a little bit here and there, depending on demand and supply, and demand
       and availability of competing products in the market, but you don't see -- there
       you clon't see the erosion. Where we see erosion is that you know, you have six
       months exclusivity, you start with the high price, and then obviously more
       competitors go into the market and the price goes down. But when we look at the
       base, thele's no -- there's no pressure on prices.

       228.    On September 9, 2016, during the Generic Medicines Business Overview call,

Olafsson stated:

       Tltere is no infløtion in tlte generic pricíng. . . .

       So what is the secret sauce? It's not very complex. 'fhis has been the same
       winning formula I have talked about rrany, many times Really to be top three in
       the market is so important.

                                                  **{<



       I think what I want to highlight is there will always be cycling of the pricing of
       generics, I have in my career, 23 years, never seen a real inflation. I mentioned
       to some of you before, I have been in the market where price declines was
       approximately lYo to 2o/o, probably ZYo, and I've been in the market in 2006 and
       2007 when the price decline wasTo/o,8%, And then it's cverything in between.

       So far, what we saw in the end of second quarter was approximately 4Yo in the US
       and 5Yo global. So, there will be a fluctuation, and obviously, it will affect every
       generic Company. But the message I want you to take from this slide is with our
       business, with the size of our porlfolio, with the flexibility of our manufacturing
       network, with the industry-leading position in the market, we are more shielded
       towards the prices up and down.

        229,     On the same call, Olafsson made the following statement regarding industry talk

about price inflation: "so first of all, we need to dilferentiate generics from branded pricing. And

people that say that the generic-there's a big generic price inflation, are simply wrong."

        230.     Also during the September 9, 2016 call, a Goldman Sachs analyst notecl there had

been speculation that f'eva was not raising prices during the approval process for the Actavis

deal and asked     if the Company expected the "landscape in terms of pricing to change at all, now

that the deal is closed." Olafsson responded:



                                                    82
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 87 of 129



       So fìrst of all, it doesn't work like we wake up when we are one Company, and
       we can take price increases. Simply, it doesn't wolk like that in generics. Wlten
       príce increftses $re takeno there's sante kind of øhmorcnality in tlte husíness.
       f'here are shortages.

       I{emember that there's 208 gcneric companies out there that are oflering product,
       and an average of every molecule we have, there is more than l'tve competitors.
       So there's always somebody happy to take a little bit lower price. So if's a very
       competitive husiness we're in. I think overall, obviously, we look at each
       opportunity, but we come back to what Andy said and he will say it better, is we
       have an opportunity to work with it. We have a broader portfolio now.

       23I.      During the September 9,2016 conference call, the Company presenled Investor

Slides related to pricing pÍessures in the Generics market. The slides contain the following

statements attributed to Olafsson:


       "    "Generic Price erosion varies year-to-year" and "Chasing market share         will   destroy
            value."

       a    l,isting Teva's advantages as: "Price challenges are product specific - a broad diverse
            portfolio mitigates risk[;'l Strong understanding of the marketl;l Offering differentiated
            products * lower competition, durabilityf;] Competitive cost positionf;] Industry
            leading pipeline - customers want access to our new products which brings thern
            valtre."

        o   "Price elosion is nothing new."

        ¡   Listing how feva is positioned to succeed in the market as: "Teva operations is a
            competitive advantage and capable of creating additional value[;] Allows Teva to
            maximize the value of the best R&D engine in the industryl;l Diverse portfolio and
            compctitive cost struoture allows for long-term value cteation."

        232.     The statements set forth in nn227-31 above were materially false and misleading

and/or omitted material facts. Defendants' statements (i) citing non-price factors fol the decline

in generic revenue, (ii) that nothing had      changed   in the pricing environment in which Teva

operated, and    (iii) denying price inflation in the generic   business, had the effect of concealing,

and/or failed to disclose, that, in truth, the Company's reported financial results were driven

primarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom           it   purporledly competed    with. 'fhis   strategy was


                                                    83
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 88 of 129




inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding tho pricing      of generic   drugs, and the inevitable clearing of the ANDA

backlog at the I?DA, which would have the effect of introducing new competitors in the market.

In fact, by this time, the risk from I)efendants' undisclosed strategy had begun to rnaterialize.

While Teva generated more than $541 million through price increases during FY16, that figure

represented a decline    of more than $200 million, or nearly       30o/o,   lrom FY15. Much of this

decline would have been known to Teva by September 2016. Flaving put into play the issue of

the souroe of Teva's revenue growth and the subject of competition in the generio dlug markets,

Defendants had a duty        to disclose Teva's price increase strategy and the true source of          its

revenues. Moreover, Desheh's and Olaffson's suggestions that pricing decisions were driven by

organic market lactors   -   including that "prices are very stable there . .   .   depending on demand

and supply" and "When price increases are taken, there's some kind                  of abnormality in   the

business"   -   was false and misleading      in light of the Company's         undisclosed practice of

implementing massive short term price increases to boost revenue      ,




       233,      The statements set lorth in T 230 above were also materially false and misleading

and/or omitted material facts because Teva was not operating in a "very competitive business."

In truth, Teva's undisclosed and inherently unsustainable strategy to take massive short tertn

price increases depended in large part on a lack of competition. In fact, during the Relevant

Period, Teva increased the prices of multiple drugs, many of which were done in tandem with its

purported competitors. .Tee TT 82-1 I 0,

                 23.    November 15,2016

       234.      On November 15, 2016, in a press release filed with the SEC on Form 6-K, and

signed by Desheh, Tevareporled its 3Q16 financial results. That same day, Teva lìled its 3Q16

Iìorm 6-K with the SIJC, signed by Desheh. Vigodman and Desheh both signed the consolidated


                                                    84
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 89 of 129




balance sheet in the 3Ql6 Form     6-K, The Company's        3Q16 Form 6-K also reporled a YOY

increase in tJ.S. generic revenue of $261 million, or25o/o, attributed to increased revenues from

Actavis. I-Iowever, aftor removing Actavis' $538 million in lJ.S. generic revenues that quarter,

Teva's lJ.S, generic revenues lrom its legacy business suffered a YOY decline of 5277 million,

or 27Yo.In discussing the increased revenues that were due to Actavis, Teva disclosed that those

revenues were


       fPlartially offset by loss of revenues following our divestment of ceftain products
       in r:onnection with the acquisition, a decline in sales of budesonide ... due to
       inoreased competition and the loss of exclusivity on esomeprazole.

       235.     Teva's 3Q16 Form 6-K also contained the following statement regarding the

subpoenas the Cornpany had received from the DOJ and the Connecticut              AG:    "Teva is not

aware of any facts that would give rise to an exposure to the Con'rpany with respect to these

subpoenas,"

       236.     On November 15, 2016, Vigodman, l)esheh, and Olafsson participated in Teva's

3Q16 earnings conference call. During the call, a Credit Suisse analyst asked:

        fJ]ust around your comments you made around generic drug pricing, you
       mentioned that lyo erosion this quarter, but you said you're confident it will still
       remain in the mid single-digits going forward. So can you just maybe provide a
        little bit more insight, there's obviously an area that there's a lot of investor focus,
       just what gives you the confidence that what's going to happen in the coming
        quarters will be different than what you saw this quarter?

In response, Olafsson stated:

       Let me start on the drug pricing, so overall, like previous quarters, there hasn't
       been any fundamental change in the US drug pricing. And what we saw in the
       difference between the 5Yo or mid single-digit we guided for going into it, versus
       exiting alTo/o, was the impact of the pricing impact on the divested product.

        237.     When pressed on his explanation by a J.P. Morgan analyst, Olaffson reiterated:

"where   I   sit here today, experiencing the market, there hasn't again been any fundamental

change."


                                                  85
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 90 of 129



       238. A Wells Fargo analyst also asked Olafsson on the same call if he was saying that
"the acccleration in the price decreases          . this past quarter aren't a result of increased
competition         and . . . not a result of having to tame previous price increases, or give back

some of those?" In response, Olafìson stated:

       No, basically, the main reason, I)avid, was that we had to divest a very good
       portf'olio of products that had limited oompetition, so we had to divest it, What
       our customers did, as they do, is that there is a new player in the market that took
       over those products, and that became a pricing pressure on roughly about 60
       molecules of -- and these were one of our top -- the top molecules we had in our
       portfolio. So there was an instability that happened in the market during the
       month of August, when the new owners were taking market share. . . . It didn't
       change the structure of the market, or the chemistry of the market, but we saw the
       impact on the divested molecule significantly more than we saw for on the rest of
       the portfolio which gave us a 7o/o versus 5o/o, which we assumed going into the
       quarter.

       239.       'Ihe statements set forth in TI 234-38 ab<lve were matetially false and misleading

and/or omitted rnaterial facts, l)efendants' statements (i) citing non-price factors for the decline

in generic revenue, and (ii) that nothing had changed in the pricing environment in which 'feva

operated had the effect     of concealing, and/or failed to disclose, that, in truth, the Company's

reported financial results, including the YOY decline in generio profits, were driven primarily by

its undisolosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom       it purporledly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants' undisclosed strategy had begun to materialize. While Teva generated more

than $541 million through price increases during FY16, that figure represented a decline of more

than $200 million, or nearly 30%, fiom FY15. Much of this decline would have been known to

feva by November 2016. Having put into play the issue of the source of Teva's revenue growth


                                                  86
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 91 of 129




and the subject of competition in the generic drug markets, Defendants had a duty to disclose

'leva's price increase strategy and the true source of its revenues, Moreover, Olaflìson's

suggestions that price decreases were driven by organic market factors     -   including because Teva

"had to divest a very good portÍtrlio of products that had limited competition"      -   was false and

misleading in light of the Company's undisclosed practice of implementing massive short term

price increases to boost revenue, which, by this time, was no longer sustainable.

               24.    January 612017

       240. During a       January   6, 2017 I3usiness Outlook        Conference Call, Vigodrnan

announced that Teva would provide 2017 guidance early           in January 2017. During the call,

Vigodrnan claimed Teva's past succe ss was not due to price increases, stating:

       Since the start of 2014, one of our greatest priorities has been to increase the
       prohtability of our generics business. In the first three years of this great effort, we
       have been able to improve significantly the margins of Teva's standalone generics
       business, This has been accomplished with a strong emphasis on the cost of goods
       sold, product mix, and the overall cost structure.

        241    'l'he statements set forlh in n 240 above were materially false and misleading

and/or omitted material facts. Defendants' statements touting the purported success of their

generios business had the effect     of concealing, and/or failed to disclose, thaL, in truth,     the

Company's reported financial results and success         in the generic drug market were driven
prirnarily by its undisclosed strategy to take massive price increases, either on its own or in

tandem with other manufacturers whom          it purportedly   competed with, Indeed, from IìY13

through FY16 Teva generated more than $2.1 billion through price increases alone. This strategy

was inherently unsustainable      in light of     among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the l;DA, which would have the effect of introducing new competitors in the

market. In fact, by this time, the risk frorn Defendants' undisclosed strategy had begun to

                                                  87
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 92 of 129



materialize, While 'feva generated more than $541 million through price increases during FY16,

that figure represented a decline of more than $200 million, or nearly 30o/o, from IrY15. Ilaving

put into play thc issue of the source ol'I'eva's revenue growth and the subject of competition in

thc generic drug markets, Defendants had a duty to disclose Teva's price increase strategy and

the true source of its revenues.

                25.    February 15,2017

        242.    On February 15, 2017,'leva filed its 2016 Annual Report with the SEC on Form

20-F, signed by Desheh. Desheh signed the consolidated balance sheet. The Company's 2016

Form 20-Iì also reported a YOY decline in LJ.S. generic revenues of $39 million, or         5o/o.   When

removing the impact of Actavis'     $l.l6tl billion in lJ.S. generic   l'evenues, I'eva's [J.S. generic

revenues from its legacy business suffered a   YOY decline of $1.4 billion, or29o/o. 'l'he Form 20-

F explained that the decline:

        "resulted mainly from the loss of exclusivity on esomeprazole ... and aripiprazole
        , . ,, a decline in the sales of budesonide . .. due to increased competition, loss of

        revenues following our divestment of certain products in connection with the
        Actavis (ienerics acquisition and the decline in sales of capecitabine."

        243.    The statements set forth in   \n 242 above were materially false and misleading
and/or omitted material facts. Defendants' statements citing non-price factors for the decline in

generic revenue had the effect      of   concealing, and/or failed     to disclose, that, in truth, the

Company's reported financial results, including the past success and current YOY decline in

generic prof,rts, were driven primarily by its undisclosed strategy to take massive price increases,

either on its own or in tandem with other manufacturers whom            it purportedly competed with.

T'his strategy was inherently unsustainable in light of, among other things, industry, regulatory

and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable olearing

of the ANDA backlog at the IrDA, which would have the effect of introducing new competitors



                                                  88
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 93 of 129



in the market. In fact, by this time, the risk from Defendants' undisclosed strategy had begun to

materialize. While Tcva generated more than $541 million through pricc increases cluring ltrYl6,

that frgure represented a decline of more than $200 million, or nearly 30olo, from FYl5. I-Iaving

put into play the issue of the source of 'l'eva's revenue growth and the subject ol'competition in

the generic drug markets, Defendants had a duty to disclose leva's price increase strategy and

the true source of its revenues.

        244. In the same February 15, 2017 lrorm 20-F, Teva described the "intense
oompetition" the Company faced in the ll,S. generic market and its "strategic" and "competitive

advantages":

        In the United States, we are subject to intense competition in the generic drug
        market from domestio and international generic drug manufacturers, bland-name
        pharmaceutical companies through lifecycle management initiatives, authorized
        generics, existing brand equivalents and manufacturers of therapeutically similar
        drugs, Price competition from additional generic versions of the same product
        typically results in margin pressures. V/e believe that our primary competitive
        advantages are our ability to oontinually introduce new and complex generic
        equivalents for brand-name drug products on a tirnely basis, our quality, our
        customer service and the breadth of our product portfolio.

        245.    The Company also described in the Form 20-lì the "intense competition in the

generic market" and the primary faotors driving growth        in the Teva's Generic     Medicines

segment

        Sales of generic medicines have benefitted from increasing awareness and
        acceptance on the part of healthcare insurers and institutions, consumers,
        physicians and pharmacists globally. These conditions also result in intense
        competition in the generic market, with generic companies competing for
        advantage based on pricing, time to market, reputation, customer service and
        breadth of product line. , . , V/e believe that our robust product pipeline, which
        has been enhanced with the Aotavis Generics business, and ability to continuously
        launch new products are critical to our growth in the face of continuing price
        erosion expected in the generics market.

        246.    Teva's 2016 Form 20-F also described the following Risk Factor:




                                                89
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 94 of 129




       Our generic drugs face intense competition. Prices of generic drugs typically
       decline, often dramatically, especially as additional generic pharrnaceutical
       compauies (including low-cost generic producers based in China and lndia)
       receive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of companies selling such
       product, including new market entrants, and the timing of their approvals.

       247   .   The statements set f'orth in 1111244-46 above were materially fàlse and misleading

and/or omitted material facts because Teva was not facing "intense competition" or operating in

a competitive environment. In truth, Teva's undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on a lack of compctition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were

done in tandem with its purported competitors.    .See   IlT82-1l0

       B         Defendants Violated Itcrn 303 of SEC Rcgulation S-K and Item 5 of
                 Form 20-F

       248.      l)efendants violated their obligations pursuant to Item 5 of lìorm 20*F and Item

303 of SEC Regulation S-K by failing to disclose the reasons and factors contlibuting to the

increase   or    decrease   in   revenues relating   to    DeÍbndants' undisclosed and inherently

unsustainable price increases.

       249.      More specifically, Item 5 of Form 20-F required'l'eva to disclose the source of

material inoreases and decleases       in   revenues, including those resulting from Defendants'

undisclosed and inherently unsustainable price increases. Defendants did not do        so.    Instead,

they made numerous aflirmative misleading statements in the MD&A section of the 20-F which

suggested Teva's U.S, generics business was subject to "intense competition."

       250,      Teva filed its annual financial statement with the SEC in a Form 20-F filed under

section l3(a) or l5(d) of the Securities Exchange Act          of 1934, The SEC explicitly    requires




                                                   90
             Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 95 of 129




disclosures detailing changcs in price that impact reported revenues in a lìorm 20-F. Item 5            of

lìorm 20-F (Operating and Financial Iteview and Prospects) states:

             To the extent that the Iìnancial statemonts disclose material changes in net sales or
             revenuos, provide a narrative discussion of the extent to which such changes are
             attributable to changes in prices or to changes in the volume or amount of
             products or services being sold or to the introduction of new products or services .
             , . discuss, for at least the current financial year, arly known trends, uncertainties,
             demands, commitments or events that are reasonably likely to have a material
             effect on the company's net sales or revenues, income from continuing
             operations, profitability, Iiquidity or capital resources, or that would cause
             reported financial information not necessarily to be indicative of future operating
             results or hnancial condition.

             251. Item 5 of Form 20-Ir is analogous to, and subject to the same rules and
requirements as, the Management's Discussion and Analysis of Financial Condition and Results

of Operations (MD&A) section of lìorm 10-K filed with the SEC. SEC                  Release   No. 33-8350,

Note    1.


             252.    As such, SAB 104 requires management to disclose in the MD&A section the

impact of artifìcial or collusive price increases: "Changes in revenue should not be evaluated

sole   ly in terms of volume and price      changes, but should also include an analysis of the reasons

and factors contributing to the increase or decrease."

             253.    SEC Ilelease No. 33-8350 further provides the following MD&A disclosure

guiclance, requiring analysis ancl disclosure            of volume ancl price changes affècting        the

Company's revenues           in a situation   analogous     to the rise and decline in   revenue from the

Defendants' undisclosed and inherently unsustainable price increases:

             For example,     if a company's financial statements       reflect materially lower
             revenues resulting from a decline in the volume of    products  sold when compared
             to a prior period, MD&A should not only icientify the decline in sales volume, but
             also should analyze the reasons underlying the decline in sales when the reasons
             are also material and determinable. T'he analysis should reveal underlying
             material causes of the matters described, including for example, if applicable,
             diflÌculties in the manufacturing process, a decline in the quality of a product, loss
             in competitive position and market share, or a combination of conditions.


                                                       9T
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 96 of 129



         254.      Additionally, SEC Iìelease No. 33-8350 explicitly states that "folne                 of the
principal objectives     of MD&A is to         providc information about the quality and potential

variability of a company's earnings and cash flow, so that readers can ascertain the likelihood

that past perl'olmance is indicative of future performance,"

         255.      SAB 104 further states: "The Commission stated in FIìIì 36 thal MD&A should

'give investors an opportunity to look at the registrant through the eyes of management by

providing a historical and prospective analysis of the registrant's financial condition and results

of operations, with a particular emphasis on the registrant's prospects for the future."'

         256.      Defendants violated this requirement, especially given their assertions that the

U,S, generic drug markets were competitive, without disclosing the source and magnitude of

revenlles generated by'feva's undiscloscd and inherently unsustainable price increases.

VI.      ADDITIONAL ALLBGATIONS OF SCIENTER

         257.      Numerous fàcts give rise to a strong inference that, tluoughout the Relevant

Period, Teva and the Individual Defendants knew or recklessly disregarded that the statements

identified in Section V above were materially false and misleading and/or omitted material facts

when made. In addition to the specilic facts enumerated above, the following facts also support

a strong inference ofscienter:

         Evidence from former employees demonstrates that all price increases implementecl by

Teva were approvecl by the company's most senior executives.14 Teva's decisions to increase

prices oame from the top down. Former employees of Teva explained that that Teva had an

internal Pricing Group that was tasked with providing detailed reviews and documentation of

price reductions, Teva established review and approval procedures, pursuant to which price


'o       As noted previously (tluS2-86), these allcgations were taken fi'om ccrtain former employees contacted by
Plaintifli' counsel or the Amended Complaint {ìled in the Class Action, where the allegations were verified by
Plaintiffs' counsel.


                                                       92
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 97 of 129




increases required the Chief Accounting Officer of Teva and 'I'eva USA CFO,    Griffin, and Teva

IJSA COO, Cavanaugh, to determine whether to make a price increase and to personally approve

the increases. Griflin and Cavanaugh would then decide when the increases would become

efïective.

        258.     Teva stoled drug-by-drug pricing, sales, and revenue data on the Company's

Oracle ERP System. The Company stored pricing and revenue data "down to the NDC code"

and executives, including Cavanaugh, Oberman, and Olafsson, had aocess to the system, and

were routinely fìlled in on sales numbers. The database was used to generate daily ol weekly

"Scorecards" that senior executives would receive that reported generic drug revenues and a

long-term "Work Plan," which was presented           to Teva's   executive committee   in Israel-
including Vigodman and Desheh. Other reports with pricing information were also sent to

Teva's executive committee.

         259. Tlte slteer magnitude of Teva's price hikes supports      an inference of scienter.

During the Relevant Period, Teva made astronomical increases in the prices of its generic drugs,

including multiple price hikes of more than 800%, and some more than 1700%. Such massive

price increases impaoted more than 55 separate drugs, over a four year period. Given the intense

focus on pricing in the generic drug industry, and the faot that Teva's senior executives,

including the Individual Defendants, were asked questions regarding Teva's pricing and pricing

trends during every earnings conference call and at many industry meetings, it is implausible that

the Defendants-the most senior executives of the Company-were not aware of price increases

on this scale in'leva's core business unit.

         260.    T'hese massive price increases also contributed billions   of dollars to   'leva's

bottom   line.   Indeed, from 2013 through mid-2017, Defendants'fraud generated more than 2




                                                93
            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 98 of 129



billion in additional revenues, Further, given that the costs of implementing prioe inçreases are

effectively zero, these massive increases in revenue flowed directly into 'I'eva's profits--which

increased by sirnilar amounts. F'or example,'feva's prohts l'rom Pravastatin, one of 'leva's better

selling generics, amounted to at least $370 million after instituting price increases of up lo 437o/o.

Similarly, the Teva increased the price of Propranolol FICL by nearly 300% and obtained nearly

$256 million in profits. Teva also gained over $143 million in such profits from increases of up

to 306Yo in its prices for Baclofen, $110 million fi'om increases of up to                l82o/o   in its prices for

Fluocinonide; $1¡g million fiom incleases of up to 579Yo in its prices for Methotrexate Sodium;

and   $   102   million from increases of up to   11   I lYo   in its prices for Ciprofloxacin LICL,

           261.      il'he intense national focus on price inoreases in the generic drug business from

the beginning of the Relevant Period demonstrates that Defendants must have been aware of

what was going on with respect to pricing at Teva. Even assuming that the Individual

Defendants-Jsv¿'s top executives-were not put on notice by massive and unexplained price

spikes     in the Company's core generics division, the historic rise in                   generic drug prices

immediately before and during the Relevant Period was well-publicized. Indeed, the gargantuan

prices increases by Teva and other generic manufacturers led Congress to commence                                an

industry-wide investigation beginning         in 2014. On October 2, 2014,                Defendant Vigodman

received a letter from lJ.S. Senator Bernie Sanders and tJ.S. Representative Elijah Cummings,

putting Teva on notice of an investigation and requesting pricing data and other information

regarding the Company's generics business. In parlicular, Congress asked the Defendants to

provide it with information regarding massive increases in the price of 'Ieva's generic drugs that

coincided with similar increases by other generic drug manufacturers. For example, the letter

requested information regarding "the underlying oauses                    of recent increases in the price of



                                                           94
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 99 of 129




fTeva's] drugs" that have increased by "as much as 736 percent for Divalproex Sodium and 573

percent for Pravastatin Sodium frorn October 2013 to April 2014. Over that tirne period, the

average market price went up      by as much as $735 for Divalproex Sodium and $426 for
Pravastatin Sodiurn," depending on the formulation.

         262.   As noted above, Teva refused to appear to testify or to produce documents in

response to the Congressional   inquiry. This Congressional investigation, the subsequent l)OJ

subpoena    to the Company, and the widespread publicity surrounding the price hikes             that

spawned these investigations, gave rise to a duty to investigate the existence of price increases at

1'eva and a duty to monitor changes in the Company's generic drug        pricing. At a minimum,
'leva's and the individual Defendants' false and misleading staternents were recklessly made, in

dereliction of their duty to investigate and monitor changes in the pricing of the Company's core

products.

         263. TIte fraud concerns the core of Teva's o¡teratiorrs.    Teva's production of generic

drugs was the Company's core operation during the Relevant Period.             In fact, during   the

I{elevant Period, Teva was the largest manufacturer of generic drugs in the world, controlling

l3o/o   of the generic drug market by mid-2015. Generic drug sales accounted for a substantial

portion of Teva's revenues and operations during the Relevant Period. For example, in 2014,

Teva's revenues frorn the segment including generics accounted for 42.l3Yo of the Company's

total revenues. In 2015, the percentage of the Company's revenues from the segment including

generics jumped to roughly   50%. It is implausible that the Individual Defendants, who were the

Company's senior-most executives, were unaware of the historically colossal price increases

being implemented by the Company-particularly given the significant positive impact those

price increases were having on Teva's fÌnancial performance. As the Company's most senior




                                                95
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 100 of 129



executives, the Individual Defendants had access         to inlormation    concerning these price

increases,    At a minirnlrm, they were reckless in      misleadingly tellirrg investors that the

Company's improved financial outlook was clue to cost-cutting, product mix and other factors

without investigating whether changes in prices for the Company's products were not a factor in

that turnaround.

         264.   Defendants' turn øround naruatíve was tlte result of massive price increøses.

lly   the end of 2013, Teva's U.S, generics business suddenly began reporting significant growth.

For example, in 4Q13, its U.S, generics division reporled earnings of fì1,178 million,            as


compared to $1,034 rnillion the year before-an increase         of approximately $144 million,    or

nearly   l4%. This was a striking turn around. Iìelative lo 2012,'feva's   net revenues for the nine

nrontlr period ending September 30,2013, were down year-over-year,

         265.    By April 7,2014, National Alliance Securities analysts had taken note of Teva's

new-found financial success: although its generics division had "dramatically underperformed in

                                                                             -leva's performance
2013" as compared to its peers, only a few months after the end of 2013,                         in

generics was, remarkably, "the llest   YTI)" among its peers.

         266. By the end of        2014, Defendants' remarkable "turnaround" story          for   the

Company's generics business had propelled the Company's ADS price from around $37 in late

October 2013, to $56 by the end of 2014.

         267.    Defendants'financial success continued into 2015, and by the end of July 2015,

its stock price exceeded $70 per share.

          268. It is implausible   that Vigodman, Desheh, Oberman, and Olafsson, who directly

oversaw, and spoke publicly at length about, the "turnaround" in Teva's generics business, were

unaware     of the true source of the Company's changed fortunes, The far more compelling



                                                 96
            Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 101 of 129




inference is that these executives, whose ascension and arrival coincided with massive price

increases, and whose departures coincided      with expanding govemmental probes into those same

price increases, wero well aware that the price increases were the true driving force behind the

Company's newfound success.

            269.   The evidence produced in tlte governrnerú investigations supports an ínference

of scienter, As detailed above, the AG investigation has been ongoing l'or three and one half

years and has involved the collection of dooumentary, electronic, and testimonial evidence from

'leva and others, As a result of the information and evidence developecl through                 this

investigation, the Attorneys General of 46 separate U,S. States brought suit against Teva and

other generic drug manufàcturers, documenting their "numerous contracts, combinations and

c<lnspiracies that had the effect     of   unreasonably restraining trade, artihcially inflating and

maintaining prices and reducing competition in the generic pharmaceutical industry throughout

the United States." The CT AG stated during a l)ecember 14,2016 interview with Bloomberg

that its investigation has uncovered "very explicit price fixing" between Teva and others: "This

isn't circumstantial evidence     ,    This is very explicit price f,rxing . . . in text messages, in

emails, in conversations; we have cooperating witnesses. The case is very strong." As reported

by   T'he   New YorkT'imes, the C1'AG further summarized the evidence as "very damning." Nor

were these conspiracies limited       to   lower-level employees. Rather, the AG investigation

unoovered evidence revealing that "many          of these schemes were conceived and directed by

executives at the highest levels of many of the Defendant companies."

            270.   Moreover, the fact that the DOJ has intervened in at least five civil antitrust

actions against Teva, now consolidated in the Multi-District Litigation in the U.S, District Court

for the Eastern District of Pennsylvania-after subpoenaing and receiving documents from



                                                    97
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 102 of 129



J'eva---strongly suggests that fèderal prosecutors have also determined that there is evidence of a

criminal eonspiracy to f-rx trlrices in an anti-competitive manner,

       271.       The significance of the corporate action required to participate in any collusive

bohavior-parlicularly such sustained price increases, with multiple competitors-makes it

implausible that the scheme was carried out solely by low-level employees.

       272. TIte Individual         Defendants were molivøted to commit fraud in orcler to røíse

cøpitalfor   ø   major øcquisition l'he Individual Defendants were motivated to pump up the price

of Teva's securities in order to consummate a major corporate acquisition. Indeed, Vigodman

and Desheh had stated early         in the Relevant Period that they wanted to convert ADS into
"currency" to acquire    a   competitor, further consolidating Teva's market share.

        273.      By 2015, with the price of 'Ieva's stock artificially inflated to over $60 per share

by Defendants' price increase plan, they decided to make their move, In April 2015, Defendants

first tried making an offer lor Mylan, but their overtures were swiftly rebuffed. Undeterred, the

Individual Defendants ratcheted up their bidding, and with the ADS price reaching an all-time

high, on July 27,2015, Defendants announced the purchase of Allergan's generics division,

Actavis. The deal would cost Teva approximately $40 billion, most of which was funded by

members of the Class through three offerings.

        274.      To execute the Actavis deal, however, Defendants still       needecl   to undertake   a


massive bond offering to raise tens of billions of dollars in additional capital, Without warning,

during apre-arranged investor call on July 13,2016, Vigodman announced thatthe debt offering

would be launched that very day. On the same call, Vigodman also revised Teva's guidance

upward and conf,irmed that the Company was not seeing further pricing pressure in its generics

business, thereby continuing to artificially inflate the price of Teva's securities. Ultimately, the




                                                    98
           Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 103 of 129




Cornpany's July 2016 bond offerings raised over $20 billion from unsuspecting investors. The

Actavis deal closcd on August 2,2016.

           275.    TIte temporal proximífy of the fnlse statements to tlte cowectíve dísclosures

supports an ínference of scíenter. On August 4,2016, three days after the Notes Offering, and

two days after the Actavis transaction closed, Teva reported second quarter 2016 financial results

that reflected a $434 million decline in revenues in its U.S. generics segment compared to the

second quarter of 20 I 5 . Teva also disclosed for the first time that   it was subj ect to DOJ and   State

AG price-IÌxing investigations. In fact, on July 12,2016-the day before Teva suddenly deoided

to rush its bond olTering to market-Teva had been served with a subp<lena by the Connecticut

AG; and three weeks earlier, on June 21,2016, Teva had been served a subpoena by the DOJ,

indicating that Teva was now a focus of the investigations into illegal price collusion. "fhe

timing of these events, with Defendants rushing an offering to market and increasing the

Company's guidance immediately after receiving government subpoenas regarding their pricing

policies, strongly supports an inference ofscienter.

           276.    On January 6,2017, less than six months after raising its guidance on the same

day   it   announced the surprise bond offering, 'Ieva significantly loweled its guidance, admitting

that its generics business was underperforming as a result of the pricing pressures it had claimed

immunity from. As Vigodman described in the January 6,2011 conference call, 1'eva "ha[sl an

EBITDA gap of $1.2 billion emanating from our US generics business,"

           277.    Market reaction to Defendants' disclosures was fast and furious. Commentators

noted: "The larger point here is this: how is it possible that 2017 EPS guidanoe was cut by              as


much as l8o/o within the space of six months with largely the same senior management team in

place?" 'fhe temporal proximity of Defendants'             disclosures that pricing pressures were




                                                   99
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 104 of 129




impacting Teva's generics business, less than six months after they raised guidance and assured

invcstors that there would be no such effect, fufther supports an inference of scienter.

       278.    1-he Individual Defendants' high-level positions, aooess    to information about the

Company's generics business, and control of'the contents of the Company's public statements.

As the Company's top executives, Vigodman, I)esheh, Altman, Oberman, and Olafsson-the

Presidents, CEOs, CFOs, President and CEO          of Teva Americas Generics, and President      and

CEO of 'I'eva's Global Generics Medicines Group (the divisions where the heart              of   the

misconduct alleged herein took place), respectively---oontrolled the Company's day-to-day
                                                                                                       .'

operations and were informed of and responsible for monitoring Teva's generics business. The

Individual Defendants had access to various sources of information concerning Teva's U.S,

generics business, including prioing. These sources gave Defendants access to information that

was adverse to their public statements during the Ilelevant Period. Ilecause of their high-level

positions, each Individual Defendant was provided with,          or had access to, oopies of     the

documents alleged herein to be false or misleading prior to, or shorlly after, their issuance, and

had the ability and opportunity to prevent their issuance or cause them to be corrected. Because

of their positions and access to material non-public information concerning the Company,         the

Inclividual Defendants knew or recklessly disregarded that the adverse facts alleged herein had

not been disclosed to, and were being conoealed from, the public, and that the positive

representations that were being made        to   investors were materially false, misleading, and

incomplete. As a result, the Individual Defendants were responsible for the accuracy of Teva's

corporate statements, and each      is   therefore responsible and liable   for the representations
contained therein or omitted therefrom.




                                                  100
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 105 of 129



       279.        Defendant Vigodman served as Teva's President and CEO from February 11,

2014 to February 6, 2017 and as a Teva l)irector lì'om June 22, 2009 to Iìebruary 6, 2017.

Vigodman signed and certified cerlain of Teva's reports on Forms 2g-p (including the 2014 and

2015 þ'orm 20-I SOX Certifîcations) and 6-K, including consolidated balance sheets, filed with

the SEC during the Relevant Period, as set forth herein. Vigodman had a duty to monitor any

conduct that threatened to undermine the veraoity of these filings, including the conduct alleged

herein. Vigodman had access to pricing data for the Company's generic drugs, Notwithstanding

the certifications signed by Vigodman and his access to pricing data, Vigodman knowingly or

recklessly failed to disclose the overwhelming signif,rcance of the price increase plan to the

financial resurgence of f'eva.

       280,        Vigodman also, in Íesponso to a direot question on pricing practices during an

October 29,2015 investor conference, falsely assured investols that: "We are very responsible.

. in everything that perlains      to prices on the generic side and on the specialty side." IIe

continued: "And I will even put it another way, all the improvements you see in margins is not

driven by price. It is driven by quantities, and by mix, and by efficiency measures, not by price,

2014,2015. And that's a very imporlant message."

       2tì I   .   Defendant Desheh served as 'leva's CFO from July 2008 to June 30,2017 , except

from October 30,2013 to F'ebruary 11,2014, when he served as Teva's Interim CEO and Interim

President. Desheh also served as Teva's Group EVP fi'om 2012 to .lune 30, 2017. Desheh

signed and certified certain of Teva's reports on Forms 20-F (including the 2013,2014, 2015,

and 2016 F'orm 20-Iì SOX Certihcations) and 6-K filed with the SIiC during the Ilelevant Period,

including consolidated balance sheets, as set forth herein. Desheh had a duty to monitor any

conduct that threatened to undermine the veracity of these filings, including the conduct alleged




                                                 101
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 106 of 129



herein, Desheh had access to pricing data for the Company's generic drugs. Notwithstanding

the certilhcations signed by Desheh and his access to pricing data, Deshch knowingly or

recklessly fäiled to disclose the overwhelming signifrcance of the price increase plan to the

financial resurgence of 'feva.

       282.    During the Relevant Period, Desheh rnade additional false and misleading

statements regarding the Company's         pricing. For example, during a November 2015 investor

conference, Desheh addressed pricing head on: "There is a lo1 of noise around plicing issues.

Some of   it is coming from politicians fwho arel driving    agendafs'1. . .   .   Our exposure to all these

things is very minimal. . .   ,   I believe there are many examples lor competitive environment, real

competition, like we see in generic market in the United States. . .     .   So    it's a highly competitive

environment with players coming fiom all over the world with a very herce price competition."

Even in the face of this direct question, Desheh never disclosed the price increase plan.

       283.    Defendant Altman served as Teva's Acting CIìO from October 31,2013 to

F'ebruary   11,2014. Altman signed and certified certain of Teva's reports on Forms                    20-F

(including the 2013 Form 20-F SOX Certification) and 6-K f,rled with the SEC during the

Relevant Period, as set forth herein. Altman had a duty to monitor conduct that threatened to

underminc the veracity of these filings, including the conduct alleged herein. Altman had access

to prioing data for the Company's generic drugs. Notwithstanding the certifìcations Altman

signed, and his access to pricing data, Altman knowingly or recklessly failed to disclose the

overwhelming significance of the price increase plan to the financial resurgence of f'eva.

        284.    Defendant Oberman served as President and CEO                of Teva Americas Generios

from November 5, 2012 to December 31,2014. In that role, Oberman had access to pricing data

for the Company's generic drugs. Oberman also possessed the power and authority to control




                                                    t02
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 107 of 129




the oontents of the Company's reports to the SEC concerning Tova's U.S. generics business and

was provided with copies of the Company's reports and press leleases alleged herein to be

misleading before, or shortly after, their issuanee and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Oberman also would have received reports showing

the amount of profit earned liom priee increases on'leva's generic drugs.

       285.    Defendant Olafsson served as President and CEO          of Teva's Global     (ienerios

Medicines Group from July 1,2014 to December 5,2016. In that role, Olafsson had access to

pi'iciirg data for the Company's generic drugs. Olafsson also posscsscd the po\,ver and authority

to control the contents of the Company's reports to the SEC concerning 'feva's U.S.          generics

business and was provided with copies       of the Company's reports and press releases alleged

hcrein to be misleading before, or shortly after, their issuance and had the ability and opportunity

to prevent their   issuanÇe   or cause them to be corrected. Olalison also would have received

repofls showing the amount of prof,rt earned from price increascs on'lleva's generic drugs.

        286.   Olafsson assured investors during the Relevant Period that Teva's strong

performance in its genelics business was not the result of pricing changes: "'fhis is $1 billion

improvement in operating profit over 24 months period. So how did we do this? Not by pricing

but by portfolio mix, new products, and efficiency measures." In response to an analyst request

regarding the source of price increases, Olafsson falsely responded as follows: "So first of all, it

doesn't work like we wake up when we are one Company, and we can take price increases.

Simply, it doesn't work like that in generics. When price increases are taken, there's some kind

of abnormality in the business. There are shortages. So there's always somebody happy to

take a little bit lower price. So it's a very competitive business we're    in."   Even in the face of

this direct question, Olafsson never disilosed the price increase plan.




                                                 103
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 108 of 129



       287.       TIte Individual Defendønts were motivsted to commit frøad          for theír     own

personalgadn. 'Ieva aims to incentivize its executive officers by ereating a strong link between

their compensation and performance. 'l-heref<lre, a signilicant portion of the total compensation

package provided to 'l'eva's executive    ofÏcers is based on measures that reflect both'leva's short

and long-term goals and performance, as well as the executive officer's individual perl'ormance

and impact on shaleholder value. For example, the Individual Defendants received cash bonuses

of as much as 158% of their annual salaries based on performance metrics directly impacted by

the price increase plan, As described by the Company's Compensation Policy for Executive

Officers and Directors (the "Compensation Policy"),            "A   signif,rcant component     of   the

Compensation Policy was the Company's annual cash bonus program." Teva described the

bonuses as "strictly     pay-for-performance as payout eligibility and levels are determined

based on actual financial and operational results, as   well as individual performance." Teva also

made substantial equity grants to Defendants Vigodman, Desheh, Oberman, Olafsson, and likely

other senior officers, including options to purchase shares, awards        of restricted shares,    and

awards of Performance Share Units ("PSUs"), the value of which were likewise tied to Teva's

performance   .




       2t18. As a result of the number         and magnitude of Teva's price hikes, the prices of

'l'eva's securities soared. The price of Teva's ADS rose fi'om just below $45 to a Relevant

Period high       of   572   in mid-2015. The Individual   Defendants made millions      in   personal

compensation fi'om this supposed achievement, For example, in 2014, Teva reporled paying

Oberman nearly $6.5 million in cash and nearly $1 million in equity compensation. (l{e stepped

down that year), For the year 2015, Teva reported paying Desheh more than $1.8 million in cash

and $1,7 million in equity compensation. (His compensation was not disclosed for 2014 or




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       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 109 of 129




2016). For the years 2015 and 2016, 'Ieva reported paying Olafsson more than $4,8 million in

cash and more than 1i3.5   million in equity compensation, (Ìlis compensation was not disclosed

l'or 2014). For thç years 2014 to 2016, T'eva reported paying Vigodman more than $8.4 million

in cash and more than $5 million in equity compensation,

       289.     In2014, Vigodman, f)esheh, Oberman, and Olafsson leceived oash bonuses                   ancl


equity compensation based,      in   significant part, on Teva's achievement         of cerlain financial

targets, which were impacted by the revenues generated from the price increase plan.

       290.     According to the 2014 2A-Iì, inore than 7\o/u of Vigodman's cash bonus was tied

to such financial targets (specifically,35.4Yo for non-GAAP operating profìt, 2I.2% for non-

GAAP net revenue , and     14.ZYo   lor cash flow). IIe was entitled to a bonus of     |40o/o   of salary for

achieving 100% of the targets, and a maximum of 200o/o of salary              lf 125% of the targets were
met. IIis total reported compensation was nearly $4,5 million, comprised of: (i) a salary of

$1,183,888, a bonus of $1,868,477 (roughly 158% of salary);             (ii) a onc-time bonus of   $237,401

for "significant achievements and efforts" including Teva "strengthen[ing] its leading position in

generics";   (iii) options to purohase   280,702 shares at $41.05; (iv) a grant       of   15,660 restricted

shares; and (v) a grant    of 30,869 PSUs based on targets of cumulative non-GAAP operating

prolrt and cumulative non-GAAP net revenue from 2014 to 2016.

        291.    According to the 2014 20-F, at least        50o/o   of Oberman's cash bonus also was tied

to such financial targets (specifically,25o/o for non-GAAP operating profit,          I5o/o   for non-GAAP

net revenue, and 10% for cash        flow). An additional 20o/o of his bonus was based on'leva's
generics business.    IIe was entitled to a bonus of 100% of salary for achieving 100% of the

targets, and a maximum of 200Yo of salary        if   120% of the targets were      met. Oberman's total

reported compensation of 57,337,661made him the highest-paid Teva executive for 2014, after




                                                      105
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 110 of 129



being functionally replaced in      July.   Oberman received a salary   of $850,000, a cash bonus of

$1,194,435 (approxirnately l40o/o of salary), and a oash severancc of 94,464,171based primarily

on the amounts of his salary and average bonuses for 2012 to 2014.

         292.   Because Olafsson and Desheh were not among 1'eva's                  five highest   paid

executives in2014, their salaries and cash bonuses were not disclosed (Olafsson joined ll'eva in

July 2014), Olafsson's other compensation included options to purchase fì8,238 shares at $54.02

per slrare, a grant of 18,229 PSlJs, and an additional grant of 17,773 PSIJs based on Teva's 2014

performance. Desheh's other compensation includecl options to purchase 98,581 shares at

$48.76 per share and a grant of 20p66 PSUs,

         293. In 2015, Vigodman,            Desheh, and Olafsson received cash bonuses and equity

compensation based,     in significant part, on Teva's achievement of ceftain financial        targets,

which were impacted by the revenue generated from the price increase plan.

         294,   Aocording to tl're 2015 20-F, more than 70o/o <-:f Vigodman's cash bonus was tied

to such financial targets (specifically,35.4Yo for non-GAAP operating proht, 21.2% for non-

GAAP net revenue, and     14.2o/o   for free cash flow). Irle was entitled to a bonus of up to 200% of

salary   if   125%   of the targets were met.        Vigodman's total reported compensation was

approximately $5.7 million, comprised of a salary of $1,363,692, a bonus of 52,253,581 (roughly

165% of salary), options to purchase 163,859 shares at $57.35 per share, and a grant of 30,869

PSUs based on Teva's 2014 to 2015 cumulative performance.

         295.   According to the 2015 20-F, Desheh and Olafsson also were entitled to bonuses

based on such financial targets (specifically,25Yo        for non-GAAP operating profit, 15% for net

revenue, and 10Yo for free cash flow), in amounts of up to 200% of salary      iÎ   I20% of the targets

were met. Desheh's total reporled compensation was approximately $4,3 million, comprised of a




                                                    106
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 111 of 129




salary of $733,863, a bonus of $1,110,824 (roughly 151% of salary), options to purchase 89,376

shares at a price   of   $N57.35, and a   grant   ol l6,83tl   PSUs.

        296.    Olafsson's total reported compensation was approxirnatcly $3.9 million; he

received a salary of $954,955 and abonus of $1,449,375 (roughly 151% of salary). He also was

awarded options to purchase 94,343 shares at $57.35 per share, and an additional 160,114 shares

at $59.19 per share      "[i]n light of the increase in. . . scope of work and responsibilities         as head   of

Global Generics Medicines Group in connection with the Actavis acquisition," as well as a grant

of 17 ,773 PSUs     based on Teva's 2014 to 201 5 cumulative performance.

        297,    Teva's ADS price reached a high of $72 on July 27,2015, making the potential

value of the Individual Defendants'2074 and 2015 options quite signifìcant atthe height of the

alleged fraudulent scheme. Ilowever, because Teva was a "foreign private issuer" during the

Relevant Periocl, it was not required to report insider sales and, therefore, it is unknown whether

these Individual Defendants,          or any other insidcr,            engaged   in   suspieious trading activity.

Evidence of insider trading, if any, could be obtained in discovery,

        298.    Suspicíously-timed executive departures support an inference of scienter. In

late 2016, as the price increase plan was in tatters as a result of the inevitable increase in generic

competition resulting from FDA generic drug approvals and basic market forces, and the GAO

Report, criminal charges, guilty pleas, and State AGs' allegations mounted, the key executives

responsible for Teva's U,S, generics business departed or were f,rred in relatively short order.

First, on December 5,2016, Teva unexpecte<lly announced the "retirement" of Olafsson, the 48-

year-old head       of   generics (Olafsson did not,           in fact "Íetire" but   instead found employment

elsewhere   in the industry). As reported by The Streel, Olafsson's depafture "rais[ed]                      more

questions for investors amid continued worries around drug prioing."




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       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 112 of 129



       299.     Just two months later, on February 6,2017, asTeva's finances continued to sag

ancl the govornmental investigations eclntinued      to gather steam, Teva unexpeotedly announced

the termination of l)efendant Vigodman, effeotive immediately and without announcing                 a

permanent replacement, 'I'hen, on        April 25, 2017,     numerous media reports surfaced that

Defendant Desheh would be pushed out as CFO at Teva. 'fhese repods were conhrmed the next

day when, in an April 26,2017 6-K, Teva announced that Defendant Desheh would be stepping

down as CF'O and leaving the company in "the coming months" so that Desheh could move on to

"the next phase of fhisl career." In its first financial repoft issued after these architects of the

fraud were removed, Teva announoed a $6.1 billion write down of its entire U.S. generics

business.

VII.   TI-IE TIìUTH EMERGES: ALLEGATIONS OF.LOSS C,AUSATION

       300.     Defendants' false statements and material omissions concealed the truth about,

and risks presented by, their business practice of improving business results through massive

prioe increases. T'he truth and risks that were concealed and/or affirmatively misstated include

the lact that the price increase plan was not sustainable over the long-term because of the FI)A's

approval    of new drugs, natural competitive       pressures, public approbation and governmental

investigations and that once the plan became non-viable,'feva's revenues and profits would fall,

negatively impacting its stock      price.     These risks became apparent    to the investing public
through a number of revelations that negatively impacted prices for Teva's securities.

       A.       August 4-5,2016

       301. Afler the close of tracling on August 4,2016-two                  days after the Actavis

transaction closed-Teva filed the 2Ql6 Form 6-K, reporting its second quarter 2016 financial

results, including a5434 million decline in revenue in the U.S. generics segment compared to the

second quartcr of 201   5. The   2Q I 6 Form   6-K revealed for the first time that Teva was implicated


                                                    108
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 113 of 129




in the federal and State AGs'antitrust investigations, stating: (i) "[o]n June 21,201[6], Teva

USA received a subpoena from the Antitrust Division of the lJnited States Department of Justioe

seeking documents anci other information relating to the marketing and pricing of certain of Teva

USA's generic products and communications with competitors about such products" and (ii)

"foln July 72, 2016, Teva USA received a         subpoena fi'om the Connecticut               lAGl   seeking

doouments and other information relating to potential state antitrust law violations."

       302. While      these disclosures partially revealed the relevant truth concealed by

Defenclants' misrepresentations and omissions, Defendants misleadingly attributed TevA's

disappointing results to the loss of exolusivity on certain drugs, and a decline in sales in others,

expressly denied the impact of price hikes, and reaff'rrmed Teva's inflated outlook for 2016.

       303,    In response to this information, the price of 'leva's ADS cleclined $ì1,24 per share,

or approximalely 2.24Yo, from its closing price of $55.45 on August 4,2016,to a close of $54.21

on Augnst 5,2016, on high trading volume, wiping out     $   1   .I 3   billion in market capilalization.

       B.      November 3 and November 6,2016

        304.   On 'l-hursday, November 3, 2076, before the LJ.S. markets closed, and after the

close of trading on the TASE, Bloomberg reported on the government's "sweeping criminal

investigation into suspected price collusion," spanning more than a dozen companies, including

'leva, and about two <lozen drugs, and that charges could emerge by year-end.

        305.   On this news, the price of 1'eva ADS fell $4.13 per share, or approximately

9.53yo, from its closing price of $43.33 on November 2,2076 to close at $39,20 on November 3,

2016, on high trading volume, reducing Teva's market capitalization by another 53.77 billion.

        306.   Analysts from S&P Capital IQ lowered their rating of Teva ADS in response,

from "buy" to "hold," and lìierce Pharma reported that analysts believed the investigation could

have a sizeable financial impact on Teva, estimated to be as much as $700                 million. The New

                                                 109
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 114 of 129



York'firnes similarly reported that: "'Ihe generic drug industry       was   jolted on Thursday as shares

of many major companies tumbled after a news report said that a l'oderal inquiry into drug price-

f.rxing was wider than previor"rsly believed and could lead to eharges by the end of the year.

Shares   in 'I'eva   Pharmaceuticals, the world's largest generic drug maker,          fell more than 9
percent, and the stock of competitors like Mylan, Endo Pharmaceuticals and Impax Laboratories

had similar declines," (Katie Thomas, News of' Charges in Price-Fixing Inquiry                     Sends

Pharmaceuticals Tumbling, The N.Y. Times, Nov. 3, 2016 at B5).

         C.     November 15,2016

         307.   On November 15,2076, before the U.S, markets opened (and during trading on

the TASE), Teva liled a press release on Form 6-K with the SEC, reporting third quarter 2016

revenues below consensus oxpectations, During an investor confelence call that day, Olafsson

explained that the disappointing results were a result of pricing pressures, stating that, despite his

past denials that Teva was exposed to or had observed pricing pressure, price erosion           in'leva's

l-1.S, generics business   in fact had been approximately   7o/o (as   compared to the 5% Olafsson had

recently stated on September 9, 2016).

         308. While        these disclosures partially revealed the relevant truth oonoealecl by

Defendants' misrepresentations and omissions, Defendants insisted that the pricing pressure was

limited and would not last beyond the cluarter, continued to attribute the Company's

disappointing results to divestiture of certain generic products related to the Actavis acquisition,

and continued to conceal -leva's anticompetitive conduct and collusion, improper financial

reporting and disclosures, and 'Ieva's true financial and business condition. Moreover,

Defendant Vigodman stated that, "we are not aware            of any fact that would give rise to an
exposure to Teva with respect to the [DOJ] investigation."




                                                  110
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 115 of 129




       309.    The prices of Teva ADS fell again in response to this news, declining $3.43 per

share, or 8.360/o, from its closing price oI $4i,03 per share on November 14, 2016 to close at

fi37,60 on N<lvember 15, 2016, on high trading volurne, erasing another Si3.3 billion in market

capitalization. Teva's ordinary share price similarly declined ILS7.20, or 4.58o/o, from its closing

price of ILS157.10 onNovember 14, 2016lo close at I1,S149.90 onNovember 15,2016.

       310.    Markct participants similarly responded, with analysts at Jefferies downgrading

Teva ADS from "buy" to "hold."

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       tt,      lrccct¡¡utl'
                         --- J-u, ¿urt,

       311. Afler the markets             closed on December   5, 2016, Teva fìled a Form 6-K,
announcing Olafsson' immediate "retirement," even though he was only              in his late 40's.
Analysts at Piper Jaffray quickly ooncluded that Olafsson had in fact been pushed out, stating in

a December 6,2016 reporl: "When a company issues what many view as bullish guidance and

then walks that back within a quarter of issuing said guidance     .   . it would only be natural to

conclude that there would be repercussions at the top of the organization."

        312.    Other analysts tied Olafsson's abrupt departure to the apparent rise in generic

pricing pressure. For example, analyst Morningstar commented in a December 6,2016 report,

that "lleva's announcement that Dipankar Bhattacharjee      will replace Siggi Olafsson as CEO of

the generics segment does not inspire confidence. Recent pricing pressure in the generic drug

market and anticipated generic competition on the 40mg version of Copaxone in 2017 remain

significant near-term challenges          for Teva, which makes the abrupt    leadership change    a


concerning clevelopment at a critical time for the company," IITIG similarly stated, in a report

dated l)ecember 5, 2016, that "[w]ithout Siggi Olafsson at the helm of Teva's global generic

segment, we think investor sentiment could worsen as the market has remained focused on price

erosion    for the fcompany's]    base generics business."     Citi (at the Citi Global   Healthcare


                                                   111
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 116 of 129




Conference) and Piper Jaffray (in a I)ecember 6,2016 report) expressed concern that Olafsson's

cleparture suggested that there may be something "going on internally       in the generics business"

that had not bcen discloscd.

       3   13.   In response to this news the prioe of Teva ADS fell $2.01 per share, or 5.43o/o, the

next trading day, from its closing price of $37.04 per share on l)ecember 5,2016, to close at

$35.03 per share on I)ecember 6, 2016, on high trading volume, and reducing '['eva's market

capitalization by   $   1.96 billion.

       E"        Dccember 14,2AL6

        314.     As had been previewed on November 3,2016, on December 74,2016, the DOJ

announced the anticipated criminal investigation and disclosed that        it had charged Glazer   and

Malek, the f'ormer CEO and President of Ileritage, respectively, for their roles in conspilacies to

fix prices, rig bids, and allooate customers for certain generic drugs, namely Doxycycline         (as


early as April 2013 until at least Decernber 2015) and Glyburide (as early as April 2014 until at

least December 2015), the latter for which'leva was a dominant market participant during the

Relevant Period, The DOJ further stated that the charges stemmed from its ongoing federal

antitrust investigation into price-fixing, bid-rigging and other anticompetitive conduct relating to

generic drugs and marked "an important step" in ensuring true competition among companies "at

a price set by the market, not by       collusion." Two-count felony charges for violations of Section

I of the Sherman Act against Glazer and Malek              also were unsealed that day, alleging the

following in sum and substance:

        o   various corporations and individuals parlicipated as co-conspirators in the offenses
            and performed acts and made statements in furtherance thereof;

        o the defendants and co-conspirators knowingly        entered into and engaged in a
            combination and conspiracy with other persons and entities engaged in the production
            and sale of generic drugs, including Doxyoycline and Glyburide, the primary purpose



                                                     t12
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 117 of 129



           of which was to allocate customers, rig bids, and f,rx and maintain prices of             those
           drugs sold in the United States; and

       o   for the purpose of forming and carrying out the charged combination and conspiracy,
           the defendants and co-oonspirators, among other tl'rings, participated in meetings and
           communications to discuss the sale of and to allocate customers or rig bids for the
           drugs; agreed not to compete against each other for certain customers; submitted bids,
           withheld bids, and issued proposals in accordanco with their agleements; and sold the
           drugs at collusive and noncompetitive prices.

       315. In response to this news, the price of Teva ADS price fell $0,66 per share, or
approximately 1.75o/o, from its closing price of $37.66 on December 13, 2016 to close at $37.00

per share on December 14,201,6, erasing $711.7 million in market capitalization.

       F.        December 15-18,2016

       316.      On l)eccmber 15,2016 (after the TASE closed), the        Cl'AG      announced that he

and 19 other State AGs had hled a federal antitrust lawsuit against 'Ieva IJSA and five other drug

companies (l"leritage, Aurobindo, Citron, Mayne, and Mylan), alleging that they had "entered

into illegal   conspiracies to unreasonably       restrain trade, artificially inflate and manipulate

prices, and reduce competition" for Doxycycline and Glyburide.

        317.     The December 15,2016 press release stated that portions of the complaint were

redacted   "to avoid compromising the ongoing investigationf]"       as   to "a number of additional

generic drugs," but revealed that:

       In July 2014, the state of Connecticut initiated [a non-publicl investigation of the
       reasons behind suspicious price increases of certain generic pharmaceuticals, The
       investigation, which is still ongoing as to a number of additional genelic dlugs,
        uncovered evidence of a well-coordinated and long-running conspiracy to hx
        prices and allocate markets for doxycycline hyclate delayed release and glyburide.
        In today's lawsuit, the states allege that the misconduct was conceived and carried
        out by senior drug company executives and their subordinate marketing and sales
        executives.

        The complaint further alleges that the defendants routinely coordinated their
        schemes through direct interaction with their competitors at industry trade shows,
        customer conferences and other events, as well as through direct email, phone and
        text message comlnunications, The anticompetitive conduct         -   including efforls to


                                                  113
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 118 of 129



       fix and maintain prices, allocate markets and otherwise thwart competition -
       caused significant, harmful and continuing effects in the country's healthcare
       system, the states allege.

       'l'he states further allege that the dlug companies knew that their conduct was
       illegal and made efforts to avoid communicating with each other in writing or, in
       some instances, to delete written communications after becoming aware of the
       investigation. The states allege that the oompanies' conduct violatecl the federal
       Sherman Act and are asking the courl to enjoin the companies fìom engaging in
       illegal, antioompetitive behavior and for equitable relief, including substantial
       financial reliet to address the violations of law and restore competition.

       318.    As Forbes reported that day, the complaint revealed new inf'ormation regarding
'leva's potential exposure relating to two generic drugs, in that it "makes clear which companies

could be implicated in the antitrust investigation federal prosecutors are pursuing," including

Teva. It further noted that, according to the state AGs, Malek had a direct relationship with   a

'I'eva emplclyeç and the two agreed to raise the prices of Glyburidc,

       319.    Onthis news, the price of TevaADS fell $0,27, or0.73Yo, from its closing price

of $37.00 on l)ecember 14,2016 to close at 536.73 on December 15, 2016, reducing Teva's

market capilalization by another $291 million.

       G.      .Ianuary 6-8,2017

       320.    Before the NYSE opened (and when the TASE was closed) on January 6,2017,

Teva filed a press release on Form 6-K, announcing a signifìcant reduction in 2017 guidance, far

below market expectations, due to previously-unannounced poor performance and increased

competitive pricing pressures in the market. The press release quoted Defendant Vigodman,

who stated, "ft]he entire healthcare sector has faced significant headwinds, and we have not been

immune," As explained by Morningstar in a January 6, 2017 report, "Teva's management

lowered its 2017 outlook flom its previous forecast released in July 12016, at the time of the

Notes Offering] as lhe firm succumbs to íncreased competitíve pressure, especially in the U.S.

generics market."


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          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 119 of 129




          321. 'While these disclosures partially      revealed the relevant truth conoealed by

l)efendants' misrepresentations, during a conference call that day Vigodman falsely attributed

Teva's poor results "to not being able to realize new launches in our T'eva legacy business . .    .




consistent with our past track-record," rather than pricing pressure as the collusion dissolved.

          322.   As TheStreet reported, Teva's ADS price "plummeted" in response to the lowered

2017 guidance. Specifically, the price of Teva ADS fell $2.86 per share, or approximately

7.53yo,   fromitsclosingpriceof $37.96onJanuary 5,2017 tocloseat$35.10onJanuary 6,2017,

on high trading volume, erasing another $2.9 billion in market capitalization.

          H.     February 6-7r2017

          323.   On lìebruary 6,2017 , afler the olose of trading on the NYSE, in a l'ìorm 6-K filed

with the SEC, 'Ieva announced the termination of Vigodman as CEO, effective immediately and

without   a permanent replacement, and his   removal from the Board ofDirectors.

          324. V/hile   these disclosures partially revealed the relevant truth concealed by

Defendants' misrepresentations, additional information continued          to be concealed by the
Company.

          325.   On this news, between the close of trading on February 6 and on February 7,

2017, the ADS price fell $2.16 or 6.29o/oto close at $32.19; and the Preferred Share price fell

$29.00 or 4.57o/o to close at $605.00.

          I.     August 3-7,2017

          326.   Before the NYSII opening (and during trading on the TASE) on Thursday, August

3,2017 , Teva filed a press release on Form 6-K, announcing lower-than-expected second quafter

2017 results due to poor performance in its U.S. generics business and "accelerated price erosion

and decreased volume mainly due to customer consolidation, greater competition as a result of




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       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 120 of 129




an increase in generic drug approvals by the U.S. IìDA, and some new product launches that

were either dolayed or subject to more competition."

       327.      'l'eva also disclosed a net earnings loss primarily due to a $i6.1 billion goodwill

impairment charge in its U.S. generics unit-which consisted of both 'l'eva legacy and Actavis

generics business-revealing the true value of the combined [J,S. generic business.

       328.      These disclosures revealed that Teva was facing significant and permanent

generic pricing pressure-which pressures Defendants had, until then, vehemently denied and

the price of Teva securities declined significantly in response. As Bloomberg reported: "Pharma

Giant Teva's Stock Is Imploding As Generio Drugs Get Cheaper," Moody's also downgraded

'l'eva's debt rating to Baa3 (one step above junk), with a negative outlook, citing "weakness in its

US generics business" among other things. Specifically, 'l'eva ADS prioes fell $7,50, or 24.00o/o,

from its closing price of $31.25 on August 2,2017 to close at 523.75 per share on August          3,


2017, on high trading volume---wiping out $8.08 billion          in market capitalization.   Teva's

ordinary share price also declined II-S19.80, or 17.79Yo, from its elosing price of ILS111.30 on

August 2,2017 to a close of ILS9I .50 on August 3,2017      .




        329.     On lìriday, August 4,2017, Fitch Ratings downgladed Teva to BBB- (one step

above junk), with a negative   outlook. Teva's ADS price continued to fall, an additional $3.15, or

13.26Yo, fì'om   its closing price of 523.75 on August 3,201,7 to close at $20.60 on August        4,


2017, on high trading volume-removing another $3.2 billion in market capitalization.

        330.     The next trading day, Monday, Augusl 7, 2017, Morgan Stanley downgraded

Teva's ADS to "Underweight," noting that it had "underappreciated the risk of generics pricing

pressure to Teva's earnings and dividend, and we expect'feva to continue to underperform given

overhangs."




                                                  116
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 121 of 129



        331.     1'he prices   of Teva Securities continued to drop, with Teva's ADS           prices

declining an additional $2.01, or 9.J60/o, l'rom its closing price of $20,60 on August 4,2011 to

close at $18.59 on August 7,2017, on high trading volume, wiping out another $2,0 billion in

market capital ization.

        332.     In total, over these three trading days, Teva's ADS price fell $12.66, or 40.5|Yo.

        333. Plaintiff     suffered actual economic loss and was damaged            by   Defendants'

misrepresentations and omissions when the truth concealed          by such misrepresentations and
onrissions was revealed through the disclosures on August 4-5, 2016, November 3-6, 2016,

November 15,2016, December 5-6,2016, December 14,2016, December 15-18,20i6, January

6-8, 2016, and August 3-7,2017. Each disclosure served to remove some of the artihcial

inflation in the price of Teva securities.

        334.     The negative events and disclosures on these dates were directly related to

Defendants' fraudulent scheme. Defendants' material misstatements ancl omissions concealed

from the market, among other things, the fact that the Company's financial condition had been

the result of its price increase plan, rather than the factors cited by Defendants. Defendants

fàlsely and misleadingly reported more than      fll billion in revenues generated from undisclosed
price increases    in the Company's     core [J.S. generic drug business, revenues which were

unsustainable.

        335.     None of these events or disclosures was sufhcient, on its own, to fully remove the

inflation from the prices of Teva securities because each only partially revealed the scope and

consequence    of Defendants' fraudulent scheme, The corrective effèct of each new piece of

information was tempered also by Defendants' continuing efforts to conceal the true risks and

conditions arising from 'feva's involvement        in the undisclosed prioe increase plan,      which




                                                  1t7
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 122 of 129




prevented the price of Teva securities from declining to their true value. As a result, the price   of

Teva securities remained artificially inflated until the end of the llelevant Period. As Plaintiff

continued to hold Teva seourities, and/or purchased or acquired those securities, the artificial

inflation caused them lurther injury when additional information was revealed.

         336.   l)efendants' conduct, as alleged herein, directly and proximately caused the

damages suffered     by Plaintiff. As a result of Defendants' wrongful conduct slowly being

revealed on the above dates, the price of Teva ADS, which had steadily increased from the start

of the l{elevant Period to an all-time high of $72 in July 2015, has fallen to less than       $20,

reducing market capitalization by nearly $42 billion as the trutl'r leaked out. The Company has

experienced dislocation and uncerlainty due to the abrupt departures of three top executives and

ongoing disruption and fallout from numerous criminal and civil investigations and litigations.

Its credit ratings have been downgraded to one level above 'Junk," and it may be forced to sell

assets   to reduce debt. In addition,'|eva cut its profrt forecast for 2017, cut its dividend, and

warned investors that it risks breaching debt covenants.

         337. It was entirely foreseçable that concealing      the Company's concealment of its

price inorease plan, which was unsustainable over more than a short period, would, among other

things, inflate the revenues from its generics business and artificially inflate the price of its

securities. It was also foreseeable that the disclosure of this information, and the materialization

of concealed risks associated with Teva's misconduct, would oause the price of Teva's securities

to decline as the inflation    caused   by Teva's earlier misrepresentations and omissions was

removed from the price      of 'leva's securities. Accorclingly, Defendants' conduot, as alleged

herein, proximately caused foreseeable losses for Plaintifl which purchased J'eva securities

during the Relevant Pcriod,




                                                 118
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 123 of 129




VIII.   PLAINTIFF IS ENTITLED TO A PIìBSUMPTION OF IìELIANCE

        338, At all relevant times,    the market l'or Teva ADS was open and efficient f<rr the

lollowing reasons, among others: (i) 'Ieva ADS met the requirements for listing, and were listed

and actively traded on the NYSE uncJer the ticker symbol      "TEVA", (ii) as a registered     and

regulated issuer of securities, Teva filed periodic public reports with the SEC, in addition to the

Company's 1ìequent voluntary dissemination of information; (iii) Teva regularly communicated

with investors via established market communication mechanisms, including through regular

disseminations of press releases on the national circuits of major newswire services ancl through

other wide-ranging public disclosures, such as communications with the financial press,

securities analysts, and other similar reporting services; (iv) Teva was I'ollowed by numerous

securities analysts employed by major brokerage firms, including Citigroup, Goldman Sachs,

Needham     & Company, UI3S, Ilarclays Capital, Bank of America Merrill Lynch, BMO Capital,

Susquehanna Financial Group, J,P. Morgan, and Wells lìargo, who wrote reports that were

distributed to the sales lorce and certain customers of their respective brokerage firms and that

were publicly available and entered the publio marketplace; (v) the material misrepresentations

and omissions alleged herein would induce a reasonable investor to misjudge the value of Teva's

ADS; and (vi) without knowledge of the misrepresented or omitted fäcts, Plaintiff purchased or

otherwise acquired Teva ADS between the time that Defendants made                     the material
misrepresentations and omissions and the time that the truth was revealed, during which period

the price of 'I'eva's ADS was artificially inflated by l)efendants' misrepresentations          and

omlsslons

        339.    As a result of the foregoing, the market for Teva ADS promptly digested current
                        -feva
information regarding           from all publicly available sources and the prices of Teva's ADS

reflected such information. Based upon the materially fàlse or misleading statements and


                                                119
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 124 of 129




omissions of material fact alleged herein, Teva ADS traded at prices in excess of the true value

of such shares during the Iìelevant Period, Plaintiff purchased or otherwise accluired Teva ADS

relying upon the intogrity of the market price and other markot information relating to T'eva.

        340.   lJnder these circumstances, Plaintiff, as a purchaser or acquirer of 'l'eva ADS at

artificially inflated prices during the Iìelevant Period, suffered similar injuries and   a presumption

of relianoe under the fraud-on-the-market doctrine applies.

        341.   Further, at all relevant times, Plaintiff relied upon Defendants to disolose material

information as required by law and in the Company's SEC filings. Plaintiff would not have

purchased or otherwise acquired Teva ADS at artihcially inflated prices            if   Defendants had

disclosed all material information as requiled. Thus, to the extent that Defendants concealed or

irnproperly failed to disclose material facts with regard to the Cornpany and its business, Plaintiff

is entitled to a presumption of reliance,

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        ARB INAPPLICAIìLE

        342.    The Private Securities Litigation Reform Act's statutory safe harbor and/or the

"bespeaks caution doctrine" applicable           to   forward-looking statements under certain

circumstances do not apply to any of the materially false or misleading statements alleged herein.

        343.    None of the statements complained of herein were forward-looking statements.

Rather, each was a historical statement or a statement of purporledly current facts and conditions

at the time each statement was made.

        344.    To the extent that any of the materially false or misleading statements alleged

herein, or any portions thereof, can be construed as forward-looking, such statements were not

accompanied by meaningful cautionary language identifying imporlant facts that could cause

actual results to differ materially from those in the statements. As set forth above in dctail, given



                                                  120
         Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 125 of 129




the then-existing facts contradicting l)efendants' statements, any generalized risk disolosures

made by Defendants were not sufficient to insulate l)efcndants from liability lor their materially

false or misleading statements or omissions.

       345.        'I'o the extent that the statutory safe harbor may apply to any materially false or

rnisleading statement alleged herein, or a portion thereof, Defendants are liable fot'any such false

or misleading forward-looking statement because at the time such statement was made,                 the

speaker knew the statement was false            or misleading, or the statement was authorized       and

approved by an executive ofhcer of Teva who knew that the forward-looking statement was false

or misleading.

X.      CAUSES OF ACTION

                                              COUNT I
                         For Violations of Scction 10(b) of the Exchange Act
                              and Rulc 10b-5 Promulgated Thcreunder
                            Against Teva and the Individual Defendants

         346.      Plaintiff repeats and re-alleges each and every allegation set forth above as if fully

set forth herein.

         347   .   This Count is asserted pursuant to Section l0(b) of the Ilxchange Act, and Rule

10b 5 plomulgated thereunder, against T'eva and the Individual Defendants.

         34t1, As alleged herein, throughout the Relevant Period, Teva and the Individual
Defendants, individually and        in   concert, directly and indirectly, by the use   of the means ol'

instrumentalities     of interstate commerce, the mails and/or the facilities of national      securities

exchanges, made materially untrue statements of material fact and/or omitted to state material

facts necessary to make their statements not misleading and carried out a plan, scheme, and

course   of conduct, in violation of         Section lO(b)   of the llxchange Aot and lìule 10b 5
promulgated thcreunder. 'l'eva and the Individual Defendants intended to and did, as alleged



                                                     12r
          Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 126 of 129




herein, (i) deceive the investing public, including Plaintiff; (ii) artificially inflate and maintain

the prices of 'leva's ADS; and    (iii)   cause funds under   Plaintifls management to purchasc   the

Company's ADS at artilìcially inflated prioes.

          349.   The Individual Defendants were individually and collectively responsible for

rnaking the materially false and misleading statements and omissions alleged herein and having

engaged    in a plan, scheme, and course of conduct designed to deceive Plaintiff, by virtue of

having made public statements and prepared, approved, signed, and/or disseminated documents

that containcd untrue statemcnts of matcrial fact and/or omitted facts necessary to make the

statements therein not misleading.

          350.   As set forth above,'l'eva and the Individual Defendants made the materially false

and misleading statements and omissions and engaged in the fraudulent aotivity described herein

knowingly and intentionally, or in such a deliberately reckless manner as to constitute willful

deceit and fraud upon Plaintifl', whose funds purchased the Company's ADS during the Relevant

Period.

          351. In ignorance of'the materially false and misleading nature of Teva's and the
Individual Defendants' statements and omissions, and relying directly or indirectly on those

statements or upon the integrity of the market price     for'Ieva's ADS, Plaintiff s funds purchased

the Company's ADS at artificially inf'lated prices during the Relevant Period. But for the fi'aud,

Plaintiffs funds would not have purchased the Company's ADS at such artificially inflated

prices. As set forth herein, whenthe true facts were subsequently disclosed, the price of Teva's

ADS deolined precipitously, and Plaintiff s funds were harmed and damaged as a direct and

proximate result of their purchases of the Company's ADS at artificially inflated prices and the

subsequent decline in the price of that stock when the truth was disclosed,




                                                   t22
        Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 127 of 129




        352. By virtue of the foregoing, Teva and the Individual Defendants are liable to
Plaintiff I'or violations of Section l0(b) of the lìxchange Act and lì.ule 10b   5.


                                               COUNT      II
                          For Violntions of Section 20(a) of the Exchange ,{ct
                                  Against the Inrlividual Dcf'endants

        353.      Plaintiff repeats and re-alleges each and every allegation set forlh above as if fully

set forth herein.

        354.      This Count is asserted pursuant to Section 20(a) of the Exchange Act against eaoh

of the Individual Defendants,

        355.      As alleged above, the Company violated Section 10(b) of the Exchange Act             and


Rule l0b 5 promulgated thereunder by making materially false and misleading statements and

omissions in connection with the purchase or sale of Teva's ADS, and by participating in a

fiaudulent scheme and course of business or conduct throughout the Relevant Period. This

Í?audulent conduct was undertaken with scienter, and 'l'eva is charged with the knowleclge and

scienter   of   each   of the Individual f)efendants who knew of or acted with deliberate          reckless


disregard of the falsity of the Company's statements and the fraudulent nature            of its   scheme

during the Relevant Period.

         356. As set forth above, the Individual Defendants were controlling             persons of the

Company during the Relevant Period, due to their senior executive positions with the Company

and their direct involvement in the Company's day-to-day operations, including their power to

control or influence the policies and practices giving rise to the securities violations alleged

herein, and exercised the same.

           357. By virtue of the foregoing, the individual        Defendants each had the power to

 influence and control, and did influence and control, directly or indirectly, the decision-making




                                                    r23
       Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 128 of 129




of the Company, including the content of its public statements with respect to its operations,

corporate governance, and cornpliance with regulators.

       358, 'fhe Individual Defendants were culpable          participants in Teva's lraud allegecl

herein, by acting acted knowingly and intentionally, or in such a deliberately reckless manner as

to constitute willful fiaud and deceit upon Plaintiff s funds who purchased the Company's ADS

during the Relevant Period,

       359.      By reason of the foregoing, the Individual Defendants are liable to Plaintiff   as


controlling persons of the Company in violation of Section 20(a) of the Exchangc Act.

XI.    I'RAYER FOR IIBLIEF

V/I-IEREFORE, Plaintiff respectfully prays for judgment as follows:

       360.      Declaring and deterrnining that Defendants violated the Ilxchange Act by reason

of the acts and omissions alleged herein;

       361.      Awarding Plaintiff compensatory damages against all Defendants, jointly and

severally, in an amount to be proven at trial together with prejudgment interest thereon;

       362.      Awarding Plaintiff their reasonable costs and expenses inourred in this action,

including but not limited to, attorneys' fees and costs incurred by consulting and testifying expefi

witnesses; and

       363.      Granting such other and further relief as the Court deems just and proper.

XII.   JURY TRIAL DEMANDEI)

       Plaintiff hereby demands    a   trial by jury.




                                                        124
      Case 3:18-cv-01681-SRU Document 1 Filed 10/10/18 Page 129 of 129




Dated: October 10,2018

                                     Respectfully submitted,


                                     By
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                                     r25
